         Exhibit (“Exh. A”)
Attorney Attestation Of James Schuster
                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                           WESTERN DIVISION (CLEVELAND)

 A. PHILIP RANDOLPH INSTITUTE OF
 OHIO, et al.,


                        Plaintiffs,
                                                   CASE NO. 20-cv-1908-DAP
 v.
                                                   HON. JUDGE DAN POLSTER

 FRANK LAROSE, in his official capacity as
 Secretary of State of Ohio,


                        Defendant.

                   ATTORNEY ATTESTATION OF JAMES SCHUSTER
I, James Schuster, Esq., am over the age of 18; licensed to practice law and in good standing in
the State of Ohio; admitted to practice in the U.S. District Court for the Northern District of Ohio
(“Court”), and fully competent to make this Attorney Attestation. I attest to the following:
1. I am an attorney for A. Philip Randolph Institute of Ohio, et al., in the above-styled action.
2. By going to my computer; signing on to my computer; going to the Mozilla Firefox browser;
   placing my cursor in the web browser bar; and cutting and pasting from a Word® document
   or typing in the following Uniform Resource Locators (“URLs”), I accessed, downloaded,
   and categorize by topic/subject matter the following news articles and written materials
   relating to the United States Postal Service (“USPS”), including, but not limited to, those in
   which the following persons, topics and subject matters were covered, referenced or
   addressed:
       •   Defendant Ohio Secretary of State Frank LaRose (“Defendant LaRose”), including
           his reported concerns about election mail’s being days by numerous days;
       •   Ohio Attorney General Dave Yost (“Attorney General Yost”), attempts to contact the
           USPS to try to avoid election mail delivery delays;
       •   U.S. President Donald Trump (“President Trump”), in terms of his opposition to
           emergency funding for the USPS to his desire to restrict voting by mail in the 2020
           elections.
       •   Reported changes and actions by U.S. Postmaster General Louis DeJoy (“Postmaster
           DeJoy”) made to USPS machines, systems and processes;


                                              Page 1
       •   USPS mail delivery delays, including reasons and causes for USPS mail delivery
           delays;
       •   USPS’ failing to deliver or losing election ballots and other mail;
       •   USPS’ removing USPS Collection Box® receptacles (mailboxes); and
       •   Ordered or actual removal of USPS mail delivery sorting machines, also known as,
           delivery point sequence (“DPS” and other machines.
3. I, hereby, attest that, attached to this Attestation, are true and accurate copies of the following
   news articles and written materials corresponding to the Exhibits below, including as to their
   title and date, URL and summary information.
 Exh. A-01
 Title & Date NBC4 Staff. “Absentee ballots are already the law’: Ohio attorney general asks
                President Trump to delay USPS changes.” Fox 8 News, 18 Aug. 2020
 URL            https://fox8.com/news/absentee-ballots-are-already-the-law-ohio-attorney-
                general-asks-president-trump-to-delay-usps-changes/
 According to Attorney General Yost, “the removal of mailboxes and sorting equipment raise
 questions of ‘disparate impacts,’ and that these moves so close to an election will trigger
 lawsuits. These moves, Yost said, could result in ‘de-legitimizing the thousands of winners of
 the November contests.’


 Exh. A-02
 Title            Skalka, Liz. “USPS should look at moving local mail processing out of
                  Michigan, northwest Ohio lawmaker says.” Toledo Blade, 15 Jun. 2020.
 URL              https://www.toledoblade.com/local/politics/2020/06/15/northwest-ohio-
                  lawmaker-wants-usps-to-look-at-moving-mail-processing-out-of-
                  michigan/stories%E2%80%A6
 “Days before the deadline for this year’s primary, Secretary of State Frank LaRose enlisted
 Ohio’s congressional delegation to implore the USPS to process northwest Ohio absentee
 ballots in-state, citing reports that first-class mail was stuck in transit for up to 10 days.”


 Exh. A-03
 Title         Chow, Andy. “U.S. Postal Service Warns Ohio About Potential Delays For
               Absentee Voting.” WYSO, 17 Aug. 2020
 URL           https://www.wyso.org/news/2020-08-17/u-s-postal-service-warns-ohio-about-
               potential-delays-for-absentee-voting
 Letter from USPS to Defendant LaRose, stating, “[C]ertain [Ohio] deadlines for requesting
 and casting mail-in ballots are incongruous within the [USPS’] delivery standards.”


 Exh. A-04
 Title          Rouan, Rick. “Postal Service reduces mail sorting capacity, warns Ohio some
                absentee ballots may not be delivered in time to count.” Columbus Dispatch, 14
                Aug. 2020.



                                               Page 2
URL            https://www.dispatch.com/news/20200814/postal-service-reduces-mail-sorting-
               capacity-warns-ohio-some-absentee-ballots-may-not-be-delivered-in-time-to-
               count
“Cutbacks by the Postal Service, including a significant loss of sorting and processing
machinery at Columbus-area post offices”; “The Postal Service has warned Ohio Secretary of
State Frank LaRose that Ohioans who request their absentee ballots near the deadline likely
won’t receive them in time for their vote to be counted.”


Exh. A-05
Title          Author. “GOP Ohio attorney general calls on Trump to postpone Postal Service
               changes.” Periodical, 15 Aug. 2020
URL            https://www.cbsnews.com/news/postal-service-election-ohio-attorney-general-
               dave-yost-republican-trump-postpone-changes/
According to Attorney General Yost, "[T]he radical changes only weeks before early voting
begins — however fiscally well founded — would place the solvency of the Post Office above
the legitimacy of the Government itself."


Exh. A-06
Title          Robbins, Adrienne. “In light of warnings from USPS, LaRose urges voters to
               act fast for mail-in ballots.” nbc4i.com, 17 Aug. 2020.
URL            https://www.nbc4i.com/news/your-local-election-hq/possible-postal-delays-
               could-threaten-ohio-votes/
“LaRose explained that he is concerned about changes slowing down absentee by-mail voting,
especially with a record number of Ohioans expected to participate.”; “Any delay, any service
impact by the postal service is of course going to have an impact on elections,” said LaRose.


Exh. A-07
Title          WKYC. “Ohio Secretary of State Frank LaRose urges voters to 'request your
               absentee ballot right away' on the TODAY Show.” News Break, 15 Aug. 2020.
URL            https://www.newsbreak.com/news/2041503679167/ohio-secretary-of-state-
               frank-larose-urges-voters-to-request-your-absentee-ballot-right-away-on-the-
               today-show
“Ohio Secretary of State Frank LaRose has advised Ohioans who are voting by mail to request
and send their absentee ballots in well ahead of the state's usual deadlines, due to concerns
over delays in delivery as the United States Postal Service undergoes a drastic reorganization
at a time when voting by mail is expected to double in the state due to COVID-19 safety
concerns.”


Exh. A-08
Title         Pitman, Michael. “Postal service says ‘missort’ caused late delivery of more
              than 300 ballots to Butler County.” Journal News, 26 May 2020.
URL           https://www.journal-news.com/news/postal-service-says-missort-caused-late-
              delivery-more-than-300-ballots-butler-county/30hGBU3iLtu7NyXoknuJZI/


                                           Page 3
“An ‘unintentional missort’ of more than 300 ballots caused them to be delivered too late to be
counted by the Butler County Board of Elections, according to the U.S. Postal Service’s chief
operating officer.”


Exh. A-09
Title          WHIO Staff. “Secretary of State: More than 1.3 million Ohioans have asked for
               absentee ballot applications.” WHIOTV7, 15 Sep. 2020.
URL            https://www.whio.com/home/more-than-13-million-ohioans-have-asked-
               absentee-ballot-applications-secretary-state-
               says/LYBGMPA7ERHKLAAKG53XKJPCVM/
Subject        “County board of elections statewide have received 1,398,347 absentee ballot
Matter(s):     applications, Ohio Secretary of State Frank LaRose reported Tuesday, more
               than double the number of such ballots asked for during the 2016 election.”


Exh. A-10
Title          Stahl, Jeremy. “This Is Still Happening: Louis DeJoy, Postmaster General.”
               Slate, 08 Sep. 2020.
URL            https://slate.com/news-and-politics/2020/09/this-is-still-happening-louis-
               dejoy.html
“As a consequence of some or all of the changes—whether they originated with DeJoy or
not—on-time delivery plummeted in mid-July, from about 93 percent to 83 percent. That loss
of output has proved disastrous. The result has been countless stories of horrifying mail delays,
such as reports of dead farm animals undelivered to rural farms, or rotting meat shipments, or
an elderly Holocaust survivor who was left without his reparations check, or many, many,
many stories of veterans and seniors not receiving prescription drugs on time.”


Exh. A-11
Title          Cordell, Taneisha. “US Postal service scrambling for funding to ensure mail-in
               ballots are counted in time.” News 5 Cleveland, 14 Aug. 2020.
URL            https://www.news5cleveland.com/news/democracy-2020/ohio-politics/us-
               postal-service-scrambling-for-funding-to-ensure-mail-in-ballots-are-counted-in-
               time
Subject        “Ohio Secretary of State Frank LaRose said he pushed to move the deadline to
Matter(s):     request an absentee ballot up by four days but was unsuccessful.”


Exh. A-12
Title          Pagonakis, Joe. “Cleveland postal union reports dismantled sorting equipment,
               delivery concerns.” News 5 Cleveland, 18 Sep. 2020.
URL            https://www.news5cleveland.com/news/local-news/cleveland-metro/cleveland-
               postal-union-reports-dismantled-sorting-equipment-delivery-concerns
“The controversy over dismantled sorting machines discovered in the back of Cleveland's
main post office on Orange Avenue has citizens and postal union leaders concerned about the
delivery of mail-in ballots for the November election.”


                                             Page 4
Exh. A-13
Title           Bogage, Jacob. “DeJoy’s Postal Service policies delayed 7 percent of nation’s
                first-class mail, Senate Democrat’s report says.” Washington Post, 16 Sep.
                2020.
URL             https://www.washingtonpost.com/business/2020/09/16/dejoy-usps-delays-
                senate-report/
“Postmaster General Louis DeJoy’s controversial midsummer operational directives delayed
nearly 350 million pieces, or 7 percent, of the country’s first-class mail in the five weeks they
were in effect, according to a new report published Wednesday by the Senate’s top Democrat
in charge of postal oversight.”


Exh. A-14
Title          Eaton, Sabrina and Pelzer, Jeremy. “Dismantled equipment behind Cleveland
               Post Office raises delivery questions.” cleveland.com, 17 Aug. 2020.
URL            https://www.cleveland.com/open/2020/08/dismantled-equipment-behind-
               cleveland-post-office-raises-delivery-questions.html
“As the U.S. Postal Service has warned Ohio and other states that it may not be able to meet
mail-voting deadlines this November, the visibly idle equipment along with mail delays and
post office budget shortfalls have fueled fears that the upcoming election will be undermined.”


Exh. A-15
Title            Torres, Ella. “Family says USPS lost veteran's remains.” ABC News, 22 Aug.
                 2020.
URL              https://abcnews.go.com/US/family-usps-lost-veterans-
                 remains/story?id=72540895
“The cremated remains of a U.S. Army veteran sent through the mail were delayed reaching
their final destination for days, according to the late veteran's family, and they say Postmaster
General Louis DeJoy is to blame.”


Exh. A-16
Title          Lapin, Tamar. “Federal judge blocks US Postal Service changes blamed for
               mail slowdown.” New York Post, 17 Sep. 2020.
URL            https://nypost.com/2020/09/17/federal-judge-blocks-us-postal-service-changes-
               blamed-for-mail-slowdown/
“A federal judge on Thursday blocked controversial changes within the US Postal Service that
have been blamed for a nationwide mail slowdown ahead of the November election, where a
record number of mail-in ballots are predicted.”




                                             Page 5
Exh. A-17
Title         Pre3sNewsAgency Staff. “How Well The Post Office Functions Could Make
              Or Break The 2020 Election,” Press News Agency, 15 Sep. 2020.
URL           https://pressnewsagency.org/how-well-the-post-office-functions-could-make-
              or-break-the-2020-election/
“As the 2020 election approaches, the new postmaster general, Louis DeJoy, has prioritized
budget cuts over getting people their mail on time. This could imperil voting by mail, which is
expected to happen at unprecedented levels during the COVID-19 pandemic.”


Exh. A-18
Title           Scripps National. “Many not confident ballot will be counted accurately if they
                vote by mail, poll shows.” News 5 Cleveland, 15 Sep. 2020.
URL             https://www.news5cleveland.com/news/election-2020/many-not-confident-
                ballot-will-be-counted-accurately-if-they-vote-by-mail-polls-shows
“Just over 3 in 10 people say they're very confident their vote will be counted accurately if
they vote by mail. Nearly 7 in 10 say the same thing about voting in person on Election Day.
That's according to a new poll from the University of Maryland and The Washington Post.”


Exh. A-19
Title            Naylor, Brian. “Pending Postal Service Changes Could Delay Mail And
                 Deliveries, Advocates Warn.” NPR, 29 Jul 2020.
URL              https://www.npr.org/2020/07/29/894799516/pending-postal-service-changes-
                 could-delay-mail-and-deliveries-advocates-warn
"If they're talking about delaying mail, if they're talking about sending letter carriers out to the
street, even if the truck is late, that means there's a lot of first-class mail that's going to be left
on the workroom floor. And there's an almost cavalier attitude about this," Philip Rubio, a
history professor at North Carolina A&T State University and a former letter carrier said.


Exh. A-20
Title          Failure to Deliver: Harm Caused By U.S. Postmaster General DeJoy’s Changes
               to Postal Service Mail Delivery: A U.S. Senate Committee on Homeland
               Security & Governmental Affairs Minority Staff Report (U.S. Senator Gary
               Peters, Ranking Member) 16 Sep. 2020
URL            https://www.postal-reporter.com/blog/usps-changes-led-to-85-million-late-
               deliveries-in-a-single-week-senate-democrats-investigation-finds/
Serious mail delivery delays as a result of changes made by Postmaster General DeJoy to the
USPS.




                                                Page 6
Exh. A-21
Title          Author. “Postal Crisis Ripples Across Nation as Election Looms.” Periodical,
               18 Aug. 2020.
URL            https://www.nytimes.com/2020/08/15/us/post-office-vote-by-
               mail.html?auth=login-email&login=email
“The USPS] has warned states that it may not be able to meet their deadlines for delivering
last-minute ballots. And this week, Mr. Trump said he opposed new postal funding because of
his opposition to mail-in voting, which he complains will benefit Democrats and claims —
without evidence — is riddled with fraud. At risk are not just the ballots — and medical
prescriptions and paychecks — of residents around the country, but also the reputation of the
Postal Service as the most popular and perhaps the least politicized part of the federal
government.”


Exh. A-22
Title            Scheck, Tom; Hing, Geoff; and Hall Dee. “Postal delivery scores in five
                 battleground states are missing targets as mail voting increases.” APMReports,
                 12 Aug. 2020.
URL              https://www.apmreports.org/story/2020/08/12/postal-delivery-scores-
                 battleground-states-mail-voting
“Based on its own performance measures, the U.S. Postal Service has its work cut out for it
before Election Day. Among the 13 postal districts serving key presidential battleground
states, four failed to meet any on-time service goals handling first-class mail between April 1
and June 30, and six districts achieved only one.”


Exh. A-23
Title           Frankel, Todd. “Postal problems could continue despite suspension of policies
                blamed for mail delays.” Washington Post, 18 Aug. 2020.
URL             https://www.washingtonpost.com/business/2020/08/19/postal-problems-could-
                continue-despite-suspension-policies-blamed-mail-delays/
“The political heat of the summer of 2020 — filled with worries about mail-in voting — has
thrown the Postal Service into crisis. The agency’s reputation, the best of any federal agency,
is now at stake as Americans more loudly voice their frustration about delayed prescriptions,
late bills and undelivered packages, along with fears of alleged political interference by a new
Republican postmaster general and President Trump, compromising not just everyday mail but
also mail-in ballots this fall.”




                                            Page 7
Exh. A-24
Title           Kaufman, Ellie. “Postal service warns nearly every state it may not be able to
                deliver ballots in time based on current election rules.” CNN, 15 Aug. 2020.
URL             https://www.cnn.com/2020/08/14/politics/usps-warn-states-mail-in-ballot-
                delivery/index.html
“The US Postal Service warned almost all of the 50 states and Washington, DC, that voters
could be at risk of not getting their ballots back to election offices in time to be counted
because election rules are not compatible with the time needed for delivery and return of
absentee ballots through the mail, according to letters released on Friday night.
The letters provide a stark reminder that the expansion of mail-in voting due to the pandemic
is colliding with a slowdown in postal delivery because of controversial changes made by the
new postmaster general.”


Exh. A-25
Title           U.S. Senate Democrats. “Reports Of Americans Facing Unacceptable Mail
                Delays Continue To Pile Up Amid President Trump And Postmaster General
                DeJoy’s Efforts To Undermine The Post Office.” democrats.senate.gov, 20
                Aug. 2020.
URL             https://www.democrats.senate.gov/newsroom/press-releases/reports-of-
                americans-facing-unacceptable-mail-delays-continue-to-pile-up-amid-
                president-trump-and-postmaster-general-dejoys-efforts-to-undermine-the-post-
                office
“Since launching my investigation, I’ve heard from over 7,500 people across the country about
how postal delays are harming them,” said U.S. Senator Gary Peters. “There are too many
questions that remain unanswered, including whether Postmaster General DeJoy and the Postal
Service will be returning sorting machines he already removed from facilities across the
country, the details of any changes he is leaving in place and any future changes he plans to
enact that could continue to harm millions of Americans. Postmaster General DeJoy has
repeatedly refused to clearly answer key questions and I’m going to be pressing for answers.”


Exh. A-26
Title          Gardner, Amy; and Kim, Seung. “State officials rush to shore up confidence in
               Nov. 3 election as voters express new fears about mail voting.” Washington
               Post, 16 Aug. 2020.
URL            https://www.washingtonpost.com/politics/state-officials-rush-to-shore-up-
               confidence-in-nov-3-election-as-voters-express-new-fears-about-mail-
               voting/2020/08/16/3d511144-df23-11ea-b205-ff838e15a9a6_story.html
“President Trump’s unprecedented attacks on the U.S. Postal Service amid widespread mail
delays across the country are shaking voters’ faith that their ballots will be counted, prompting
a rush among federal, state and local officials to protect the integrity of the Nov. 3 election.”




                                             Page 8
Exh. A-27
Title            McCarthy, Ryan; and Jameel, Maryam. “The Postal Service Is Steadily Getting
                 Worse - Can It Handle a National Mail-In Election?” ProPublica, 15 Jun. 2020.
URL              https://www.propublica.org/article/the-postal-service-is-steadily-getting-worse-
                 can-it-handle-a-national-mail-in-election
“During Ohio’s April 28 primary, mail delivery had been so slow that the secretary of state
publicly warned voters and called for the Postal Service to add staff. As they counted votes,
Noonan and her team checked in with the service every day until the deadline. ‘We said,
Listen this is the last day, she recalled. If we get ballots after this, they’re not going to be
counted.”


Exh. A-28
Title           Colby, Clifford. “USPS crisis: Why mail is delayed, what that means for the
                election and what's being done about it.” C|net, 05 Sep. 2020.
URL             https://www.cnet.com/how-to/usps-crisis-why-mail-is-delayed-what-that-
                means-for-the-election-and-whats-being-done-about-it/
“Over the next two months, with more than 80 million voters expected to vote by mail to avoid
polling places during the ongoing COVID-19 pandemic, government officials are growing
increasingly concerned about the country's ability to manage the surge of mail-in ballots. A
recent internal audit by the US Postal Service found that 1 million mail-in ballots were sent
late to voters during the 2020 primary elections.”


Exh. A-29
Title          Katz, Eric. “USPS Is Fighting to Block the Release of Data on Mail Delays.”
               Government Executive, 21 Aug. 2020.
URL            https://www.govexec.com/management/2020/08/usps-fighting-block-release-
               data-mail-delays/168121/
“Facing mounting legal challenges against reforms undertaken by its new leader, the U.S.
Postal Service is seeking to prevent weekly public disclosure of mail delay data.”


Exh. A-30
Title          Solender, Andrew. “Reports Of Dismantled USPS Sorting Machines Continue
               Despite DeJoy Announcing Halt.” Forbes, 19 Aug. 2020.
URL            https://www.forbes.com/sites/andrewsolender/2020/08/19/reports-of-
               dismantled-usps-sorting-machines-continue-despite-dejoy-announcing-
               halt/#ff39e6f26b98
Subject        “A day after Postmaster General Louis DeJoy announced the temporary
Matter(s):     suspension of sharply criticized service changes amid widespread delays and
               mail-in ballot fears, reports continue to surface about mail sorting machines
               being dismantled and removed.”




                                             Page 9
This Attorney Attestation is executed on September 21, 2020, in Cleveland Heights, Ohio, under
penalty of perjury that the foregoing is true and correct.


___________________________________
James Schuster, Esq.




                                           Page 10
Exh. A-1
Exh. A-01
Title & Date NBC4 Staff. “Absentee ballots are already the law’: Ohio attorney general asks
               President Trump to delay USPS changes.” Fox 8 News, 18 Aug. 2020
URL            https://fox8.com/news/absentee-ballots-are-already-the-law-ohio-attorney-
               general-asks-president-trump-to-delay-usps-changes/
According to Attorney General Yost, “the removal of mailboxes and sorting equipment raise
questions of ‘disparate impacts,’ and that these moves so close to an election will trigger
lawsuits. These moves, Yost said, could result in ‘de-legitimizing the thousands of winners of
the November contests.’
 Absentee ballots are already the law’: Ohio attorney
 general asks President Trump to delay USPS changes
by: NBC4 Staff

Posted: Aug 18, 2020 / 06:01 AM EDT / Updated: Aug 18, 2020 / 06:05 AM EDT


COLUMBUS, Ohio (WCMH) — In a letter sent to President Donald Trump, Ohio Attorney
General David Yost asks the president to put off any changes to the United States Postal
Service until after the November General Election.

Postal Service warns Ohio of delayed absentee ballot requests

In a letter dated Aug. 16 and addressed to President Trump, Yost says the USPS “has an outdated
and broken business model and an ever-declining customer base.”

However, the attorney general asks the president to postpone “needed changes” until after the
election.

The three-page letter comes at a time when the USPS is in the middle of a political tug-of-war as
more and more states move to mail-in ballots for the November election.

Yost continues in the letter to state that the removal of mailboxes and sorting equipment raise
questions of “disparate impacts,” and that these moves so close to an election will trigger
lawsuits. These moves, Yost said, could result in “de-legitimizing the thousands of winners of
the November contests.”

Though President Trump casts his own ballots by mail, he’s repeatedly criticized efforts to allow
more people to do so, which he argues without evidence will lead to increased voter fraud that
could cost him the election.

President Trump admits he’s blocking postal cash to stop mail-in votes

Meanwhile, members of Congress from both parties have voiced concerns that curbside
mailboxes, which is how many will cast their ballots, have abruptly been removed in some states.

Yost goes on to praise the ability of Ohio’s election officials, stating he is confident they will be
able to run a secure and fair election.

“Whatever reform is needed at the Postal Service, it cannot come at the expense of our faith in
the 2020 election,” Yost writes.

The full letter from Yost is below. App users, tap here.


https://fox8.com/news/absentee-ballots-are-already-the-law-ohio-attorney-general-asks-
president-trump-to-delay-usps-changes/
   Administration
   Office 614-728-5458
   Fax 614-466-5087

   August 16, 2020

   The Honorable Donald J. Trump
   President of the United States of America
   The White House
   1600 Pennsylvania Avenue
   Washington, D.C. 20500

   Dear Mr. President:

   I have become aware of numerous reports in recent days of operational changes
   underway at the United States Postal Service to respond to an arterial cash bleed -a $2.2
   billion loss in the most recent quarter, and tens of billions of dollars in the
   last decade. I write to you today to respectfully request that you postpone these
   needed changes until after the November election.

   The Post Office has an outdated and broken business model and an ever-declining
   customer base -- developments thirty years in the making. It is a perennial drain
   on the Treasury. But making the radical changes only weeks before early voting
   begins -- however fiscally well founded -- would place the solvency of the Post Office
   above the legitimacy of the Government itself.

   I’ll begin with two points on which all Americans ought to agree. First, we live in
   the greatest democracy in the history of the world. Second, the future of our
   democracy depends upon the integrity of our elections. Our system is built on the
   idea that a legitimate government operates with the consent of the governed. And
   the governed will consent only if they trust the election returns. To quote the late
   Justice Scalia, we cheat both sides of a contested election when we do anything that
   robs “the winners of an honest victory and the losers of the peace that comes from a
   fair defeat.” In any election where one side feels cheated, we tug a bit more at the
   threads that hold our country together.

   The reported changes to the Post Office include removal of sorting equipment and
   mailboxes. It is unclear at best that these reductions in capacity are even across
   geographic and political communities, raising the question of disparate impacts.
   These changes so close to the election are certain to give rise to litigation, which in
   turn will create a sense of chaos and uncertainty that will likely roll right into the
   early voting period -- thereby de-legitimizing the thousands of winners of the
   November contests.

   30 E. Broad Street, 17th Floor, Columbus, OH 43215
   www.OhioAttorneyGeneral.gov

https://fox8.com/news/absentee-ballots-are-already-the-law-ohio-attorney-general-asks-
president-trump-to-delay-usps-changes/
Exh. A-2
Exh. A-02
Title            Skalka, Liz. “USPS should look at moving local mail processing out of
                 Michigan, northwest Ohio lawmaker says.” Toledo Blade, 15 Jun. 2020.
URL              https://www.toledoblade.com/local/politics/2020/06/15/northwest-ohio-
                 lawmaker-wants-usps-to-look-at-moving-mail-processing-out-of-
                 michigan/stories%E2%80%A6
“Days before the deadline for this year’s primary, Secretary of State Frank LaRose enlisted
Ohio’s congressional delegation to implore the USPS to process northwest Ohio absentee
ballots in-state, citing reports that first-class mail was stuck in transit for up to 10 days.”
9/20/2020                      USPS should look at moving local mail processing out of Michigan, northwest Ohio lawmaker says | The Blade



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                            USPS should look at moving local
                            mail processing out of Michigan,
                             northwest Ohio lawmaker says
                                                                     LIZ SKALKA 
                                                                     The Blade
                                                                     lskalka@theblade.com 



                                                              JUN 15, 2020        3:05 PM




                         A northwest Ohio lawmaker wants the U.S. Postal Service to look
                         into transferring mail processing for the region out of southeast
                         Michigan, after what he characterized as years of unreliable mail
                         delivery since Toledo lost its postal distribution center.

                         U.S. Rep. Bob Latta, a Bowling Green Republican, has requested
                         an inquiry into the feasibility of switching mail sorting from the
                         USPS Michigan Metroplex Facility in Pontiac to centers in
                         Cleveland or Columbus.

                         “This request comes after years of complaints and concerns that
                         my office has raised with the Postal Service and the continued

https://www.toledoblade.com/local/politics/2020/06/15/northwest-ohio-lawmaker-wants-usps-to-look-at-moving-mail-processing-out-of-michigan/stories…   1/7
9/20/2020                      USPS should look at moving local mail processing out of Michigan, northwest Ohio lawmaker says | The Blade

                         failure of the Metroplex to process my constituents’ mail in a
   MENU                 timely fashion,” Mr. Latta wrote to Postmaster General Megan
                                                                                                                                               
                         Brennan on June 5.

                                                                    ADVERTISEMENT




                         Mr. Latta represents all or part of 14 counties in northwest Ohio,
                         many of which receive and send mail sorted in metro Detroit.



                                               The Blade
                                               Hollywood Casino Toledo reopens Friday




                         Earlier this year, Ohio’s first vote-by-mail primary exposed
                         weaknesses in the postal service intensified by the coronavirus
                         pandemic. Officials are now planning for a large percentage of
                         registered voters to use absentee ballots in November, and hope
                         to proactively address the issues that prevented Ohioans from
                         casting ballots in April.

                         “The integrity of our election is at stake,” Mr. Latta told The
                         Blade. “We’re 141 days out, so we’ve got to look at this and get it
                         moving.”

                         The problems in northwest Ohio arose after the 2012 closure of
                         Toledo’s mail processing facility, Mr. Latta said, when the region’s
                         mail began to be routed through Michigan and Columbus. The
                         closure was part of an effort to plug a multi-billion-dollar budget

https://www.toledoblade.com/local/politics/2020/06/15/northwest-ohio-lawmaker-wants-usps-to-look-at-moving-mail-processing-out-of-michigan/stories…   2/7
9/20/2020                      USPS should look at moving local mail processing out of Michigan, northwest Ohio lawmaker says | The Blade

                         hole that resulted in the consolidation of postal distribution
   MENU                 centers and reduced hours for many rural post offices.
                                                                                                                                               

                                                                    ADVERTISEMENT




                         In his district, it has delayed everything from bills to absentee
                         ballots, Mr. Latta argued. He claimed that hundreds of absentee
                         ballots went missing in 2016.

                         “Since 2016, I have tried to work with the Postal Service to get
                         answers as to why these delays continue to occur and if the Postal
                         Service could improve the operations at the Michigan Metroplex,”
                         Mr. Latta wrote. “I received assurances that the Postal Service
                         took these matters seriously and were working to improve
                         operations. Sadly, even with these assurances, I continue to
                         receive a constant stream of complaints from my constituents
                         about mail delivery issues, ranging from delayed mail to lost mail.
                         Local courts have seen delayed delivery of jury summons; seniors
                         have been forced to pay late fees because the delivery of their bill
                         payments was slowed; and voters have had to worry about their
                         ballots not being counted due to delivery delays.”

                         Days before the deadline for this year’s primary, Secretary of State
                         Frank LaRose enlisted Ohio’s congressional delegation to implore
                         the USPS to process northwest Ohio absentee ballots in-state,
                         citing reports that first-class mail was stuck in transit for up to 10
                         days.

                         Nearly all Lucas County ballots arrived in time to be counted by
                         May 8, but in Butler County about 300 had to be tossed after they
https://www.toledoblade.com/local/politics/2020/06/15/northwest-ohio-lawmaker-wants-usps-to-look-at-moving-mail-processing-out-of-michigan/stories…   3/7
9/20/2020                      USPS should look at moving local mail processing out of Michigan, northwest Ohio lawmaker says | The Blade

                         were held up in the mail.
   MENU
                                                                                                                                               
                         In a statement, Mr. LaRose’s spokesman Maggie Sheehan
                         said, “The secretary is for anything that gets elections mail
                         delivered safely and securely, and will continue to work with
                         Ohio’s Congressional Delegation and the USPS to seek solutions.”

                         USPS acknowledged earlier this year that the coronavirus
                         pandemic caused a slowdown in Detroit-area mail processing. A
                         USPS spokesman on Monday said the postal service had received
                         Mr. Latta’s letter and would be replying directly to the
                         congressman’s office.

                         U.S. Rep. Marcy Kaptur, Toledo’s Democratic representative, said
                         USPS should reopen its Toledo distribution center to fix the
                         problem.

                         “I fought the 2012 deeply misguided decision by the U.S. Postal
                         Service Board of Governors to shutter the Toledo Mail Processing
                         Plant, which greatly reduced postal standards in our region,” she
                         said in a statement. “We must reopen Toledo’s distribution center
                         to restore high quality jobs, and improve mail delivery
                         performance. Anything less will result in continued hampered
                         performance of this vital constitutional pillar of our democracy,
                         especially as more and more Americans will rely on mail-in ballots
                         for this year’s elections.”



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Exh. A-3
Exh. A-03
Title         Chow, Andy. “U.S. Postal Service Warns Ohio About Potential Delays For
              Absentee Voting.” WYSO, 17 Aug. 2020
URL           https://www.wyso.org/news/2020-08-17/u-s-postal-service-warns-ohio-about-
              potential-delays-for-absentee-voting
Letter from USPS to Defendant LaRose, stating, “[C]ertain [Ohio] deadlines for requesting
and casting mail-in ballots are incongruous within the [USPS’] delivery standards.”
9/20/2020                                   U.S. Postal Service Warns Ohio About Potential Delays For Absentee Voting | WYSO



                                                                                                                               Donate




    U.S. Postal Service Warns Ohio About Potential
    Delays For Absentee Voting
    By Andy Chow
    Published August 17, 2020 at 10:19 AM EDT




     The U.S. Postal Service has sent a letter to dozens of state election o cials around the
     country including Ohio, warning that delays in delivering the mail could result in voters
     not being able to cast their absentee ballots in time.

     The letter sent to Secretary of State Frank LaRose (R-Ohio) on July 30, notes ways
     states can adjust to these delays by changing voter deadlines.

     Rep. Bride Rose Sweeney (D-Cleveland) says they've been advocating for expanded
     voter access for this very reason.

     "It's not just theory, it's not just conjecture. It is now clear evidence delivered to him that
     there is a very likelihood that thousands of thousands if not millions of people across
            WYSO
            Alpha Rhythms
https://www.wyso.org/news/2020-08-17/u-s-postal-service-warns-ohio-about-potential-delays-for-absentee-voting                           1/6
9/20/2020                                   U.S. Postal Service Warns Ohio About Potential Delays For Absentee Voting | WYSO

     LaRose has noted concerns with postal delays in the past. He says his o ce has been
     trying to warn voters to not "procrastinate" when it comes to requesting and casting an
     absentee ballot.

     The secretary of state's o ce says LaRose has been working on ways to mitigate
     potential postal service delays.

     Maggie Sheehan, LaRose spokesperson, says the USPS committed to implementing
     certain protocols during the Ohio primary, and the o ce believes those will be
     continued this fall.

     Those protocols include:

            USPS will institute "all clear" processes to ensure all election mail is processed each
            day.
            Staff will recheck collection bins each day to ensure late arriving ballots are retrieved
            Postal facilities will track election mail deliveries to Ohio’s boards of elections
            Election mail will not be routed through the Detroit Regional Distribution Center.
            Instead it will be kept in-state.
            USPS will assign their independent investigative unit to do additional "all clear"
            checks at Ohio facilities.

     LaRose also ensures that in-person voting will still be an option on Election Day,
     November 3.

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    Tags         News              Voting             Election 2020               Statewide News                U.S. Postal Service




                          Andy Chow

                          Andy Chow is a general assignment state government reporter who focuses on
                          environmental, energy, agriculture, and education-related issues. He started his
                          journalism career as an associate producer with ABC 6/FOX 28 in Columbus before
             WYSO         becoming a producer with WBNS 10TV.
             Alpha Rhythms
https://www.wyso.org/news/2020-08-17/u-s-postal-service-warns-ohio-about-potential-delays-for-absentee-voting                         3/6
9/20/2020                                   U.S. Postal Service Warns Ohio About Potential Delays For Absentee Voting | WYSO

     the [country] and here in Ohio that could be disenfranchised by this process," says
     Sweeney.

     Sweeney and other Democratic lawmakers are calling on LaRose to allow county
     boards of elections to provide additional ballot drop boxes. LaRose counters by arguing
     that's a decision that must be made by the legislature. Read: Letter from USPS to
     Secretary of State Frank LaRose




                                                            1     of 2                                                
     Earlier this week, LaRose said he had asked Attorney General Dave Yost to provide a
     legal opinion on the matter. However, LaRose said he did not hear from the attorney
     general's o ce soon enough, so he pulled that request and went ahead with the
     decision to prohibit additional drop boxes.

            WYSO
            Alpha Rhythms
https://www.wyso.org/news/2020-08-17/u-s-postal-service-warns-ohio-about-potential-delays-for-absentee-voting                  2/6
    Case: 1:20-cv-01908-DAP Doc #: 13-3 Filed: 09/04/20 12 of 13. PageID #: 130
    THOMAS J. MARSHALL
    GENERAL COUNSEL
    AND EXECUTIVE VICE PRESIDENT




a   UNITED STATES
    POSTAL SERVICE

     July 30, 2020



     Honorable Frank LaRose
     Ohio Secretary of State
     22 North 4th Street, Floor 16
     Columbus, OH 43215-3668

     Dear Secretary LaRose:

     Re: Deadlines for Mailing Ballots

     With the 2020 General Election rapidly approaching, this letter follows up on my letter dated May 29,
     2020, which I sent to election officials throughout the country. That letter highlighted some key
     aspects of the Postal Service's delivery processes. The purpose of this letter is to focus specifically
     on the deadlines for requesting and casting ballots by mail. In particular, we wanted to note that,
     under our reading of Ohio's election laws, certain deadlines for requesting and casting mail-in ballots
     are incongruous with the Postal Service's delivery standards. This mismatch creates a risk that
     ballots requested near the deadline under state law will not be returned by mail in time to be counted
     under your laws as we understand them.

     As I stated in my May 29 letter, the two main classes of mail that are used for ballots are First-Class
     Mail and USPS Marketing Mail, the latter of which includes the Nonprofit postage rate. Voters must
     use First-Class Mail (or an expedited level of service) to mail their ballots and ballot requests, while
     state or local election officials may generally use either First-Class Mail or Marketing Mail to mail
     blank ballots to voters. While the specific transit times for either class of mail cannot be guaranteed,
     and depend on factors such as a given mailpiece's place of origin and destination, most domestic
     First-Class Mail is delivered 2-5 days after it is received by the Postal Service, and most domestic
     Marketing Mail is delivered 3-10 days after it is received.

    To account for these delivery standards and to allow for contingencies (e.g., weather issues or
    unforeseen events), the Postal Service strongly recommends adhering to the following timeframe
    when using the mail to transmit ballots to domestic voters:

          •     Ballot requests: Where voters will both receive and send a ballot by mail, voters should
                submit their ballot request early enough so that it is received by their election officials at least
                15 days before Election Day at a minimum, and preferably long before that time.

          •     Mailing blank ballots to voters: In responding to a ballot request, election officials should
                consider that the ballot needs to be in the hands of the voter so that he or she has adequate
                time to complete it and put it back in the mail stream so that it can be processed and
                delivered by the applicable deadline. Accordingly, the Postal Service recommends that
                election officials use First-Class Mail to transmit blank ballots and allow 1 week for delivery
                to voters. Using Marketing Mail will result in slower delivery times and will increase the risk
                that voters will not receive their ballots in time to return them by mail.


                                                                                                RECEIVED
    475 L'ENFAna PLAZA SW
    WASHINGTON DC 20260-1100                                                                      AUG 0 3 2020
    PHONE: 202-268-5555
    FAx: 202-268-6981
    THOW.S.J.MARSHALL@USPS.GOV
                                                                                           SECRETARY OF STATE
    www.usps.com
Case: 1:20-cv-01908-DAP Doc #: 13-3 Filed: 09/04/20 13 of 13. PageID #: 131

                                                   -2-


    •   Mailing completed ballots to election officials: To allow enough time for ballots to be
        returned to election officials, domestic voters should generally mail their completed ballots at
        least one week before the state's due date. In states that require mail-in ballots to be both
        postmarked before Election Day and received by election officials by a specific date that is
        one week or more after Election Day, voters may generally mail their ballot up until
        November 2, the day before the 2020 general election. However, voters who mail in their
        ballots on November 2 must be aware of the posted collection times on collection boxes and
        at the Postal Service's retail facilities, and that ballots entered after the last posted collection
        time on a given day will not be postmarked until the following business day.

Under our reading of your state's election laws, as in effect on July 27, 2020, certain state-law
requirements and deadlines appear to be incompatible with the Postal Service's delivery standards
and the recommended timeframe noted above. As a result, to the extent that the mail is used to
transmit ballots to and from voters, there is a significant risk that, at least in certain circumstances,
ballots may be requested in a manner that is consistent with your election rules and returned
promptly, and yet not be returned in time to be counted.

Specifically, it appears that a completed ballot must be postmarked before Election Day and received
by election officials within 10 days after the election. If that understanding is correct, voters who
choose to mail their ballots may do so on or before Monday, November 2. However, it further
appears that state law generally permits voters to apply by mail for a ballot as late as 3 days before
the election. If a voter submits a request at or near the deadline, and the ballot is transmitted to the
voter by mail, there is a significant risk that the ballot will not reach the voter before the state's
postmark deadline of November 2, and accordingly that the voter will not be able to use the ballot to
cast his or her vote. That risk is exacerbated by the fact that the law does not appear to impose a
time period by which election officials must transmit a ballot to the voter in response to a request.

To be clear, the Postal Service is not purporting to definitively interpret the requirements of your
state's election laws, and also is not recommending that such laws be changed to accommodate the
Postal Service's delivery standards. By the same token, however, the Postal Service cannot adjust
its delivery standards to accommodate the requirements of state election law. For this reason, the
Postal Service asks that election officials keep the Postal Service's delivery standards and
recommendations in mind when making decisions as to the appropriate means used to send a piece
of Election Mail to voters, and when informing voters how to successfully participate in an election
where they choose to use the mail. It is particularly important that voters be made aware of the
transit times for mail (including mail-in ballots) so that they can make informed decisions about
whether and when to (1) request a mail-in ballot, and (2) mail a completed ballot back to election
officials.

We remain committed to sustaining the mail as a secure, efficient, and effective means to allow
citizens to participate in the electoral process when election officials determine to utilize the mail as a
part of their election system. Ensuring that you have an understanding of our operational capabilities
and recommended timelines, and can educate voters accordingly, is important to achieving a
successful election season. Please reach out to your assigned election mail coordinator to discuss
the logistics of your mailings and the services that are available as well as any questions you may
have. A list of election mail coordinators may be found on our website at:
https://about.usps.com/election-mail/politicalelection-mail-coordinators.pdf.

We hope the information contained in this letter is helpful, and please let me know if you have any
questions or concerns.

Since ely,

                                                                                   RECEIVED
Thoma          rshall
                                                                                    AUG 0 3 2020
                                                                             SECRETARY OF STATE
Exh. A-4
Exh. A-04
Title          Rouan, Rick. “Postal Service reduces mail sorting capacity, warns Ohio some
               absentee ballots may not be delivered in time to count.” Columbus Dispatch, 14
               Aug. 2020.
URL            https://www.dispatch.com/news/20200814/postal-service-reduces-mail-sorting-
               capacity-warns-ohio-some-absentee-ballots-may-not-be-delivered-in-time-to-
               count
“Cutbacks by the Postal Service, including a significant loss of sorting and processing
machinery at Columbus-area post offices”; “The Postal Service has warned Ohio Secretary of
State Frank LaRose that Ohioans who request their absentee ballots near the deadline likely
won’t receive them in time for their vote to be counted.”
By Rick Rouan
The Columbus Dispatch
Posted Aug 14, 2020 at 6:26 PM


The Postal Service has warned Ohio Secretary of State Frank LaRose that Ohioans who request
their absentee ballots near the deadline likely won’t receive them in time for their vote to be
counted.

The letter received earlier this month was among those sent to elections officials in 46
states, according to The Washington Post.

The Post story reported on widespread cutbacks by the Postal Service, including a significant
loss of sorting and processing machinery at Columbus-area post offices. That has caused a
reduction in the amount of mail that can be sorted, resulting in delays in delivery.

The Columbus area was among the hardest hit in the country, with a reduction of 327,000 pieces
of mail per hour, according to the Post. The only cities with bigger reductions were Los Angeles
(577,000 pieces per hour), Houston (470,000) and Pontiac, Michigan (394,000). Pontiac is near
Detroit.

Naddia Dhalai, strategic communication specialist for the Postal Service’s Northern Ohio
District & Ohio Valley District, did not respond to Dispatch questions seeking specifics.

But she did say via email: “The Postal Service routinely moves equipment around its network as
necessary to match changing mail and package volumes. Package volume is up, but mail volume
continues to decline. Adapting our processing infrastructure to the current volumes will ensure
more efficient, cost effective operations and better service for our customers.”

Democrats have harshly criticized President Donald Trump for financially starving the Postal
Service, along with his false claims that voting by mail would lead to substantial election fraud.

That criticism intensified Thursday after Trump said he wouldn’t provide several billion dollars
that Democrats want for the Postal Service because the money would be used to make voting by
mail easier.

“They need that money so it can work and they can take these millions and millions of ballots,”
he said, according to Fox News. “But if they don’t get those two items, then they can’t have
mail-in ballots.”

Friday, the president said he might give more money to the Postal Service if Democrats give him
something he wants.


https://www.dispatch.com/news/20200814/postal-service-reduces-mail-sorting-capacity-warns-
ohio-some-absentee-ballots-may-not-be-delivered-in-time-to-count
The president has personally requested a mail-in ballot for Tuesday’s primary election in Florida.

On Tuesday, LaRose delivered a warning at a news conference on election preparedness, urging
Ohio voters to request their absentee ballots early so there is enough time for the ballots to be
mailed to them, and for voters to fill them out and return them.

The importance of mailed absentee ballots is expected to be magnified this year as many voters
shy away from going to the polls on Election Day because of the coronavirus pandemic.

LaRose had urged the General Assembly to move up the deadline to request an absentee ballot to
avoid problems with slow mail delivery. But state lawmakers never acted on that request, nor
other voting improvements suggested by LaRose.

Under current Ohio law, voters can request absentee ballots up until noon on the Saturday before
the Nov. 3 election. LaRose wanted that deadline bumped to a week before the election. Even
though the law wasn’t changed, LaRose is still urging voters to request their ballot at least a
week ahead of time, by Oct. 27.

LaRose said ballots requested at the Oct. 31 deadline are “highly unlikely” to be counted because
of the short turnaround time.

Absentee ballots sent through the mail must be postmarked by Nov. 2 and received at the county
board of elections within 10 days of the election (Nov. 13). Early voting in Ohio begins the first
week of October.

In a letter dated July 30 and received Aug. 3, the Postal Service wrote: “If a voter submits a
request at or near the deadline, and the ballot is transmitted to the voter by mail, there is a
significant risk that the ballot will not reach the voter before the state’s postmark deadline of
November 2, and accordingly that the voter will not be able to use the ballot to cast his or her
vote.”

Delays with postal delivery were a problem in the days leading up to the conclusion of Ohio’s
mostly by-mail primary in April. At that time, LaRose tapped the state’s congressional
delegation to try to work with the Postal Service to ensure timely delivery.

The Postal Service took several steps then, including keeping election mail in-state rather than
routing it through a regional distribution center in Detroit. LaRose’s office said it expects that
practice will be continued in the general election.

Democrats and voter advocates criticized LaRose last week for a decision to allow county boards
of elections to employ only one drop box, as was required in the primary, for absentee ballots.
Additional drop boxes would have allowed for more alternatives to mailing absentee ballots.

LaRose said he was worried that allowing multiple drop boxes in each county could invite
litigation.

LaRose spokeswoman Maggie Sheehan wrote in an email that the instructions on absentee ballot
applications being sent to nearly 8 million registered Ohio voters in September will recommend

https://www.dispatch.com/news/20200814/postal-service-reduces-mail-sorting-capacity-warns-
ohio-some-absentee-ballots-may-not-be-delivered-in-time-to-count
that they ask for an absentee ballot by Oct. 27, rather than waiting until closer to the deadline for
such requests.

The envelopes used to return those requests also have been modified to make it easier for postal
employees to identify them as elections mail, she said.

The Postal Service’s letter to LaRose noted that most first-class mail takes two to five days to
deliver; marketing mail takes three to 10 days. It recommended that voters submit their ballot
requests early enough that they would be received by their local board of elections at least 15
days before the election and that elections officials use the faster first-class mail.

Voters should mail their ballots back to elections officials at least a week before the deadline,
according to the letter. Voters who drop their ballot in mailboxes after their posted collection
times on Nov. 2 won’t be postmarked until the following day. In Ohio, that means those ballots
would not be counted.

“Under our reading of your state’s elections laws, as in effect on July 27, 2020, certain state-law
requirements and deadlines appear to be incompatible with the Postal Service’s delivery
standards and the recommended time frame noted above,” the letter said.

Dispatch Reporter Bethany Bruner contributed to this story.

rrouan@dispatch.com




https://www.dispatch.com/news/20200814/postal-service-reduces-mail-sorting-capacity-warns-
ohio-some-absentee-ballots-may-not-be-delivered-in-time-to-count
Exh. A-5
Exh. A-05
Title          Author. “GOP Ohio attorney general calls on Trump to postpone Postal Service
               changes.” Periodical, 15 Aug. 2020
URL            https://www.cbsnews.com/news/postal-service-election-ohio-attorney-general-
               dave-yost-republican-trump-postpone-changes/
According to Attorney General Yost, "[T]he radical changes only weeks before early voting
begins — however fiscally well founded — would place the solvency of the Post Office above
the legitimacy of the Government itself."
9/20/2020                              GOP Ohio attorney general calls on Trump to postpone Postal Service changes - CBS News




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                                                                                                     LIVE




   GOP Ohio attorney general calls on Trump to postpone Postal Service
   changes

   BY JAC K T U R M A N
   AUGUST 18, 2020 / 9:27 AM / CBS NEWS




   As the Trump administration begins to implement cost-cutting operational changes that have already begun to
   delay services, Ohio Attorney General Dave Yost is calling on President Trump to postpone Postal Service
   reforms until after the November election, according to a letter obtained by CBS News.




https://www.cbsnews.com/news/postal-service-election-ohio-attorney-general-dave-yost-republican-trump-postpone-changes/                           1/6
9/20/2020                                          GOP Ohio attorney general calls on Trump to postpone Postal Service changes - CBS News




   In the letter, dated August 16, Yost, a Republican, told the president that "the radical changes only weeks
   before early voting begins — however scally well founded — would place the solvency of the Post O ce above
   the legitimacy of the Government itself." Early voting begins in the state on October 6.


   He cited reports that included the removal of sorting boxes and mail boxes and added that changes would
   likely face legal battles. Ohio Secretary of State Frank LaRose said in a press conference last week that the state
   would limit the county boards of elections to a single ballot drop box per county.



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   "These changes so close to the election are certain to give rise to litigation, which in turn will create a sense of
   chaos and uncertainty that will likely roll right into the early voting period — thereby de-legitimizing the
   thousands of winners of the November contests," Yost wrote. The Columbus Dispatch rst reported Yost's
   letter.


   LaRose also recently announced a 48-point guidance plan on voting safely to Ohio's county board of elections.
   Recommendations include social distancing, requiring poll workers to wear facial coverings, routinely cleaning
   voting machines and allowing curbside voting.


   Yost expressed con dence in Ohio election o cials and their ability to safely and securely administer an
   election. He wrote that whatever reforms the president wants to implement "cannot come at the expense of
   our faith in the 2020 election."


   He recommended that Mr. Trump clarify his plan for operational change at the Postal Service and demand the
   Board of Governors postpone any changes until after the election.


   Ohio Senator Sherrod Brown, a Democrat, criticized the president for his handling of the Postal Service in a
   virtual press conference on Monday. Brown noted that many rely on mail to receive medications and to pay
   bills, in addition to casting their ballots.


   "It's amazing the president of the United States thinks it's okay to scare people, thinks it's okay to begin the
   dismantling of this great institution that has a very productive workforce," Brown said.
https://www.cbsnews.com/news/postal-service-election-ohio-attorney-general-dave-yost-republican-trump-postpone-changes/                                             2/6
9/20/2020                                            GOP Ohio attorney general calls on Trump to postpone Postal Service changes - CBS News



   All registered voters in Ohio — 7.8 million — will be sent an absentee ballot request form around Labor Day.
   Ohio is a "no-excuse" absentee ballot state. The deadline to request an absentee ballot is October 31, three days



   before Election Day. Ballots must be postmarked before Election Day in order to be counted, and the deadline
   to register to vote is October 5.


   The Postal Service warned Ohio in late July that because its absentee ballot request deadline is so close to
   Election Day, "there is signi cant risk that the ballot will not reach the voter before the state's postmark
   deadline of November 2." It suggested that voters should instead submit their requests far earlier, so that
   election o cials receive them "at least 15 days before Election Day, and preferably long before that time."


   Cara Korte contributed to this report.


   Read Yost's letter here:


     Page 1 of 3

                                                                                   Administration
                                                                                   O ce 614-
                                                                                   Fax 614-
                                                                                   728-5458
                                                                                   466-5087

                 August 16, 2020

                 The Honorable Donald J. Trump
                 President of the United States of
                 The White House
                 America
                 1600 Pennsylvania Avenue
                 Washington, D.C.
                 20500
                 Dear Mr. President:

                 I have become aware of numerous repo s in recent days of operational
                 underway at the United States Postal Service to respond to an a erial cash bleed
                 changes
                 a
                 --$2.2 billion loss in the most recent qua er, and tens of billions of dollars in the
                 last decade. I write to you today to respec ully request that you postpone
                 needed changes until a er the November
                 these
                 election.
                 The Post O ce has an outdated and broken business model and an ever-
                 customer base -- developments thi y years in the making. It is a perennial drain
                 declining
                 on the Treasury. But making the radical changes only weeks before early voting
                 begins -- however scally well founded -- would place the solvency of the Post
                 above
                 O ce the legitimacy of the Government
                 itself.
                 I’ll begin with two points on which all Americans ought to agree. First, we live in
                 the greatest democracy in the history of the world. Second, the future of
                 democracy depends upon the integrity of our elections. Our system is built on
                 our
                 idea that a legitimate government operates with the consent of the governed.
                 the
                 the governed will consent only ifPage               /
                                                     they trust1 the election
                                                                          3 returns. To quote the late
                 And
                 Justice Scalia, we cheat both sides of a contested election when we do anything
                 robs “the winners of an honest victory and the losers of the peace that comes
                 that




   First published on August 17, 2020 / 5:33 PM

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   The Five Guys Ordering Secret You Need To Know
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https://www.cbsnews.com/news/postal-service-election-ohio-attorney-general-dave-yost-republican-trump-postpone-changes/                       3/6
Exh. A-6
Exh. A-06
Title          Robbins, Adrienne. “In light of warnings from USPS, LaRose urges voters to
               act fast for mail-in ballots.” nbc4i.com, 17 Aug. 2020.
URL            https://www.nbc4i.com/news/your-local-election-hq/possible-postal-delays-
               could-threaten-ohio-votes/
“LaRose explained that he is concerned about changes slowing down absentee by-mail voting,
especially with a record number of Ohioans expected to participate.”; “Any delay, any service
impact by the postal service is of course going to have an impact on elections,” said LaRose.
In light of warnings from USPS, LaRose urges voters
to act fast for mail-in ballots
YOUR LOCAL ELECTION HQ

COLUMBUS (WCMH) — Ohio Secretary of State Frank LaRose and a bipartisan group of
secretaries of state have requested a meeting with the Postmaster General Louis DeJoy after
concerns of postal delays may impact the 2020 election.

“The ask is going to be very clear, any kind of changes they are doing can’t impact the election,”
said LaRose.

LaRose explained that he is concerned about changes slowing down absentee by-mail voting,
especially with a record number of Ohioans expected to participate.

“Any delay, any service impact by the postal service is of course going to have an impact on
elections,” said LaRose.

2020 Ohio General and Presidential Election guide

With this looming problem, some lawmakers are calling for LaRose to allow county boards to
install more ballot drop boxes.

“This is the most common sense, easiest way to help people vote in a global pandemic,” said
Rep. Bride Rose Sweeney (D-Cleveland).

LaRose explained that is a decision for the General Assembly, not his office.

“I can’t do things that I’m not allowed to do under law whether I like them or not,” he said. “So
would I like to expand drop boxes in the state of Ohio? Absolutely. Can’t do it without
legislative permission.”

Yost asks Trump to hold off on post office changes

With the future of the Postal Service being unknown, LaRose urges all Ohio voters to act quickly
and not procrastinate. He stressed absentee by mail in is still a viable option to vote for Ohioans.

“Whether mail moves a little bit slower or not, if it takes a few extra days for delivery to happen,
that shouldn’t impact the confidence that Ohioans have,” said LaRose.

To register to receive a mail-in ballot, click here. Registration is open now, and the deadline to
submit a ballot request is three days before the November 3 election.
Exh. A-7
Exh. A-07
Title          WKYC. “Ohio Secretary of State Frank LaRose urges voters to 'request your
               absentee ballot right away' on the TODAY Show.” News Break, 15 Aug. 2020.
URL            https://www.newsbreak.com/news/2041503679167/ohio-secretary-of-state-
               frank-larose-urges-voters-to-request-your-absentee-ballot-right-away-on-the-
               today-show
“Ohio Secretary of State Frank LaRose has advised Ohioans who are voting by mail to request
and send their absentee ballots in well ahead of the state's usual deadlines, due to concerns
over delays in delivery as the United States Postal Service undergoes a drastic reorganization
at a time when voting by mail is expected to double in the state due to COVID-19 safety
concerns.”
 Ohio Secretary of State Frank LaRose urges voters to
   'request your absentee ballot right away' on the
                    TODAY Show
Show Ohio | WTOL-TV | 08-15
Ohio Secretary of State Frank LaRose has advised Ohioans who are voting by mail to request
and send their absentee ballots in well ahead of the state's usual deadlines, due to concerns over
delays in delivery as the United States Postal Service undergoes a drastic reorganization at a time
when voting by mail is expected to double in the state due to COVID-19 safety concerns.
Exh. A-8
Exh. A-08
Title          Pitman, Michael. “Postal service says ‘missort’ caused late delivery of more
               than 300 ballots to Butler County.” Journal News, 26 May 2020.
URL            https://www.journal-news.com/news/postal-service-says-missort-caused-late-
               delivery-more-than-300-ballots-butler-county/30hGBU3iLtu7NyXoknuJZI/
“An ‘unintentional missort’ of more than 300 ballots caused them to be delivered too late to be
counted by the Butler County Board of Elections, according to the U.S. Postal Service’s chief
operating officer.”
Postal service says ‘missort’ caused late delivery of
more than 300 ballots to Butler County
Ohio | May 26, 2020
By Michael D. Pitman
U.S. Postal Service response left Ohio Secretary of State ‘with some unanswered questions.’

EDITOR’S NOTE: This story has been updated with new information about two other Ohio counties
receiving late-arriving ballots that were mailed on or before April 27 election deadline.

An “unintentional missort” of more than 300 ballots caused them to be delivered too late to be
counted by the Butler County Board of Elections, according to the U.S. Postal Service’s chief
operating officer.

But Ohio Secretary of State Frank LaRose wants more answers.

LOCAL NEWS: Gov. Mike DeWine addresses Miami University in digital graduation
message

“The response left us with some unanswered questions, and that’s why Secretary LaRose has
already requested greater detail about the new protocols that will be instituted and confirmation
that the ballots were always secure while in the possession of the USPS,” said Maggie Sheehan,
Secretary of State spokeswoman.

The U.S. Post Office delivered 318 vote-by-mail ballots on Monday, May 11, three days after the
May 8 deadline to receive any absentee ballots. Butler County elections officials said the ballots
were mailed on or before the April 27 deadline to be considered for the count of the official run
of the election, which is scheduled for today, May 19.

The Butler County Board of Elections had received 338 late vote-by-mail ballots by May 8,
according to elections officials. Butler County elections’ Deputy Director Eric Corbin said
Cincinnati postal officials told the office there were no additional absentee ballots.

U.S. Postal Service Chief Operating Officer and Executive Vice President David E. Williams
said in a letter to Ohio Secretary of State Frank LaRose the postal service followed to its
processes for delivering absentee ballots.

“An unintentional missort of a tray of Butler County return ballots ultimately contributed to a
gap in the mail flow, resulting in the delay,” Williams wrote.




https://www.journal-news.com/news/postal-service-says-missort-caused-late-delivery-more-
than-300-ballots-butler-county/30hGBU3iLtu7NyXoknuJZI/
LOCAL NEWS: Will students show up, pay for college classes? Examining the financial
fallout

He said the issue has been identified as “an opportunity for improvement.”

Butler County elections officials called the mistake by the postal service “very disheartening.”

Sheehan said Butler County was the report of a county elections office in Ohio to have ballots
that were in the U.S. Postal Service’s possession for at least 14 days delivered late. The office
later received reports of Geauga County receiving 26 ballots late and Lucas County with 13
ballots late.

“We brought this to the attention of the USPS,” she said.




https://www.journal-news.com/news/postal-service-says-missort-caused-late-delivery-more-
than-300-ballots-butler-county/30hGBU3iLtu7NyXoknuJZI/
Exh. A-9
Exh. A-09
Title        WHIO Staff. “Secretary of State: More than 1.3 million Ohioans have asked for
             absentee ballot applications.” WHIOTV7, 15 Sep. 2020.
URL          https://www.whio.com/home/more-than-13-million-ohioans-have-asked-
             absentee-ballot-applications-secretary-state-
             says/LYBGMPA7ERHKLAAKG53XKJPCVM/
Subject      “County board of elections statewide have received 1,398,347 absentee ballot
Matter(s):   applications, Ohio Secretary of State Frank LaRose reported Tuesday, more
             than double the number of such ballots asked for during the 2016 election.”
9/20/2020                            Secretary of State: More than 1.3 million Ohioans have asked for absentee ballot applications




 Secretary of State: More than 1.3 million Ohioans have asked
 for absentee ballot applications




 Absentee ballot requests in Ohio surpass 1 million

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                                  Share

  By: WHIO Staff
  Updated: September 15, 2020 - 10:07 PM

 COLUMBUS — County board of elections statewide have received 1,398,347
 absentee ballot applications, Ohio Secretary of State Frank LaRose reported

https://www.whio.com/home/more-than-13-million-ohioans-have-asked-absentee-ballot-applications-secretary-state-says/LYBGMPA7ERHKLAAKG53…   1/3
9/20/2020                            Secretary of State: More than 1.3 million Ohioans have asked for absentee ballot applications


 Tuesday, more than double the number of such ballots asked for during the 2016
 election.

 >> RELATED: Ohio Judge derides restriction of 1 ballot box per county

                                                                                                             
 LaRose said the statewide number announced includes 15,806 requests from
                                                                      LIVE TV
 military and overseas voters. Those ballots will be mailed beginning Sept. 18. All
                                                                                                                           LIVE RADIO
 other ballots will be mailed starting Oct. 6. As of Tuesday, there are 49 days
 remaining until Election Day.
                                                       Content Continues Below


 At the same time during the 2016 election, 524,631 absentee ballots had been
 requested, he said, noting that all data is current as of Sept. 11.

 Ohio’s population is 11.6 million, according to the latest census data.

 “Ohioans continue to show incredible con dence in our absentee voting system,
 and our county boards are well-equipped to handle the surge in requests,” LaRose
 said in a prepared statement.

 To prepare Ohio boards of elections for the large amount of voters requesting
 absentee ballots this year, LaRose sent 87% of Ohio’s $12.8 million CARES Act
 allocation directly to the county boards to strengthen their election infrastructure,
 hire temporary personnel, and more.

 >> RELATED: What you need to know about absentee ballots, in-person voting

 LaRose said voters intending to use the absentee ballot option should consider
 the following best practices:

            Fill in information properly. Review the form to ensure you have lled it out
            properly, including writing your date of birth where required, not the day’s date,
            as well as signing the form.

https://www.whio.com/home/more-than-13-million-ohioans-have-asked-absentee-ballot-applications-secretary-state-says/LYBGMPA7ERHKLAAKG53…   2/3
9/20/2020                            Secretary of State: More than 1.3 million Ohioans have asked for absentee ballot applications


            Include your e-mail and/or phone number. For the rst time in a general
            election, county board of elections will be calling or e-mailing voters who may
            need to remedy information on their ballot request form or absentee ballot
            envelope.
            Don’t wait. To accommodate necessary processing time at the county board
            of elections and the time required for the U.S. Postal Service to deliver
            elections mail, ll out and mail your absentee ballot request as soon as
            possible. By law, ballots are not sent out (other than for overseas voters) until
            Oct. 6.
            Double check your return envelope. Before you submit your ballot request
            form, make sure the envelope is addressed to your county board of elections.
            Track your ballot. Once your ballot request is received by your county board of
            elections, you may track it at VoteOhio.gov/Track. Your vote will be counted
            as long as your ballot is postmarked by the day before the election and
            received within 10 days after the election at your board of elections.




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https://www.whio.com/home/more-than-13-million-ohioans-have-asked-absentee-ballot-applications-secretary-state-says/LYBGMPA7ERHKLAAKG53…       3/3
Exh. A-10
Exh. A-10
Title          Stahl, Jeremy. “This Is Still Happening: Louis DeJoy, Postmaster General.”
               Slate, 08 Sep. 2020.
URL            https://slate.com/news-and-politics/2020/09/this-is-still-happening-louis-
               dejoy.html
“As a consequence of some or all of the changes—whether they originated with DeJoy or
not—on-time delivery plummeted in mid-July, from about 93 percent to 83 percent. That loss
of output has proved disastrous. The result has been countless stories of horrifying mail delays,
such as reports of dead farm animals undelivered to rural farms, or rotting meat shipments, or
an elderly Holocaust survivor who was left without his reparations check, or many, many,
many stories of veterans and seniors not receiving prescription drugs on time.”
9/20/2020                                                    This is still happening: Louis DeJoy, postmaster general.


                                                                                                                         Subscribe



       POLITICS

       This Is Still Happening: Louis DeJoy, Postmaster
       General
       A roundup of Trump administration malfeasance, Part 11.
       By JEREMY STAHL
       SEPT 08, 2020 • 5:50 AM




         Photo illustration by Slate. Photo by Tom Williams-Pool/Getty Images.



       This Is Still Happening is a feature in which Slate will attempt to o er an update on senior-
       level administration corruption, what could be done to bring the of icials to account, and
       what Democrats are doing in response (generally, nothing). The 11th installment is about
       the postmaster general and Trump megadonor who is dismantling the United States Postal
       Service.

       The Of icial: Louis DeJoy, postmaster general

https://slate.com/news-and-politics/2020/09/this-is-still-happening-louis-dejoy.html                                                 1/7
9/20/2020                                                    This is still happening: Louis DeJoy, postmaster general.

       What Is Still Happening: The mail keeps arriving late, even after a wave of national
       attention about the summer’s breakdown of the United States Postal Service under its
       recently installed postmaster general. And it appears, after DeJoy made a pair of
       congressional appearances amid a lurry of campaign news, that he is still covering up the
       extent to which he has debilitated Postal Service operations in the leadup to an election
       that will involve the highest levels of mail-in voting in history and which his boss, the
       president, has promised to sabotage by crippling the Postal Service. Oh, and also he may
       have committed a bunch of campaign inance felonies before entering the job. But we’ll get
       to that later.

       DeJoy’s changes, which he claimed would increase ef iciency, caused on-time delivery to
       deteriorate by at least 10 percent. Despite the hearings, numbers released just last week
       show that service still hasn’t recovered; meanwhile, it was reported that top Postal Service
       of icials were already preparing excuses for ballot delivery delays, even after the
       postmaster promised state election of icials and Congress that his organization would
       deliver ballots “securely and on time.”

       DeJoy was named as postmaster general in May. There were many unusual things about
       the appointment. For one, DeJoy is the irst postmaster general in 20 years not to have
       worked for the Postal Service. Second, the main reason DeJoy got the job seems to be that
       he has been a longtime Republican megadonor—prior to taking the gig, he was due to be the
       national inance chairman for last month’s Republican National Convention. Third, DeJoy
       was not on the list of 212 candidates elevated by the consulting irm that was in charge of
       recruitment for the position. Indeed, he was recommended by the Trump-appointed
       chairman of the USPS board of governors, Robert M. Duncan, another longtime Republican
       megadonor and a former chairman of the Republican National Committee. This happened
       after Duncan reportedly met with Trump Treasury Secretary Steven Mnuchin about the
       previous postmaster’s ouster. And as Slate’s Aaron Mak reported, DeJoy’s interview
       process was considered quite literally a “joke” among the Trump-appointed members of the
       board of governors that decided the hire.

       Once DeJoy was in the job, things became even more unusual. First, as part of a plan to cut
       costs, he mandated in July that carriers make changes to schedules that would dramatically
       cut hours and result in “mail left behind or mail on the workroom loor.” As these changes
       were taking place, midlevel managers reportedly circulated a memo saying that overtime
       would be “eliminated.” Meanwhile, a plan—that apparently predated DeJoy’s arrival—began
       to take out of operation 671 mail sorting machines this year, more than double the amount
       decommissioned in the past two years combined. The sorting capacity reduction was to
       take place in some of the country’s largest urban centers and in critical swing states. There

https://slate.com/news-and-politics/2020/09/this-is-still-happening-louis-dejoy.html                                     2/7
9/20/2020                                                    This is still happening: Louis DeJoy, postmaster general.

       were also widespread reports around this time of removals of blue mailboxes across the
       country. Finally, the Postal Service sent a letter in July to 46 states warning them that the
       Postal Service might not be able to meet deadlines for delivering election mail.

       As a consequence of some or all of the changes—whether they originated with DeJoy or not
       —on-time delivery plummeted in mid-July, from about 93 percent to 83 percent. That loss of
       output has proved disastrous. The result has been countless stories of horrifying mail
       delays, such as reports of dead farm animals undelivered to rural farms, or rotting meat
       shipments, or an elderly Holocaust survivor who was left without his reparations check, or
       many, many, many stories of veterans and seniors not receiving prescription drugs on time.

       It’s still an open question whether the changes that resulted in the widespread breakdown
       in service were motivated by sabotage or mere business-executive hubris. Earlier this year,
       the Washington Post reported that Mnuchin attempted to leverage a $10 billion emergency
       loan to take control of Postal Service inancial operations and package rates. Postal Service
       employees have said that they are concerned the changes are part of a plot to privatize the
       Postal Service. A board of governors vice chairman who stepped down in April due to
       politicization of the Postal Service, meanwhile, alleged that Mnuchin had sought to raise
       shipping prices in an e ort to hurt Amazon on behalf of President Donald Trump. For his
       part, the president has said that he was blocking funding requests for the Postal Service
       because “they need that money in order to have the post of ice work so it can take all of
       these millions and millions of ballots.”

       Whatever the motive is, the outcome is clear. Even after the uproar around the Postal
       Service resulted in DeJoy backtracking on a small and unspeci ied number of changes and
       promising to deliver election mail on time, delivery rates are still way down. While they have
       recovered slightly from the August trough, the USPS reported last week that on-time
       delivery was still 5 percent below normal standards in the last week in August. And in the
       face of expedited discovery demands as part of mounting lawsuits and a congressional
       subpoena sent last week, DeJoy still wouldn’t commit to o ering regular updates on service
       conditions or to providing the documentation explaining his moves.

       The election, meanwhile, is two months away.

       How Long It Has Been Going On: While the battles over USPS budget shortfalls have been
       going on for years and the COVID 19 pandemic has had an e ect on the Postal Service’s
       capacity since the spring, this summer’s collapse in service is the direct result of DeJoy’s
       elevation to the job. On July 10, DeJoy issued a memo announcing his changes. Service
       crashed the very next day and had not come close to recovering as of the last week of
       August, the most recent period for which there is public data.
https://slate.com/news-and-politics/2020/09/this-is-still-happening-louis-dejoy.html                                     3/7
9/20/2020                                                    This is still happening: Louis DeJoy, postmaster general.

       As noted, prior to rapidly dismantling one of the oldest and most-cherished American
       institutions, DeJoy’s main occupation was raising bundles of cash for Trump and the
       Republican Party. In the past four years, he donated $1.2 million to the Trump Victory Fund,
       hundreds of thousands to individual Republican congressional candidates and campaign
       committees, and more than $1.3 million to the Republican National Committee.

       As a side note, DeJoy’s pay-to-play lifestyle reportedly extends to his family life. It was
       reported in late August that he donated $2.2 million to Duke University at a time that his
       son was invited to be a walk-on member of the school’s highly ranked tennis team.

       DeJoy’s fortune was accumulated through his logistics company, whose labor practices
       included union-busting, a bevy of labor violations, a major sexual harassment settlement,
       and working several pregnant employees to the point that they miscarried.

       Indeed, one of the items that should only further disqualify DeJoy from his position is his
       continued $30 million inancial stake in that company, which has contracted with USPS to
       the tune of hundreds of millions of dollars since 2013, including at least $14 million in the
        irst three months of DeJoy’s tenure, which is about $10 million more than the same period
       in 2019 and about $9 million more than the same period in 2018. As the Washington Post
       reported, DeJoy and his wife in total own upward of $75.3 million “in assets in Postal Service
       competitors or contractors,” coming in part from “millions in a private-equity fund invested
       in logistics companies that could bene it from privatizing or disassembling the Postal
       Service.”

       Finally, over the weekend, the Washington Post reported that DeJoy, during his tenure
       running Breed Logistics, allegedly pressured employees to contribute to Republican
       campaigns and then reimbursed them through bonuses in violation of federal and North
       Carolina election laws. This straw-donor money laundering scheme was described by
       DeJoy’s former longtime director of human resources at Breed and another company
       employee. Further evidence and testimony documenting the alleged scheme was provided
       by other employees and through campaign inance records examined by the Post.

       DeJoy is under investigation by the Postal Service inspector general for this myriad of
       con licts of interest and is potentially now under state investigation for possible criminal
       conduct, though the federal laws he allegedly violated appear to be outside the ive-year
       statute of limitations for prosecution.

       What Would Normally Happen: It’s hard to conceive of this level of blatant public
       corruption—and with worse results for the country—outside of the spoils system of


https://slate.com/news-and-politics/2020/09/this-is-still-happening-louis-dejoy.html                                     4/7
9/20/2020                                                    This is still happening: Louis DeJoy, postmaster general.

       postbellum America. That was an era when tarring and feathering was not completely
       uncommon.

       What Democrats Have Done: So far, Democrats have surprisingly somewhat mobilized to
       meet the occasion. Sen. Elizabeth Warren requested and set in motion that aforementioned
       inspector general investigation. When the scope of the crisis became clear late last month,
       the House Oversight Committee returned early from recess to hold an emergency hearing
       with DeJoy, who failed to answer very basic questions—such as the price of a postcard—and
       was otherwise evasive. In a pair of congressional hearings, DeJoy said he would not commit
       to sending Congress the analysis he used to make his changes, that he was not responsible
       for the memo mandating overtime cuts and that he didn’t want to ind out who was, and
       that the Postal Service hadn’t actually cut overtime but also that the overtime cuts had
       been rescinded. At the same time, he adamantly refused to allow Postal Service employees
       to restart the idled sorting machines that needed merely to have outlet cords plugged back
       in.

       After DeJoy refused to turn over documents related to his changes, the House Oversight
       Committee last week issued a subpoena for DeJoy to turn over by Sept. 16 documents
       related to the ongoing service disruptions and how the changes to service came about,
       along with DeJoy’s personal calendar.

       Over the weekend, House and Senate Democrats blasted DeJoy for the alleged campaign
        inance money laundering scheme. North Carolina Attorney General Josh Stein, meanwhile,
       sent out a tweet saying that “any credible allegations” of such campaign inance felonies
       warranted state investigation, but added that it would be inappropriate for him to comment
       “on any speci ic matter at this time.” The Washington Post further reported that the State
       Board of Elections, the Guilford County district attorney, and the Wake County district
       attorney could play a key role in any criminal investigation.

       When DeJoy was asked whether or not he had participated in any sort of straw-donor
       scheme on behalf of the Trump campaign during his August congressional testimony, he
       responded indignantly, saying “That’s an outrageous claim sir, and I resent it.” He then
       denied participating in such a scheme. Technically, he may be right: The conduct alleged in
       the Post report took place between 2000 and 2014, bene iting candidates other than
       Trump, which would mean that DeJoy’s resentment must have been about the supposed
       time frame, rather than the nature of the criminal conduct itself.

       What Is Likely to Be Done: It is unclear whether DeJoy will be made to actually comply with
       the congressional subpoena, but recent history is not promising. The Postal Service put out
       a statement criticizing the subpoena, claiming it was cooperating with the committee—
https://slate.com/news-and-politics/2020/09/this-is-still-happening-louis-dejoy.html                                     5/7
9/20/2020                                                    This is still happening: Louis DeJoy, postmaster general.

       though it was not—and vaguely stating “we fully intend to comply with our obligations
       under the law.” Many, many, many other of icials of this administration have ignored
       subpoenas and claimed to have been in compliance with their obligations under the law,
       with little consequence.

       The Democratic response has generally been to sue in court, a process that has yet to yield
       results. Indeed, last week, a panel for the D.C. Circuit Court of Appeals ruled in one such
       lawsuit that Congress could not have the court enforce its subpoena of former White House
       counsel Donald McGahn, because Congress had never passed a law speci ically requiring
       that its subpoenas be enforced.

       While that case is sure to be appealed and seems to con lict with other appellate level
       rulings, the clock is running out for this Congress to enforce its subpoenas before they
       expire. Don’t be surprised if DeJoy tries to stall. If he does, the D.C. Circuit panel has ruled
       that Congress’ only option to enforce its subpoena power against him and other members
       of the administration is to use its long-dormant inherent contempt power to arrest, or
       possibly ine, witnesses who refuse to comply with subpoenas.

       The House Oversight Committee could also investigate the straw donor scheme, even
       subpoenaing documents from DeJoy’s old logistics irm. Indeed, Rep. Jackie Speier, a
       member of the House Oversight Committee, told the Post that she asked colleagues to
       begin an investigation. On Monday, sta for Oversight Committee Chairwoman Carolyn
       Maloney con irmed in a statement that the committee would investigate the allegations. “If
       these allegations are true, Mr. DeJoy could face criminal exposure—not only for his actions
       in North Carolina, but also for lying to our Committee under oath,” Maloney said. “We will be
       investigating this issue, but I believe the Board of Governors must take emergency action to
       immediately suspend Mr. DeJoy, who they never should have selected in the irst place.”




https://slate.com/news-and-politics/2020/09/this-is-still-happening-louis-dejoy.html                                     6/7
9/20/2020                                                    This is still happening: Louis DeJoy, postmaster general.




       Given the cautiousness with which the Democrats are approaching the looming election, it’s
       hard to imagine them putting DeJoy in handcu s—or attempting to impeach him—for
       illegally failing to comply with the subpoena if that’s the route he goes, or for his apparent
       campaign inance felonies. The only mechanism for accountability left at that point will be
       for Joe Biden to win the election, but for Biden to win, DeJoy irst will have to deliver the
       ballots.

       How Impeachable This Stu Is: If tarring and feathering weren’t so morally abhorrent,
       Louis DeJoy would be a prime deserving candidate. In simple functional terms, he has
       botched the basic operations of an essential national service, to a degree that would cost
       any normal administrator his job. And he has done it in a way that bene its the expressed
       corrupt interests of a president and political party with whom he is deeply—and possibly
       illegally—entangled, undermining the already undermined public trust in both our current
       government and in the election with which we would try to replace that government. And
       he may be making some money out of it all personally, on the side. He certainly should be
       removed from of ice before he can do any further damage, even if he won’t be because of
       how broken the U.S. political system is. 10 out of 10.

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https://slate.com/news-and-politics/2020/09/this-is-still-happening-louis-dejoy.html                                     7/7
Exh. A-11
Exh. A-11
Title        Cordell, Taneisha. “US Postal service scrambling for funding to ensure mail-in
             ballots are counted in time.” News 5 Cleveland, 14 Aug. 2020.
URL          https://www.news5cleveland.com/news/democracy-2020/ohio-politics/us-
             postal-service-scrambling-for-funding-to-ensure-mail-in-ballots-are-counted-in-
             time
Subject      “Ohio Secretary of State Frank LaRose said he pushed to move the deadline to
Matter(s):   request an absentee ballot up by four days but was unsuccessful.”
       US Postal service scrambling for funding to
        ensure mail-in ballots are counted in time
By: Taneisha Cordell
Posted at 10:35 PM, Aug 14, 2020

and last updated 11:45 PM, Aug 14, 2020



CLEVELAND — Budget cuts couldn’t have come at a worse time,
according to Cleveland’s American Postal Workers Union President
Daleo Freeman.

“We’re still dealing with COVID going into the fall season on top of…the
holiday season,” Freeman said. “Stripping those things away for
whatever reason, then our members and our brothers and sisters across
the country as well as Cleveland, we’re upset about it.”

Freeman said the group is already faced with coronavirus setbacks,
including furloughed members and a decline in mailing services. Not to
mention doubt surrounding its ability to handle an influx of mail-in
ballots this November.

“We are definitely more than prepared, and the people are willing to do
it, but when again when you start to strip away the resources that [are]
needed then it’s going to put a strain on the people,” he said.

Case Western Economics Professor Daniel Shoag said cutting back on
resources like sorting machines and employee overtime isn’t helpful.

“We are going to need to give this option to people,” Shoag said. “Our
government spends a lot of money on things that are a lot more
expensive, so this is really an execution issue, not an affordability issue.”



https://www.news5cleveland.com/news/democracy-2020/ohio-politics/us-postal-service-
scrambling-for-funding-to-ensure-mail-in-ballots-are-counted-in-time
The changes were handed down by the U.S. Postal Services’ new
Postmaster General Louis DeJoy after President Donald Trump denied
the agency $26 billion in funding.

The Associated Press reports the U.S. Postal Services sent letters to 46
states, including Ohio, that warn it can’t guarantee all ballots cast by mail
will be delivered in time to be counted. The postal service warns the
deadline to request absentee ballots in some states like Ohio is too close
to election day.

Ohioans have until Oct. 31 at noon to request an absentee ballot.

“We’re seeing these rules being issued with no real advocacy at all on
behalf of the need for an effective, efficient mailed ballot
processingsystem,” said News 5 Political Analyst Tom Sutton.

Sutton said it raises suspicion.

“You can’t help but wonder to what degree is this being done to
discourage the vote or to even set up a situation where people will vote in
good faith but never have those ballots counted,” he said.

Ohio Secretary of State Frank LaRose said he pushed to move the
deadline to request an absentee ballot up by four days but was
unsuccessful.

Ballots postmarked by Nov. 2 can be counted if received up to 10 days
past the election.

RELATED: Post office removing machines, raising prices, warning of
election delays




https://www.news5cleveland.com/news/democracy-2020/ohio-politics/us-postal-service-
scrambling-for-funding-to-ensure-mail-in-ballots-are-counted-in-time
Exh. A-12
Exh. A-12
Title          Pagonakis, Joe. “Cleveland postal union reports dismantled sorting equipment,
               delivery concerns.” News 5 Cleveland, 18 Sep. 2020.
URL            https://www.news5cleveland.com/news/local-news/cleveland-metro/cleveland-
               postal-union-reports-dismantled-sorting-equipment-delivery-concerns
“The controversy over dismantled sorting machines discovered in the back of Cleveland's
main post office on Orange Avenue has citizens and postal union leaders concerned about the
delivery of mail-in ballots for the November election.”
     Cleveland postal union reports dismantled sorting
               equipment, delivery concerns
By: Joe Pagonakis
Posted at 10:08 PM, Aug 17, 2020

and last updated 7:38 AM, Aug 18, 2020



CLEVELAND — The controversy over dismantled sorting machines
discovered in the back of Cleveland's main post office on Orange Avenue
has citizens and postal union leaders concerned about the delivery of
mail-in ballots for the November election.

Concerns continue after the U.S. Postal Service told Ohio and other
states that it may not meet mail-in voting deadlines because of idled
equipment and budget shortfalls that have created worry that the
upcoming election could be undermined.

The U.S. Postal Service told News 5 the sorting equipment left outside
was not for letters and postcards and issued the following statement:

"The machine was moved months ago and it's just one that was used to
process flats (like magazines) which is a class of mail volume that has
declined over the years."

However, Nigel Saleem, V.P. Cleveland American Postal Workers Union
Local 72 told News 5 other sorting machines that are used for letters and
postcards have been taken off-line in recent months and weeks, in what
he said appears to be a postal slowdown.

Saleem said he's confident the postal service will be able to handle the
flood of mail-in ballots but said if the Trump administration allocated
more postal funding it would guarantee success.
https://www.news5cleveland.com/news/local-news/cleveland-metro/cleveland-postal-union-
reports-dismantled-sorting-equipment-delivery-concerns
“We had several letter sorting machines that were also dismantled,"
Saleem said. “They haven’t even moved those machines out of the
building. They just dismantled them and they’re just laying there in the
middle of the floor.

“It appears to be a slowdown. It’s hard to get in someone’s head to says
for sure, but it appears to be a slowdown.

“But when you cut the overtime along with the people not showing up for
work for whatever reason, if they’re sick or just being quarantined, that
puts a strain on the system, so there is a concern.

"This shouldn’t be partisan, let’s just get the deal done so we can get our
jobs done.”




https://www.news5cleveland.com/news/local-news/cleveland-metro/cleveland-postal-union-
reports-dismantled-sorting-equipment-delivery-concerns
Exh. A-13
Exh. A-13
Title           Bogage, Jacob. “DeJoy’s Postal Service policies delayed 7 percent of nation’s
                first-class mail, Senate Democrat’s report says.” Washington Post, 16 Sep.
                2020.
URL             https://www.washingtonpost.com/business/2020/09/16/dejoy-usps-delays-
                senate-report/
“Postmaster General Louis DeJoy’s controversial midsummer operational directives delayed
nearly 350 million pieces, or 7 percent, of the country’s first-class mail in the five weeks they
were in effect, according to a new report published Wednesday by the Senate’s top Democrat
in charge of postal oversight.”
   Democracy Dies in Darkness



DeJoy’s Postal Service policies delayed 7 percent of
nation’s first-class mail, Senate Democrat’s report
says
The postmaster general suspended some cost-cutting maneuvers but not the moves experts say are behind
the worst problems

By Jacob Bogage

September 16, 2020 at 1:15 p.m. EDT


Postmaster General Louis DeJoy’s controversial midsummer operational directives delayed nearly 350 million pieces,
or 7 percent, of the country’s first-class mail in the five weeks they were in effect, according to a new report published
Wednesday by the Senate’s top Democrat in charge of postal oversight.

A month after taking charge of the U.S. Postal Service, DeJoy implemented stricter dispatch schedules on transport
trucks that forced workers to leave mail behind and prohibited extra mail trips, leading to well-documented
bottlenecks. Managers under him also cracked down on overtime, which postal workers commonly rely on to complete
routes, though DeJoy has denied having a role in those cutbacks.

The report portrays an agency whose leadership was barely prepared to implement the new policies, did not anticipate
the upheaval they might cause and is still trying to find its balance as the November election draws near and millions
of people continue to experience longer wait times for their mail and packages.

Before the changes, the Postal Service routinely delivered more than 90 percent of the nation’s first-class mail on time,
according to an analysis of USPS data by the office of Sen. Gary Peters (Mich.), the top Democrat on the Senate
Homeland Security and Governmental Affairs Committee. Two weeks later, on-time delivery rates hovered near 83
percent, ensnaring prescription medications, benefits checks and ballots in midterm elections.

On-time rates continued to deteriorate, the report said, falling to 85.3 percent the week of July 11, 82.2 percent the
week of July 18, 83.6 percent the week of July 25, 82.8 percent the week of Aug. 1 and 81.5 percent the week of Aug. 8.
And in crucial regions that could decide the November election, on-time rates fell 20.4 percentage points in northern
Ohio, 19.1 percentage points in Detroit and 17.9 percentage points in central Pennsylvania.




                                                                                                                             /
DeJoy’s policies caused millions of late mail items
The operational changes Postmaster General Louis DeJoy implemented in
mid-July delayed 350 million pieces of ﬁrst-class mail over the succeeding ﬁve
weeks, according to an analysis of Postal Service and Postal Regulatory
Commission data by the oﬃce of Sen. Gary Peters (D-Mich.). That’s more than 7
percent of the country’s ﬁrst-class mail.

Increase in delayed ﬁrst-class mail pieces
   90 M                                                                   85.1 M
                                      78.1 M
                                                             72.4 M
                                                 64.7 M
   60 M                 49.6 M


   30 M


             0
       0

       Week of Jul. 4    Jul. 11       Jul. 18    Jul. 25     Aug. 1       Aug. 8
DeJoy’s changes took eﬀect during the week beginning July 11.

Source: Senate panel minority staﬀ analysis of U.S Postal Service, Postal Regulatory
Commission data


                                                 JACOB BOGAGE/THE WASHINGTON POST
                                                                                       /
“The results of my investigation clearly show that Postmaster General DeJoy’s carelessly instituted operational changes
to the Postal Service resulted in severe service impacts that harmed the lives and livelihoods of Michiganders and
Americans,” Peters said in a statement. “I have repeatedly made it clear to Mr. DeJoy that his actions have had
consequences for many of my constituents and people across the nation. My report shows his decisions were reckless
and caused significant harm to the American people.”

DeJoy suspended some of his cost-cutting maneuvers, including the removal of high-speed mail-sorting machines and
public collection boxes, until after the election but said that sorters and mailboxes already taken offline would not be
replaced. He left in place his orders on transportation schedules — the most controversial changes — that postal
workers and independent experts say are causing the most problems.



Postal Service spokesman David Partenheimer said in an emailed statement that DeJoy’s directives on “getting trucks
running on time” caused a “temporary dip in service” and that by Wednesday, USPS trucks were more consistently on
schedule.

“By insisting that trucks run on time, we have now seen improvements in all categories of delivery,” Partenheimer
wrote. “We are taking the steps necessary to run a world-class, efficient and effective logistics operation that delivers
six days a week for the American people.”

Peters’s report recommends that DeJoy reverse his policy directives, including the transportation schedule, and that
the USPS commit to treating election mail with first-class privilege, as it has in past years. It also urged Congress to
pass the Delivering for America Act, which would prohibit the agency from implementing operating changes that
would affect delivery standards until the end of the coronavirus pandemic. That bill passed the Democratic-controlled
House last month but has not been taken up by the GOP-run Senate.

DeJoy “failed to conduct any meaningful analysis about how his planned changes could affect customers,” the report
said. John Barger, a Republican member of the Postal Service’s governing board, testified last week before Peters’s
committee that DeJoy did not inform the board of the changes he was considering and that the Postal Service for a
month and a half refused to provide lawmakers any records of the decision-making process driving those policies.

As lawmakers began asking questions about mail service delays, the agency denied enacting any large-scale operational
changes, insisting instead that DeJoy was “reemphasizing existing operational plans,” according to a July 22 letter to
Peters from USPS General Counsel Thomas J. Marshall.

When David E. Williams, the agency’s chief logistics and processing operations officer, briefed the committee on the
initiatives on Aug. 31, the meeting included a single slide on the policies, according to the report. Williams told the
panel that the Postal Service was “expecting a service bump” simply because on time “should mean better service” and
that the mail service did not use internal data to forecast improvements or declines in delivery times.

The report also contends DeJoy misinterpreted an inspector general’s study on transportation costs, then used that
document as the underpinning of his directives. DeJoy, in Senate testimony last month, said the study found $4 billion
in extra costs due to late and additional deliveries, and late dispatch times. But the inspector general’s report identifies
only $550 million in potential cost savings.

“Postmaster General DeJoy’s changes appear to have been focused on cost-cutting based on an inflated estimate, and
at a high cost to the American people in terms of delays,” Peters’s report said.
                                                                                                                               /
Those delays appeared especially pronounced in prescription medications according to another Senate report
Those delays appeared especially pronounced in prescription medications, according to another Senate report
published last week by Sens. Elizabeth Warren (D-Mass.) and Robert P. Casey Jr. (D-Pa.). Four prescription drug
providers told Warren and Casey that delivery times this summer have increased by half a day or more, on average,
compared with earlier this year or similar time frames in 2019, according to the report. Deliveries that might typically
take two or three days were instead taking three to four, the lawmakers said, and one pharmacy in particular saw a
“marked increase” in the number of shipping delays of seven or more days.

First-class mail delivery rates recovered some ground in the final week of August, up to 85 percent, but three of the
Postal Service’s seven geographic areas could not sustain those gains. On-time rates in the Southern, Western and
Capital Metro areas, which include parts of 30 states, all dropped in the first week of September.

Tony Romm contributed to this report.




                                                                                                                           /
Exh. A-14
Exh. A-14
Title          Eaton, Sabrina and Pelzer, Jeremy. “Dismantled equipment behind Cleveland
               Post Office raises delivery questions.” cleveland.com, 17 Aug. 2020.
URL            https://www.cleveland.com/open/2020/08/dismantled-equipment-behind-
               cleveland-post-office-raises-delivery-questions.html
“As the U.S. Postal Service has warned Ohio and other states that it may not be able to meet
mail-voting deadlines this November, the visibly idle equipment along with mail delays and
post office budget shortfalls have fueled fears that the upcoming election will be undermined.”
          Understand big stories through our local lens. Subscribe to cleveland.com.




   Ohio Politics


   Dismantled equipment behind Cleveland Post
   Office raises delivery questions
   Updated Aug 17, 2020; Posted Aug 17, 2020




Equipment that looks like mail sorting equipment sits in a lot behind the Cleveland main post office near downtown
Cleveland on Monday morning, Aug. 17, 2020. The equipment is near the northwest corner of the facility at 2400
Orange Ave. David Petkiewicz, cleveland.com



                                                              T    11,926                                            /
                                                                   shares
By Sabrina Eaton, cleveland.com and Jeremy Pelzer, cleveland.com


CLEVELAND - Equipment that appears to be dismantled mail sorting machines sits in
a lot behind Cleveland’s main post office.

As the U.S. Postal Service has warned Ohio and other states that it may not be able to
meet mail-voting deadlines this November, the visibly idle equipment along with mail
delays and post office budget shortfalls have fueled fears that the upcoming election
will be undermined.

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A U.S. Postal Service spokesperson on Monday assured cleveland.com the sidelined
equipment in Cleveland won’t affect the election.

“The machine was moved months ago and it’s just one that was used to process flats
(like magazines) which is a class of mail volume that has declined over the years,” said
USPS’ Naddia Dhalai. She said ballot mail is not included in the class of mail that was
sorted on that machine.

But Daleo Freeman, president of the Cleveland postal workers’ union, disputed that
explanation, saying that four additional sorting machines – all used to process
envelopes, not magazines – were also dismantled and left outside in the rain behind
Cleveland’s post office.

Freeman said all five of the sorting machines had been in use until a couple weeks ago.
When union officials asked why the equipment was taken offline, Freeman said, post-
office leaders initially said they didn't have the capacity to use the machines.

                                         Advertisement




                                                                                           /
But after Louis DeJoy was named postmaster general in mid-June by President Donald
Trump, post-office leaders announced the sorting machines would remain out of use
permanently, according to Freeman.

Right now, Freeman said, the removal of the sorting machines won’t affect service, as
the Cleveland post office’s remaining machines are able to handle the current amount
of mail.

But during periods of high volume – such as the Christmas season, or ahead of an
election – the missing machines will lead to service delays, he said.

Freeman said at this point, the machines are no longer usable. “They’re sitting out in
the parking lot and getting rained on,” he said.

Freeman said he believes the sorting machines were dismantled as part of a larger
effort by the Trump administration to reduce voter turnout this November by
hamstringing the postal service’s ability to handle mail-in ballots.

“What it seems is that we are people trying to undermine that and trying to go around
that and kind of suppress the vote,” Freeman said.

Trump’s assaults on mail-in balloting, even as he has requested an absentee ballot to
vote from his new residence in Florida, have raised questions over whether he’s
deliberately trying to sabotage an election that will likely have more mail-in ballots
than ever because of reluctance to vote in person during the coronavirus pandemic.

                                       Advertisement




                                                                                         /
In a news conference over the weekend, Trump said universal mail-in voting would be
“catastrophic. It’s going to make our country a laughingstock all over the world.”

“The ballots are lost, there’s fraud, there’s theft, it’s happening all over the place,” said
Trump. “Now we’re going to do it with this whole, vast, big section of the country? It’s
crazy.”

Orders by DeJoy to sideline sorting machines before the election added fuel to the fire.

A statement from American Federation of Government Employees National President
Everett Kelley said Trump “has made no secret about his desire to suppress voting in
the November 2020 election,” and called Trump’s “effort to raise doubts about the
U.S. Postal Service’s ability to deliver ballots cast by mail” an example of “how he
hopes to dissuade Americans from voting.”

“Postal Workers and Letter Carriers both say, unequivocally, that no matter how much
the administration tries to undermine trust in the postal system, the system remains
fully capable of delivering every single ballot cast by mail in a secure and timely
manner,” said Kelley. “The apparent slowdown in mail delivery occurring across the
country is hurting senior citizens, veterans, residents of rural areas, and everyone who
relies on mail delivery of prescription drugs, paychecks and benefit payments, rent,
and other bills. This slowdown must be stopped.”

On Sunday, House Speaker Nancy Pelosi said she’ll call the House of Representatives
into session this week to vote on a measure that would block the Postal Service from
implementing any changes to operations or level of service it had in place on Jan. 1,
2020.



                                                                                                /
“But it is not just the most populous counties that are harmed by your order,”
continued the letter Brown signed with U.S. House of Representatives members
Marcia Fudge of Warrensville Heights, Marcy Kaptur of Toledo, Tim Ryan of the Niles
area, and Joyce Beatty of Columbus. “In rural parts of Ohio, voters could be required
to travel up to an hour to reach the closest ballot drop box.

“Ohio’s primary this spring provided a number of valuable lessons for election
administrators and voting rights advocates to learn how to improve when and how we
will vote this fall,” the lawmakers said. “Unfortunately, very little has been done by way
of translating those lessons into concrete plans of action to safeguard November’s
election. The actions you take in the next month dictate what millions of Ohioans who
vote this fall will understand about the effectiveness and adaptability of its state
government, and whether or not it will have risen to the circumstances of the moment
or succumbed to being, at best, a cautionary tale for mismanagement.”

U.S. Sen. Rob Portman joined several other Ohio Republican members of Congress
including Anthony Gonzalez of Rocky River and Bob Gibbs of Holmes County in their
own Monday letter that asked DeJoy to coordinate with the state of Ohio to implement
procedures to ensure accurate and prompt delivery of election-related materials. The
letter urged him to work with LaRose “to implement procedures to protect Ohioans’
constitutional right to vote.”

It suggested that more mail processing occur in Ohio, that nightly all-clear inspections
of mail facilities be made to ensure all election-related materials are sent out, and that
local postal service representatives build relationships with county election boards
and establish election material intakes and drop-offs.

“These suggestions are based on the procedures that were implemented before the
Ohio Primary Elections that were held this past spring,” said the letter, which was also
signed by Bowling Green’s Bob Latta, Cincinnati’s Steve Chabot and Brad Wenstrup,
Marietta’s Bill Johnson, Dayton’s Mike Turner, Zanesville’s Troy Balderson, and
Columbus’ Steve Stivers. “We appreciate your full and fair consideration of this
request, consistent with applicable statutes and regulations, and look forward to
working with you to ensure any issues with the delivery of mail this fall do not impede
our constituents’ right to vote.”

Cleveland.com reporters Courtney Astolfi and Seth Richardson contributed to this
report.




                                                                                             /
“Alarmingly, across the nation, we see the devastating effects of the President’s
campaign to sabotage the election by manipulating the Postal Service to
disenfranchise voters,” said a statement from Pelosi. “Postmaster General Louis
DeJoy, one of the top Trump mega-donors, has proven a complicit crony as he
continues to push forward sweeping new operational changes that degrade postal
service, delay the mail, and – according to the Postal Service itself – threaten to deny
the ability of eligible Americans to cast their votes through the mail in the upcoming
elections in a timely fashion.”

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U.S. Sen. Sherrod Brown of Ohio told reporters on Monday that he believes the U.S.
Senate should also go back into session to pass a measure to assist the post office. He
said the postal service’s ability to efficiently deliver holiday mail shows it could handle
election mail it if had the proper resources. He argued that DeJoy should resign,
because “he’s a political hack who was a Trump megadonor who never worked at the
postal service.”

“How can the president say we can’t handle this many absentees or mail in voters yet
at the same time they’re taking away mailboxes, they’re taking away sorting
machines?” Brown asked.

Meanwhile, Brown joined other Northeast Ohio Democratic members of Congress in a
Monday letter that urged Ohio Secretary of State Frank LaRose to reconsider his
decision to bar local election boards from providing more than one secure drop box in
each county to collect completed absentee ballots. The letter observed that rural
Noble County – with fewer than 8,000 registered voters – would have as many secure
ballot boxes as Franklin and Cuyahoga counties – each with more than 850,000
registered voters.
                                                                                              /
Exh. A-15
Exh. A-15
Title            Torres, Ella. “Family says USPS lost veteran's remains.” ABC News, 22 Aug.
                 2020.
URL              https://abcnews.go.com/US/family-usps-lost-veterans-
                 remains/story?id=72540895
“The cremated remains of a U.S. Army veteran sent through the mail were delayed reaching
their final destination for days, according to the late veteran's family, and they say Postmaster
General Louis DeJoy is to blame.”
9/20/2020                                                Family says USPS lost veteran's remains - ABC News




            Family says USPS lost veteran's remains
            The Postal Service apologized for the delay, but said remains were not lost.

            By Ella Torres
            August 22, 2020, 9:58 PM • 3 min read




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                 
               1:24                                                                                          


              Family says USPS lost veteran’s remains due to cost-cutting
              A Connecticut woman said her veteran brother’s remains were lost for 12 days.


            The cremated remains of a U.S. Army veteran sent through the mail were
            delayed reaching their ﬁnal destination for days, according to the late
            veteran's family, and they say Postmaster General Louis DeJoy is to blame.




https://abcnews.go.com/US/family-usps-lost-veterans-remains/story?id=72540895                                     1/6
9/20/2020                                                Family says USPS lost veteran's remains - ABC News

            Army veteran Scott Egan died in July in St. Louis. His sister, Dr. Jean Egan,
            told New Haven, Connecticut, ABC aﬃliate WTNH that his remains were
            supposed to be delivered to their other sister in Maryland within two days
            of being shipped.

            However, she said the remains were lost for 12 days and the postal service
            has not provided a reason.

                   MORE: Facing grilling amid uproar, postmaster general insists election mail
                   will be delivered 'on time'


            "If Postmaster General DeJoy cannot do his duty to the American public,
            and military families like mine, that he should be removed from his post,"
            Egan, a resident of Connecticut, said at a press conference Friday alongside
            Sen. Richard Blumenthal, D-Conn.

            Egan said the remains eventually were delivered to her sister in Maryland,
            but the family is still looking for an explanation as to why the remains took
            almost two weeks to arrive.

            Blumenthal praised the postal worker in Maryland who delivered the
            remains, saying she "drove for two hours each way, with no overtime, to
            deliver those remains to Jean's sister."




https://abcnews.go.com/US/family-usps-lost-veterans-remains/story?id=72540895                                 2/6
9/20/2020                                                Family says USPS lost veteran's remains - ABC News




                                                                                                              LOG IN

                    Brendan Mcdermid/Reuters
             A mail carrier delivers mail in the Brooklyn, New York, Aug. 21, 2020.



            The U.S. Postal Service said in a statement to ABC News that they
            apologized for the delay, though the agency said the package was never
            lost.

            "The Postal Service apologizes to the family for the delay," according to the
            statement. "There was misdirection given at the point of mailing and we are
            working with our personnel around the state to, again, raise awareness in
            proper procedures for handling cremated remains."

            Egan said she has not received a formal apology from the Postal Service.

            DeJoy has come under ﬁre for allegedly making changes to the agency's
            operations to help boost President Donald Trump's reelection in November.
            DeJoy, a former logistics executive and longtime Republican ﬁnancier,
            faced lawmakers on Friday and called those allegations "outrageous."

            Editor's Note: This story has been updated to correct the timeline of what
            happened to the remains between Connecticut and Maryland. The spelling of



https://abcnews.go.com/US/family-usps-lost-veterans-remains/story?id=72540895                                          3/6
Exh. A-16
Exh. A-16
Title          Lapin, Tamar. “Federal judge blocks US Postal Service changes blamed for
               mail slowdown.” New York Post, 17 Sep. 2020.
URL            https://nypost.com/2020/09/17/federal-judge-blocks-us-postal-service-changes-
               blamed-for-mail-slowdown/
“A federal judge on Thursday blocked controversial changes within the US Postal Service that
have been blamed for a nationwide mail slowdown ahead of the November election, where a
record number of mail-in ballots are predicted.”
                                             NEWS

Federal judge blocks US Postal Service changes
blamed for mail slowdown
By Tamar Lapin

September 17, 2020 | 7:35pm




Photo by Theo Wargo/Getty Images
A federal judge on Thursday blocked controversial changes within the US Postal Service that
have been blamed for a nationwide mail slowdown ahead of the November election, where a
record number of mail-in ballots are predicted.

Judge Stanley Bastian in Yakima, Washington, said he would grant a request for a preliminary
injunction sought by 14 states that sued the Trump administration and the USPS.

“The states have demonstrated the defendants are involved in a politically motivated attack on
the efficiency of the Postal Service,” Bastian said.

“They have also demonstrated that this attack on the postal service is likely to irreparably harm
the states’ ability to administer the 2020 general election.”
The 14 states, led by Washington, feared that delays might result in voters not receiving ballots
or registration forms in time, as many more people are expected to vote by mail because of the
coronavirus pandemic.

They asked the court to immediately halt the USPS’ so-called “leave behind” policy, where
trucks have been taking off from facilities on time regardless of whether there’s more mail to
load.

The states also sought to force the agency to treat election mail as First Class mail; that mail-
sorting machines that were removed be replaced; and for the postal service to abide to
Postmaster General DeJoy’s promise to suspend the recent changes until after the election.

A lawyer for USPS and the other defendants, including President Trump and DeJoy, argued in
court that the agency is prepared to handle the mass of election mail and that delays from the
summer have subsided.
Exh. A-17
Exh. A-17
Title         Pre3sNewsAgency Staff. “How Well The Post Office Functions Could Make
              Or Break The 2020 Election,” Press News Agency, 15 Sep. 2020.
URL           https://pressnewsagency.org/how-well-the-post-office-functions-could-make-
              or-break-the-2020-election/
“As the 2020 election approaches, the new postmaster general, Louis DeJoy, has prioritized
budget cuts over getting people their mail on time. This could imperil voting by mail, which is
expected to happen at unprecedented levels during the COVID-19 pandemic.”
9/20/2020                                          How Well The Post Office Functions Could Make Or Break The 2020 Election | PressNewsAgency


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     Politics



    How Well The Post O ce Functions Could Make Or
    Break The 2020 Election
         By PressNewsAgency September 15, 2020




    In 2016, the voter registration deadlines in Florida, Georgia and South Carolina happened to
    fall around the same date that Hurricane Matthew, the first Category 5 storm to hit the
    Atlantic in almost a decade, was projected to make a catastrophic landfall.


    The Saturday before the hurricane was due to hit, Tammy Patrick’s phone rang. Ronald
    Stroman, No. 2 at the U.S. Postal Service, warned that local post offices would be closed
    during the storm and wanted to know if he should send postal carriers to Red Cross tents to
    postmark voter registration forms.


    “My god, there’s a hurricane coming and the deputy of the U.S. Postal Service is on top of
    when voter registration deadlines are,” Patrick, a senior adviser at the nonprofit Democracy
    Fund Voice, recalls thinking. “Under previous postmasters, the Postal Service literally moved
    mountains to make sure things got here on time. So when I say I’ve heard a change in
    tone, I’m talking about a fairly dramatic shift.”


    As the 2020 election approaches, the new postmaster general, Louis DeJoy, has prioritized
    budget cuts over getting people their mail on time. This could imperil voting by mail, which
    is expected to happen at unprecedented levels during the COVID-19 pandemic.

https://pressnewsagency.org/how-well-the-post-office-functions-could-make-or-break-the-2020-election/                                           1/5
9/20/2020                             How Well The Post Office Functions Could Make Or Break The 2020 Election | PressNewsAgency

    But for all the attention the public has paid to mail-in ballots, a well-functioning USPS is
    equally critical to voting in person.


    Because U.S. elections are so decentralized — with thousands of localized rules, deadlines,
    ballots and precincts — the post office, as a system that successfully connects the entire
    nation, is a singularly important part.


    The mail is how most voters receive official confirmation of their registration and notices
    about their polling places. The mail is how ballots get from the printer’s office to those
    polling places, and how those polling places are staffed. (Usually, the last steps to becoming
    a poll worker involve receiving an official appointment by mail and responding by mail.) The
    mail has to achieve all of this on time. Just one missed deadline in a chain of deadlines —
    for registration, notification, ballot delivery — can disenfranchise a voter.


    The mail, in other words, helps run U.S. elections. And there are fears that this year, it will
    fall down on the job.


    “This is the first time I’ve heard this tone around election mail,” said Patrick, who is an
    expert on best practices for voting by mail. “It’s a massive shift from the overall vision of,
    ‘the mail must go through’ to ‘the mail can wait.’ The mail can’t wait. For many voters, one
    day is too late.”


              UNDER PREVIOUS POSTMASTERS, THE POSTAL SERVICE
            LITERALLY MOVED MOUNTAINS TO MAKE SURE THINGS GOT
                                HERE ON TIME.
              TAMMY PATRICK, A SENIOR ADVISER AT THE NONPROFIT
                          DEMOCRACY FUND VOICE

    This summer, DeJoy exacerbated a massive slowdown in the mail by banning extra trips to
    deliver late mail and by implementing a confusing overtime policy that has left many mail-
    sorting facilities short-staffed and scrambling — all of which he justified by saying these
    actions would save the agency billions of dollars.


    The Postal Service’s head of elections sowed doubt about whether the post office would
    honor a longtime, informal arrangement to deliver absentee ballots to voters as fast as
    possible, no matter what postage rates states can afford to pay.


    The agency has since reassured states it would deliver election mail speedily and is
    assembling a task force to help states troubleshoot problems with voting by mail. But time
    is running out. Some states have already begun to mail ballots.


    To top it all off, President Donald Trump has said he opposes more funding for the Postal
    Service because “that means you can’t have universal mail-in voting,” something he clearly
    views as an impediment to his reelection. He has also encouraged his supporters to try to
    vote twice to test mail-in voting systems.




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    “For years, we’ve worked to establish an understanding at the agency of their role in
    delivering democracy for tens of millions of voters who have their ballot handed to them by
    a postal carrier and not a poll worker,” Patrick said.


    For that dedication to break down now could cause a disaster.


    Behind-The-Scenes Rescues
    All told, thousands of precincts across the country rely on millions of pieces of mail to arrive
    on time and to their proper destinations. During elections, some local post offices cease to
    be simply a link in the chain and come to more closely resemble an arm of the election.


    Amber McReynolds recalled how, in the 13 years she was the director of elections in Denver,
    postal carriers and election officials coordinated so that election workers were ready to start
    counting absentee ballots the minute the post office had sorted them; there was never a
    wasted moment.


    McReynolds remembered at least two occasions when Denver didn’t have money to pay the
    Postal Service — someone in city hall had simply forgotten to refill the postal account — and
    yet the post office sent out huge shipments of election mail anyway, so that it wouldn’t
    arrive late. Once, that involved postcards that told voters their polling places; another time,
    a giant booklet that explained Colorado and Denver’s ballot initiatives.


    “We had this amazing working relationship,” McReynolds said. “They knew our birthdays,
    and we brought them cookies.”


    It sounds silly, McReynolds conceded, but those relationships matter because local officials
    so rarely have all the resources they need to run elections smoothly. For example, right
    now, there are roughly 10,000 different post office accounts set up by countless local
    election officials to pay for official election mail. Congress could establish a single account
    for the entire country to use as it does for election mail being sent to the U.S. Military. But
    Congress hasn’t, and so sometimes, the system has to run on generosity.


    Patrick has seen her fair share of close calls, too.


    Over the years, the printing companies that make absentee ballots have regularly printed
    envelopes with the wrong barcodes, causing the USPS’s automatic sorting machines to send
    ballots to the wrong cities and counties. In most cases, she said, postal carriers have to
    step in and sort out the mess by hand.


           [THE USPS] MOVED FAST AND GOT IT DONE. THERE WERE
        STORIES OF LITERALLY 20,000 BALLOTS PULLING UP IN A TRUCK
               ON ELECTION DAY FROM THE POSTAL SERVICE.

    In the 2018 primary season, the Postal Service saved the day when a truck carrying pallets
    of absentee ballots bound for Provo, Utah, broke down out of state. The printer was
    trucking ballots into Utah instead of mailing them from its factory to save on postage. The


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    pallets showed up late on a Friday night, unmarked, and postal officials had to race around
    their sorting plant to identify the missing ballots and rush them out to voters.


    Within 24 hours, every vote-by-mail voter in Provo had their ballot.


    “It wasn’t even their truck. It was their customer trying to save money” at the Postal
    Service’s expense, said Patrick. “And yet it’s been that kind of commitment election officials
    have come to expect from the post office.”


    The USPS has already had to scramble to solve election crises created by the global
    pandemic. This April, COVID-19 sickened nearly 400 postal workers at three mail sorting
    facilities in Detroit and delayed thousands of primary ballots bound for voters in northwest
    Ohio. After election officials got wind, just a week before Ohio’s primary, the USPS raced
    truckloads of ballots to its Ohio sorting plants and assigned overtime and investigators to
    make extra sweeps for ballots that had been left behind.


    “They moved fast and got it done,” said someone involved in the election. “There were
    stories, particularly in big counties, of literally 20,000 ballots pulling up in a truck on
    Election Day from the Postal Service.”


    But some officials who were instrumental in solving the problem no longer work at the
    agency or have been sidelined. One was David E. Williams, who was reportedly swept out of
    day-to-day operations in August when DeJoy gave the agency a leadership shakeup.
    Another was Stroman, the former second-in-command at USPS who offered to send postal
    carriers to hurricane shelters; he resigned in May.




    REUTERS/Andrew Kelly




    A USPS employee works in the rain in Manhattan during the outbreak of the coronavirus in
    New York City on April 13, 2020.
    The post office does not always perform perfectly in a crisis. This spring, in New York, state
    officials abruptly relaxed the rules for voting absentee, leading to a more than eightfold
    jump in absentee voters compared to the 2016 primary — 1.2 million versus 157,000 — for
    which few were prepared.


    Hundreds of voters may have received ballots too late to vote. At a post office in Brooklyn,
    workers failed to place a dated postmark on thousands of ballots, causing the New York City
    Board of Elections to declare about 12,500 ballots invalid (for votes to count, they had to be
    postmarked on or before Election Day). Two congressional races went undecided for six
    weeks.


    Even this debacle, though, was not the incontrovertible failure of the mail that skeptics
    made it out to be. (A Wall Street Journal editorial approvingly quoted state officials who
    blamed the Postal Service and warned that November may bring “a mail-vote debacle the
    country might come to regret.”)

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    The delay in getting ballots to voters had a lot to do with the fact that the deadline to
    request an absentee ballot was too close to Election Day. The night before the primary, New
    York City elections officials dropped 30,000 blank ballots in the mail. The post office raced
    them out the door and assigned workers to postmark by hand the thousands of completed
    ballots that would be arriving at the last minute.


    As for the ballots from Brooklyn that were missing postmarks, a federal judge later ruled
    that the state must count most of them. Because 97% of those ballots arrived at the Board
    of Elections within two days of the primary, the judge reasoned, it was a fact that they had
    been mailed on or before Election Day. In other words, the Postal Service had still
    performed its core function — delivering the mail — with enough reliability to make up for a
    cascade of other problems.


    Postal officials have promised to be just as dedicated in the general election.


    “We’re still going to do those things that we’ve done, to try everything we can, when we
    have a rescue situation, to make that rescue happen. We are completely committed to
    doing these things,” Justin Glass, the director of the USPS’s election mail operations, said at
    a recent panel on the coming election. “Our employees take pride in delivering for boards of
    elections when we have those issues, and those things are going to continue.”


    The agency’s ability to assign overtime, he added, has not really been cut. “But what we’re
    looking at is, it’s gotta be smart. We gotta have smart overtime.”


    Voting rights advocates say the post office has started working more closely with election
    officials to prepare for November, leaving them more reassured. But they still find
    themselves on high alert and wondering if the agency has assigned enough staff, behind the
    scenes, for the task ahead.


    “It’s something we’re watching very closely, those of us that have worked in this space for a
    long time,” said McReynolds. “What is the post office’s plan to support election officials?”


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    Source link



     TAGS    2020 election   mail-in voting   post o   ce   United States Postal Service   voting




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Exh. A-18
Exh. A-18
Title           Scripps National. “Many not confident ballot will be counted accurately if they
                vote by mail, poll shows.” News 5 Cleveland, 15 Sep. 2020.
URL             https://www.news5cleveland.com/news/election-2020/many-not-confident-
                ballot-will-be-counted-accurately-if-they-vote-by-mail-polls-shows
“Just over 3 in 10 people say they're very confident their vote will be counted accurately if
they vote by mail. Nearly 7 in 10 say the same thing about voting in person on Election Day.
That's according to a new poll from the University of Maryland and The Washington Post.”
ELECTION 2020


Many not confident ballot will be counted accurately if
they vote by mail, poll shows
By: Scripps National
Posted at 4:02 PM, Sep 15, 2020

and last updated 5:29 PM, Sep 15, 2020



Support is growing for early voting, but there's still a lot of distrust for
voting by mail.

Just over 3 in 10 people say they're very confident their vote will be
counted accurately if they vote by mail. Nearly 7 in 10 say the same thing
about voting in person on Election Day. That's according to a new poll
from the University of Maryland and The Washington Post.

There's a big racial disparity in perceptions about election integrity.
About 71% of Black Americans in the poll say it’s easier for white
Americans to vote, while only 34% of white Americans believe that's the
case.

“There's a historic trend of distrust in government amongst racial and
ethnic minorities,” said Jonathan Collins, education and political science
assistant professor at Brown University. “And instances like this during
the need to transition to mail-in voting. This is where that distrust really
kind of rears its head.

Collins studies ethnic minority political behavior. He says campaigns
from state attorneys would be helpful to reassure people their mail-in
ballots will be counted properly.
The U.S. Postal Service is trying to educate people on its role in the mail-
in voting process with TV ads. It says the nonpartisan campaign neither
encourages nor discourages mail-in voting.

Collins expects a lot of African Americans are still going to prefer in-
person voting.

“There is this sense of pride that you get from showing up to your
precinct, to your polling station on Election Day and in-person casing
your vote. There's a pride of wearing the 'I voted' sticker around for your
friends and our family and your coworkers to see. How do we replicate
that feeling of pride?”

About 6 in 10 registered voters nationwide say they want to cast their
ballot before Election Day. Compare that to 2016, when about 4 in 10
people cast ballots early.

For mail-in voters worried about their vote not counting, many states
allow residents to track their ballot. NBC News reports that all states
allow this, except for the following: Connecticut, Hawaii, Illinois,
Indiana, Maine, Mississippi, Missouri, New Mexico, and New York.

Also, many states allow mail-in voters to submit their ballots at
designation drop-off boxes, if they don't want to trust the USPS.
Exh. A-19
Exh. A-19
Title            Naylor, Brian. “Pending Postal Service Changes Could Delay Mail And
                 Deliveries, Advocates Warn.” NPR, 29 Jul 2020.
URL              https://www.npr.org/2020/07/29/894799516/pending-postal-service-changes-
                 could-delay-mail-and-deliveries-advocates-warn
"If they're talking about delaying mail, if they're talking about sending letter carriers out to the
street, even if the truck is late, that means there's a lot of first-class mail that's going to be left
on the workroom floor. And there's an almost cavalier attitude about this," Philip Rubio, a
history professor at North Carolina A&T State University and a former letter carrier said.
Pending Postal Service Changes Could Delay Mail And Deliveries, Advo...        https://www.npr.org/2020/07/29/894799516/pending-postal-service-chan...




           Letter carrier Henrietta Dixon, a nearly 30-year veteran, sorts mail to be delivered before she sets out on her route in
           Philadelphia in May. Changes within the U.S. Postal Service could make some deliveries late.
           Matt Rourke/AP




1 of 17                                                                                                                               9/20/2020, 9:18 PM
Pending Postal Service Changes Could Delay Mail And Deliveries, Advo...   https://www.npr.org/2020/07/29/894799516/pending-postal-service-chan...



           On his first day on the job last month, new Postmaster General Louis DeJoy addressed
           the nearly half-million U.S. Postal Service career employees in a video message.

           He talked of a "trajectory for success" and said that "we will focus on creating a viable
           operating model that ensures the Postal Service continues fulfilling its public service
           mission."

           That message has since been followed by a number of directives and orders that
           prompt some to wonder just what DeJoy has in mind for the agency, which dates back
           to the nation's earliest days.

           DeJoy, the nation's 75th postmaster general — a line that stretches back to Benjamin
           Franklin — is a major donor to President Trump and other Republicans. He previously
           headed a North Carolina-based logistics company.




           Managers have told postal workers that under DeJoy, the post office is about to
           embark on what's been called a long-overdue "operational pivot." It means that among
           other things, late-arriving mail will now be left behind by carriers and delivered the
           next day. Overtime will be eliminated.

           Those moves upset some workers, who take seriously the unofficial motto of the Postal
           Service that holds: "Neither snow nor rain nor heat nor gloom of night stays these
           couriers from the swift completion of their appointed rounds" — a phrase from the
           Greek historian Herodotus chiseled into the granite of New York City's general post
           office.

           "There seems to be a sea change here," says Philip Rubio, a history professor at North
           Carolina A&T State University and a former letter carrier. Rubio says DeJoy seems
           intent on making the Postal Service more of a business than a service.




2 of 17                                                                                                                      9/20/2020, 9:18 PM
Pending Postal Service Changes Could Delay Mail And Deliveries, Advo...   https://www.npr.org/2020/07/29/894799516/pending-postal-service-chan...




           "If they're talking about delaying mail, if they're talking about sending letter carriers
           out to the street, even if the truck is late, that means there's a lot of first-class mail
           that's going to be left on the workroom floor. And there's an almost cavalier attitude
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3 of 17                                                                                                                      9/20/2020, 9:18 PM
Pending Postal Service Changes Could Delay Mail And Deliveries, Advo...     https://www.npr.org/2020/07/29/894799516/pending-postal-service-chan...




           Louis DeJoy, pictured in 2017, became the nation's 75th postmaster general last month. DeJoy's plans for the Postal
           Service have generated controversy.
           Kim Walker/AP




           Agency in difficulty

           The Postal Service, which doesn't receive any tax dollars for its operating expenses,
           has longstanding financial issues.

           It reported a loss of nearly $9 billion last year. Some of that is due to a congressional
           mandate that the post office prepay the health care costs of retirees. Some of it is due
           to a years-long decline in the volume of first-class mail.

           The coronavirus pandemic has also meant a reduction in some mail. But it also meant
           an increase in package shipping as people shop online from their homes. That has
           postponed an imminent cash crisis the Postal Service had predicted might strike
           earlier this summer.




           Trump has frequently criticized the Postal Service, charging that it gives favorable
           deals to online retailers such as Amazon, whose CEO, Jeff Bezos, also owns The
           Washington Post, another target of Trump's ire.

           Actually, a government study found, e-commerce package deliveries are profitable for
           the Postal Service — although not sufficient to offset the decline in other types of mail.

           Now, shippers who use the Postal Service aren't certain what the changes DeJoy is
           implementing will mean for their businesses.

           Art Sackler is manager of the Coalition for a 21st Century Postal Service, a group of
           companies that rely on the post office, including Amazon, Hallmark and others.



4 of 17                                                                                                                          9/20/2020, 9:18 PM
Pending Postal Service Changes Could Delay Mail And Deliveries, Advo...     https://www.npr.org/2020/07/29/894799516/pending-postal-service-chan...




           "Having a potentially material change," Sackler says, "without any kind of consultation
           is a disappointment and hopefully was just, you know, a mistake or a mix-up."

           Sackler says that "it looks as if what they're proposing has the potential to delay mail,"
           and that the delayed mail will accumulate.

           The unions representing Postal Service employees say they haven't met with DeJoy or
           been consulted about the changes either.

           Postal Service vs. "postal business"




           Donna DeWitt at work at the U.S. post office for Isle au Haut, Maine, where she serves about 70 customers. Advocates
           worry about losing the service in becoming a business.




5 of 17                                                                                                                           9/20/2020, 9:18 PM
Pending Postal Service Changes Could Delay Mail And Deliveries, Advo...   https://www.npr.org/2020/07/29/894799516/pending-postal-service-chan...


           Robert F. Bukaty/AP




           Mark Dimondstein, president of the 200,000-member American Postal Workers
           Union, says the union is "absolutely opposed to any policies that just slow down the
           mail in the name of whatever the name is — cost cutting. In this case, it's about
           service. It's not the 'United States postal business.' It's the United States Postal
           Service."

           Dimondstein says the changes could have real-world consequences, including, he says,
           delays in delivering medicine, census forms — and even mail-in ballots, adding the
           notion of leaving mail behind "runs counter to everything" postal workers believe.

           One postal worker, who asked not to be identified because the person was not
           authorized to speak publicly, told NPR of a pharmaceutical company that had
           complained of delays in picking up its outgoing shipments.




           "I am sick to my stomach," the worker said. "How can the United States Postal Service
           deny the pickup of outgoing mail for any customer — let alone a pharmaceutical
           company that is mailing medication?"

           This worker said the Postal Service used to take pride that every piece of mail went out
           by the end of the day. Now, the worker says, that's changed, adding: "It's crazy."

           For its part, the Postal Service says it is developing a business plan "to ensure that we
           will be financially stable and able to continue to provide dependable, affordable, safe
           and secure delivery of mail and packages to all Americans as a vital part of the nation's
           critical infrastructure."

           In addition, the Postal Service says that "by running operations on time and on
           schedule, we will enhance our ability to be sustainable so that we can continue to



6 of 17                                                                                                                      9/20/2020, 9:18 PM
Exh. A-20
Exh. A-20
Title          Failure to Deliver: Harm Caused By U.S. Postmaster General DeJoy’s Changes
               to Postal Service Mail Delivery: A U.S. Senate Committee on Homeland
               Security & Governmental Affairs Minority Staff Report (U.S. Senator Gary
               Peters, Ranking Member) 16 Sep. 2020
URL            https://www.postal-reporter.com/blog/usps-changes-led-to-85-million-late-
               deliveries-in-a-single-week-senate-democrats-investigation-finds/
Serious mail delivery delays as a result of changes made by Postmaster General DeJoy to the
USPS.
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                                                                     i
                                         EXECUTIVE SUMMARY

In July 2020, U.S. Postmaster General Louis DeJoy, who had been serving as Postmaster
General for less than one month, directed widespread changes to United States Postal Service
(USPS) operations                                                             included the
elimination of extra and late mail transportation trips, the reduction of equipment at mail
processing plants, the start of a pilot program for mail sorting and delivery policies at hundreds
of post offices, and reported reductions of overtime. Within weeks, these changes significantly
slowed mail delivery across the entire country and, as Senator Peters wrote to Postmaster
General DeJoy                                       compromised service for veterans, small
businesses, rural communities, seniors, and millions of Americans who rely on the mail for
medicines, essential goods, voting, correspondence, and for their livelihoods. 1

On August 6, 2020, U.S. Senator Gary Peters, Ranking Member of the Senate Committee on
Homeland Security and Governmental Affairs, launched an investigation into the Postal Service
delays resulting from operational changes directed by Postmaster General DeJoy. As part of his
investigation, Senator Peters invited the public to provide information about their recent
experiences. He received over 7,700 submissions from Postal Service employees, constituents,
and individuals across the country sharing concerns about the impacts of these changes. Senator
Peters also repeatedly requested information from the Postal Service regarding these changes,
and called on Postmaster General DeJoy to address conflicting prior statements and remaining
unanswered questions when he testified before the Senate Homeland Security and Governmental
Affairs Committee on August 21, 2020.

At the direction of Ranking Member Peters, this report evaluates the extent of the harm caused
                                               reliability of claims made about who ordered these
changes and how and why they were made, and the extent of service delays as a result of these
changes. This report al
its responses to public concerns about readiness for high volumes of election mail in 2020.

This report finds that on-time mail delivery dropped abruptly throughout the U.S., following
                                   2020 directives. By the second week of August 2020, on-time
delivery of First-Class mail nationwide had fallen nearly 10 percentage points compared to the
first week of July 2020                                      s changes a drop that represents
approximately 85 million more late deliveries in that single week than would have otherwise
occurred.2 Widespread delays have continued over the two months since the changes began.
Although service has shown some improvement by the beginning of September 2020, on-time
delivery rates remain below the levels of the weeks prior to the beginning of Postmaster General
         tenure.

        1
           Letter from Ranking Member Gary C. Peters, to Louis DeJoy, Postmaster General and Chief Executive
Officer, U.S. Postal Service (July 17, 2020); Letter from Ranking Member Gary C. Peters et al. to Louis DeJoy,
Postmaster General and Chief Executive Officer, U.S. Postal Service (July 30, 2020); United States Senate
Committee on Homeland Security & Governmental Affairs, Ranking Member Peters Minority Report, Interim
                                                                            (Aug. 21, 2020).
         2
           Estimate based on USPS First-Class mail volume data (4.15 billion pieces of First-Class mail in July
                                                                 (copy on file with Committee) and staff analysis of
USPS Weekly Service Performance data (copy on file with Committee).


                                                         1
In addition, this report finds that Postmaster General DeJoy failed to consider the likely service
impacts of the transportation changes he ordered in July 2020. Postmaster General DeJoy did not
conduct any analysis of the service disruptions and delays his directives could cause. He moved
to abruptly and dramatically cut late and extra trips from processing centers, without addressing
underlying factors, despite available information on likely negative impacts. As a result, this
report finds that delays were more severe. While he has since admitted to ordering the July 2020
mail transportation changes, Postmaster General DeJoy initially refused to acknowledge his role,
has denied playing a role in other changes reported by postal workers and constituents, and has
continued to minimize the magnitude of the service problems and the impacts these changes have
had on millions of Americans across the country. 3




        3
           Letter from David E. Williams, Chief Operating Officer and Executive Vice President, U.S. Postal
Service, to Ranking Member Gary C. Peters et al. (Aug. 6, 2020); Letter from Thomas J. Marshall, General Counsel
and Executive Vice President, U.S. Postal Service, to Ranking Member Gary C. Peters (July 22, 2020).


                                                       2
                                     FINDINGS OF FACT


1. Changes directed by Postmaster General DeJoy slowed mail service across the country.
   On-time mail delivery fell abruptly following Postmaster General            July 2020
   directives ordering operational changes to mail service and delivery. By the second week of
   August 2020, on-time delivery of First-Class mail nationwide had fallen nearly 10 percentage
   points compared to the week preceding the changes. This means approximately 85 million
   more deliveries were late in a single week, compared to what the late deliveries would have
   been that week under on-time delivery rates before the changes.

2. Some parts of the country saw on-time delivery drop by 15-20 percentage points in the
   weeks following Postmaster General                     2020 changes. Every one of the Postal
   Serv      67 Districts across the country saw a decline in on-time delivery of First-Class mail
   during the weeks following Postmaster General D
   Pennsylvania, Northern Ohio, the Ohio Valley, Detroit, and Honolulu, on-time delivery of
   First Class mail fell by 15-20 percentage points over the four-week period starting on July
   11, 2020, compared to the four-week                                                         In
   the Detroit District, on-time delivery fell from 84.8 percent to 65.7 percent during this
   period, a 19.1 percentage point drop.

3. Postmaster General DeJoy was not transparent about the operational changes he
   directed and has downplayed their damaging effects on seniors, veterans, small
   businesses, and others across the country. Within one month of beginning his tenure as
   Postmaster General on June 15, 2020, Louis DeJoy directed significant changes to Postal
   Service operations but initially declined to acknowledge his role in these changes. He has
   since failed to fully acknowledge severe and widespread delays even after they were apparent
   for weeks, and the impact of these delays, including on delivery of needed medicine, or for
   shipping, payments, and other vital services for small businesses and the public.

4. Postmaster General DeJoy failed to consider the likely service impacts of the
   transportation changes he ordered in July. Mr. DeJoy moved to dramatically cut late and
   extra trips from processing centers, but did not assess or even request any analysis of the
   service disruptions and delays his directives could cause. From July 5 19, 2020, the Postal
   Service cut the number of weekly extra trips from approximately 15,000 to under 5,000, and
   cut weekly late trips from over 30,000 to under 8,000. These actions disregarded the likely
   negative impacts of displacing the mail carried on those trips, as well as the findings of a
   previously released Inspector General report that extra and late trips are used to mitigate
   delays in the network and that USPS should address the underlying causes of delays.

5. Nearly two months after Postmaster General DeJoy mandated operational changes, on-
   time delivery has still not fully rebounded. While there has been improvement following
   the steep drop in July, as of September 4, 2020, nationwide on-time delivery of First-Class
                                                                              s arrival. During
   the week of August 29 September 4, 2020, on-time delivery began declining again in many
   parts of the country.



                                                3
6. Accounts from USPS workers contradict Postmaster General
   the status of certain operational changes, including limitations on overtime and the
   Postal Service has still not answered questions about these conflicting reports.
   Postmaster General DeJoy has repeatedly denied making changes to USPS overtime policies.
   However, information and accounts from employees across the country contradict these
   claims. The Postal Service has not provided any explanation for these discrepancies.

7. The Postal Service has robust procedures to swiftly move election mail, but it remains
   to be seen whether these procedures will be followed. The Postal Service has provided its
   election mail procedures in documents to the Committee and made public commitments to
   follow these procedures as well as unwritten practices including moving election mail by
   the First-Class service standard. However, the Postal Service has not consistently followed its
   election mail procedures during the 2020 election cycle, and further significant delays and
   backups would jeopardize its ability to do so. The Postal Service has responded to
   congressional pressure by putting a greater focus on election mail, but additional oversight
   will be necessary to determine whether USPS will meet its stated objectives.




                                                4
                                    RECOMMENDATIONS

1. The Postmaster General should cease and reverse actions that are causing mail delays.
   The Postmaster General failed to analyze the impact of his actions on mail delivery for
   Americans. Postmaster General DeJoy should halt all changes and practices that continue to
   cause mail delays for Americans. If the Postmaster General does not halt such changes, the
   Board of Governors must use its authority to do so.

2. Congress should pass the Delivering for America Act, which Senator Peters has
   introduced to prevent the Postmaster General from making any further changes that
   could harm service during the COVID-19 pandemic. Americans count on reliable service
   from the Postal Service, particularly during this public health crisis. Making any big changes
   at th
   Delivering for America Act would prohibit the Postmaster General and USPS leadership from
   implementing any changes that would disrupt operations and services during the COVID-19
   public health emergency, including:

           Any change that would prevent the Postal Service from meeting its service standards
           or cause a decline in service performance.
           Any change that would have the effect of delaying mail, allowing for the non-delivery
           of mail to a delivery route, or increasing the volume of undelivered mail.
           Any closure, consolidation, or reduction of hours of a post office or facility.
           Any prohibition on payment of overtime to Postal Service officers or employees.
           Any removal, decommissioning, or other stoppage of mail sorting machines, other
           than for routine maintenance.

3. The Postal Service should follow policies and practices for swiftly delivering election
   mail, including treating all election mail as First-Class mail. Postmaster General DeJoy
   must follow through on his promises to follow all election mail procedures. The Postmaster
   General and Board must ensure the Postal Service continues to strictly follow its practice of
   treating election mail as First-Class mail, delivering it using the highest service standard. The
   Postal Service must also carry out proper procedures to ensure mail is swiftly processed and
   not lost. This requires that leadership first eliminate any changes that are causing backups
   and delays.

4. The Postal Service should consult with Congress and stakeholders before enacting any
   future changes.                                changes, portrayed as a necessary approach to
   cost-cutting at the Postal Service, without regard to the chaos it has caused for Americans,

   operational changes in the future, the Postmaster General must conduct robust analysis,
   consult with stakeholders, follow all laws pertaining to Postal Regulatory Commission input
   and public consultation, and ensure there are no negative effects on mail service. Postmaster
   General DeJoy and the Board, who are currently formulating a 10-year plan for the Postal
                                                 ake the approach of cutting services to pad the
   bottom line. They must engage with stakeholders, Congress, and the American people about
   the future of the Postal Service, which belongs to the people.



                                                 5
                                              BACKGROUND

The U.S. Postal Service is an independent establishment of the executive branch, obligated to

                                                                                                            4

Founded in 1775 as the Post Office Department of the United States, it has served Americans for
over 245 years. The Postal Service delivers to every household and business in the United States,
approximately 160 million delivery points, six days a week. 5 It processes 48
mail and is central to the $1.6 trillion mailing industry, which employs over 7.3 million people in
this country. 6 It consistently has the highest approval rating of any federal agency in nonpartisan
opinion polls. 7 Over 630,000 postal employees serve their neighbors daily, delivering crucial
goods and correspondence. 8

Financial Challenges

The Postal Service has faced significant financial challenges over the last decade, with losses
driven by gradual shifts in the mail market, as well as unsustainable financial obligations
imposed by Congress, particularly the unique requirement to prefund retiree health benefits.
First-Class mail volume has declined by 3-5% annually in recent years,9 while packages have
grown substantially from 11% of USPS revenue to over 30%, as the Postal Service increasingly
competes in the e-commerce market.10 The Postal Accountability and Enhancement Act of 2006
imposed a burdensome mandate on the Postal Service to prefund future retiree health benefits for
all current employees on an aggressive schedule over 10 years by depositing approximately $5.4
billion annually in an on-budget fund.11 The prefunding mandate, which has not been imposed on
any other private sector company or agency, drove the Postal Service into mounting levels of
debt and prevented it from making key investments. It remains a key driver of the Postal
                                                                                                       12




        4
            39 U.S.C. § 101.
        5
            U.S. Postal Service, FY2019 Annual Report to Congress (Dec. 8, 2019).
          6
            U.S. Postal Service, Postal Facts (https://facts.usps.com/size-and-scope) (accessed Sept. 13, 2020).
          7
            Postal Service Still Americans' Favorite Federal Agency, Gallup (May 13, 2019)
(https://news.gallup.com/poll/257510/postal-service-americans-favorite-federal-agency.aspx).
          8
            U.S. Postal Service, 2019 Report on Form 10-K (Nov. 14, 2019)
(https://about.usps.com/what/financials/10k-reports/fy2019.pdf).
          9
            U.S. Postal Service, 2019 Report on Form 10-K (Nov. 14, 2019)
(https://about.usps.com/what/financials/10k-reports/fy2019.pdf); U.S. Postal Service, First-Class Mail Volume Since
1926 (Number of Pieces Mailed, to the Nearest Million) (https://about.usps.com/who-we-are/postal-history/first-
class-mail-since-1926.htm).
          10
             U.S. Postal Regulatory Commission, Fiscal Year 2017 Financial Analysis of United States Postal Service
Financial Results and 10-K Statement (Apr. 5, 2018)
(https://www.prc.gov/docs/104/104498/PRC%20FY2017%20FINANCIAL%20REPORT%20FINAL.pdf).
          11
             U.S. Postal Service Office of Inspector General, Federal Budget Treatment of the Postal Service (Aug.
27, 2009) (https://www.uspsoig.gov/sites/default/files/document-library-files/2015/ESS-WP-09-001.pdf).
          12
             U.S. Postal Service, 2019 Report on Form 10-K (Nov. 14, 2019)
(https://about.usps.com/what/financials/10k-reports/fy2019.pdf).


                                                        6
Impact of the COVID-19 Pandemic

The Coronavirus pandemic and resulting economic crisis accelerated Postal Service losses and
dealt a serious financial blow to this critical agency, like many other organizations. The Postal
Service is facing significant mail volume and revenue losses due to the pandemic, as well as
additional costs including personal protective equipment (PPE), cleaning, and necessary sick
leave. In April 2020, the Postal Service predicted it would lose over $22 billion over the
following 18 months and a total of $54 billion over 10 years due to the pandemic and economic
crisis, and requested $75 billion in financial relief from Congress. 13 In June, the Postal Service
revised these projections due to a temporary surge in package volumes, but still predicted over
$52 billion in medium-term revenue losses and costs connected to COVID-19 and over $22
billion in revenue losses and costs through FY22 under an extended recovery. 14

Postal Service employees have served as essential workers during the pandemic, providing
critical mail to Americans every day. They have also suffered from illness and taken necessary
sick and family leave. The Postal Service has struggled with significant national and
international market and transportation disruptions during the pandemic, as well as high rates of
employee illness and workforce shortages in some areas. 15 These challenges have in some cases
created service disruptions, but the Postal Service has worked hard to maintain reliable service,
prior to the steep decline in service performance caused by Postmaster General DeJoy.

Selection of Postmaster General DeJoy

The Postmaster General is the head of the USPS, and is appointed by the Postal Service Board of
Governors. On October 16, 2019, Megan Brennan who had served as Postmaster General since
February 2015 announced that she would retire in early 2020.16 After a lengthy search process,
                                                                 th
the Board of G                                                      Postmaster General, and he
was sworn in on June 15, 2020. 17



Ethics/conflicts concerns


potential conflicts of interest and allegations of politically-motivated decisions. In September


         13
            U.S. Postal Service, Briefing with Senate Committee on Homeland Security and Governmental Affairs
and House Committee on Oversight and Reform Staff (Apr. 10, 2020). See also House Committee on Oversight and
Reform: Postmaster General Warns Committee of Dire Consequences Without Congressional Action (Apr. 9, 2020).
         14
            U.S. Postal Service, Briefing with Senate Committee on Homeland Security and Governmental Affairs
and House Committee on Oversight and Reform Staff (June 18, 2020).
         15
            Pandemic Response Accountability Committee, Top Challenges Facing Federal Agencies: COVID-19
Emergency Relief and Response Efforts (June 2020) (https://www.oversight.gov/sites/default/files/oig-
reports/Top%20Challenges%20Facing%20Federal%20Agencies%20-%20COVID-
19%20Emergency%20Relief%20and%20Response%20Efforts_1.pdf).
         16
            United States Postal Service Announces Retirement of Postmaster General Megan J. Brennan, PR
Newswire (Oct. 16, 2019) (https://www.prnewswire.com/news-releases/united-states-postal-service-announces-
retirement-of-postmaster-general-megan-j-brennan-300939877.html).
         17
            U.S. Postal Service: Board of Governors Announces Selection of Louis DeJoy to Serve as Na
Postmaster General (May 6, 2020).


                                                     7
2020, new allegations surfaced claiming DeJoy violated campaign finance laws by reimbursing
his employees for donations made to Republican candidates. 18

I.      SINCE BECOMING POSTMASTER GENERAL, DEJOY HAS FAILED TO BE
        TRANSPARENT ABOUT HIS ACTIONS AND THEIR IMPACTS ON MAIL
        SERVICE

             A. The Postal Service has given misleading and incomplete responses to
                questions about recent operational changes

Reported Changes Prompted Concerns and Questions (mid-July)

One month after Postmaster General DeJoy was sworn in as Postmaster General, multiple news
outlets reported that he had directed several sweeping changes to Postal Service operations. 19
Reported changes included the elimination of extra mail transportation trips, the reduction of
overtime, the start of a pilot program for mail sorting and delivery policies at hundreds of post
offices, and the reduction of equipment at mail processing plants. As detailed below, these
changes had an immediate and negative impact on mail delivery across the country. See Figure
1.




Two documents that appeared to be official Postal Service materials were released by news
outlets on July 14, 2020.20

        18
             Postal chief DeJoy under fire over alleged campaign-finance violations, AP News (Sept. 8, 2020)
(https://apnews.com/b05eb0c7f595de99adcffeed8f7f17f4).
          19
             Alliance of Nonprofit Mailers, Leaked USPS PowerPoint indicates PMG DeJoy focus on getting
operating costs under control (July 14, 2020) (https://www.nonprofitmailers.org/leaked-usps-powerpoint-indicates-
pmg-dejoy-focus-on-getting-operating-costs-under-control); Internal USPS document tells employees to leave mail
at distribution centers, Washington Post (July 14, 2020) (https://www.washingtonpost.com/context/internal-usps-
document-tells-employees-to-leave-mail-at-distribution-centers/175dd1ae-e202-4777-877c-33442338d1cc).
          20
             Id.


                                                        8
  A                      -                              dated July 10, 2020 described
  immediate changes to transportation operations aimed at eliminating late and extra trips
  by mail trucks. See Figure 2.


Figure 2




                                          9
        A presentation (undated) published on July 14, 2020 titled
                                                                                          s that if the mail

               See Figure 3.




Many postal workers, experts, and other stakeholders expressed concern that these changes
implemented during an ongoing pandemic would cause significant delays and disrupt service
for the millions of Americans who rely on the mail every day. 21

When asked about the reported changes, the Postal Service initially provided misleading and
incomplete responses and only acknowledged
inquiries by Senator Peters

    July 17, 2020 Senator Peters wrote to Postmaster General DeJoy and asked him to explain
    the recently published documents indicating that USPS was undertaking operational changes.
    Senator Peters asked DeJoy to explain these documents and provide a list of every change
    being implementing nationwide, with a justification for each. 22

    July 22, 2020 The USPS General Counsel, Thomas Marshall, responded
    letter,
    documents should not be treated as official statements of Postal Service policy,



        21
           See Id.
        22
           Letter from Ranking Member Gary C. Peters, to Louis DeJoy, Postmaster General and Chief Executive
Officer, U.S. Postal Service (July 17, 2020).


                                                     10
    did not detail the nationwide initiative on extra and late trips, nor did it answer the request for
    a full explanation of nationwide changes. 23

    July 30, 2020 Senator Peters wrote to Postmaster General DeJoy again seeking a full
    explanation of these changes. 24

    August 6, 2020        USPS Chief Operating Officer, David E. Williams responded to Senator

                                                                                       processing and
                                                                                                           2020,

    of these initiatives or what, if any, analysis the Postal Service conducted of potential service
    impacts.25

    August 18, 2020 After first speaking with and formally requesting that Homeland Security
    and Governmental Affairs Committee Chairman Ron Johnson hold a hearing on these
    concerns, Ranking Member Peters secured a Senate oversight hearing with Postmaster
    General DeJoy to be held on August 21, 2020.26 Just hours after this hearing was announced,
    Postmaster General DeJoy announced he would pause certain actions that had caused
    concern, including machine removals, but did not reverse all of the operational changes he
    initially ordered.27

    August 21, 2020 Postmaster General DeJoy testified at a hearing before the Senate
    Committee on Homeland Security and Governmental Affairs. He admitted that his changes,
    particularly elimination of extra mail trips, have resulted in delays but continued to downplay
    the extent and impact of those delays. 28

            B.                                                                                about
                 Operational Changes

While Postmaster General DeJoy eventually acknowledged that he directed some changes to
Postal Service operations, he has continued to deny other changes, including limitations on
overtime, and has argued that some changes were being undertaken pursuant to pre-existing


          23
             Letter from Thomas J. Marshall, General Counsel and Executive Vice President, U.S. Postal Service, to
Ranking Member Gary C. Peters (July 22, 2020).
          24
             Letter from Ranking Member Gary C. Peters et al. to Louis DeJoy, Postmaster General and Chief
Executive Officer, U.S. Postal Service (July 30, 2020).
          25
             Letter from David E. Williams, Chief Operating Officer and Executive Vice President, U.S. Postal
Service, to Ranking Member Gary C. Peters et al. (Aug. 6, 2020).
          26
             Letter from Ranking Member Gary C. Peters, to Chairman Ron Johnson, (Aug. 16, 2020).
          27
             U.S. Postal Service: Postmaster General Louis DeJoy Statement (Aug. 18, 2020); See also Postmaster
General DeJoy says he will stop postal service changes until after November election, USA Today (Aug. 18, 2020)
(https://www.usatoday.com/story/news/politics/elections/2020/08/18/election-usps-postmaster-general-says-hes-
suspending-mail-changes/5602523002/).
          28
             Senate Committee on Homeland Security and Governmental Affairs, Examining the Finances and
Operations of the United States Postal Service During COVID-19 and Upcoming Elections, 116th Cong. (Aug. 21,
2020).


                                                        11
policies. Recent accounts from USPS employees and management contradict many of Postmaster
General

Overtime

                                                                 Postmaster General DeJoy
                                                                 has repeatedly denied making
                                                                 changes to USPS overtime
                                                                 policies. However, accounts
                                                                 from employees across the
                                                                 country contradict these
                                                                 claims, and the Postal Service
                                                                 has not provided any
                                                                 explanation for these
                                                                 discrepancies. For example,
                                                                 many postal workers
                                                                 described how a pilot
                                                                 program initiated by
Postmaster General DeJoy the Expedited Street/Afternoon Sortation test included new
restrictions on postal                 29
                                          Other postal workers report local managers
communicating changes to overtime, after DeJoy became Postmaster General.

The below accounts from Postal Service employees are provided with permission from among
the over 7,700 submissions individuals have shared with Senator Peters.30

      I am a career carrier for the US Postal Service and have been for 3 years to date. When I was
    hired and trained, before I could touch a piece of mail it was instilled in me the carrier motto
    "Every Piece, Every Day" . . . On July 25, 2020 the Postal Service enacted new policies and
    procedures which requires carriers to leave mail behind and not give carriers the ample time to
    do their job comfortably and efficiently . . . We are not allowed overtime anymore as
    carriers, under DeJoy's management he has instructed us to leave time sensitive First-
    Class mail behind in stations on docks and also mail is piling up at plants. He has delayed
    critical medicines, checks, passports and also life threatening mail to ours customers. . . . I
    personally witnessed carriers searching through piles and piles of mail just to try and get the
    ballots to residents the day of the election.
                                                    -Letter Carrier in Atlanta, Georgia (August 12, 2020)




         29
             The Expedited Street/Afternoon Sortation test, initiated on July 16 in 384 post offices, imposed new
scheduling limits for sorting and delivering mail. The National Association of Letter Carriers (NALC) filed a
national grievance against this policy, and as a result the test was terminated effective August 19, 2020. See National
Association of Letter Carriers: National-Level Grievance over Expedited Street/Afternoon Sortation (ESAS) Settled
(Sept. 1, 2020); National Association of Letter Carriers: USPS announces new ESAS delivery initiative test (July 21,
2020).
          30
                                                                                                             Aug. 20,
2020), and follow-up interviews with Committee staff.


                                                          12
      Our office is quite small, relatively speaking, but since the new PMG put in his "order"
    limiting mail distribution to end at a specific time, whether or not they are finished and
    limiting carriers to 10 hour shifts our office has fallen incredibly behind on deliveries. . .
    My route has many retirees and veterans who get their medicine through the mail (either with
    the VA or CVS) but there have been times where I've been told by management to bring back
    the mail because I can't work more than 10 hours a day... . .It's not unusual to see outgoing
    mail sitting in boxes for days waiting to be picked up.
                                                      - Letter Carrier in Hilo, Hawaii (August 10, 2020)

     I work for the Battle Creek Post Office . . . We watched a video from the [P]ostmaster
    [G]
    business runs by. One of those is to cut overtime. Cutting overtime would be a sensible
    solution if we were staff
                                      -USPS Employee in Battle Creek, Michigan (August 11, 2020)


    to maintain adequate staffing . . . Due to these issues overtime is a necessary component in
    order to meet service standards. Prior to the [new] guidelines our facility was bringing five
    clerks in 2hrs early Saturday thru Friday to process mail due for delivery each day. 10 hours
    overtime each day prevented delay of the mail. The PMG guidelines prohibits any pre-tour

                                           -USPS Employee in Gadsden, Alabama (August 10, 2020)

In addition, documents prepared by regional Postal Service leadership indicate that efforts are
underway to reduce work hours and limit overtime. A July 2020 presentation given in the Capital
                                                               31
                                                                  An Ohio presentation released


             32



In response to questions from Senator Peters about the content of specific documents and
presentations, the Postal Service recognized that the materials were prepared and distributed by
                                                                                    l statements
                           33
                              However, the Postal Service did not address whether regional
documents reflecting changes were developed in response to directives or other communications
from Postmaster General DeJoy.




        31
                                          Cap Metro Area: Focus Improve Reduce Initiatives
(Copy on file with Committee).
        32
           Alliance of Nonprofit Mailers, Leaked USPS PowerPoint indicates PMG DeJoy focus on getting
operating costs under control (July 14, 2020) (https://www.nonprofitmailers.org/leaked-usps-powerpoint-indicates-
pmg-dejoy-focus-on-getting-operating-costs-under-control).
        33
           Letter from Thomas J. Marshall, General Counsel and Executive Vice President, U.S. Postal Service, to
Ranking Member Gary C. Peters (July 22, 2020).


                                                       13
Despite being asked about documents and accounts that describe changes, Postmaster General
DeJoy has not explained why postal workers across the country are receiving conflicting
information about changes to work hours and overtime policies.

Sorting machines

The removal of sorting machines at postal facilities has raised questions about Postmaster

Service reports submitted annually to the Postal Regulatory Commission show USPS has
removed machines in past years, but machine removals scheduled for 2020 were more significant
than in prior years. The Postal Service decommissioned 125 Delivery Bar Code Sorters (3% of
these machines) in 2018, and 186 in 2019 (5%), but planned to decommission 671 in 2020
(13%).34 While he testified that removal of sorting machines was in place before his tenure and
                                                                  DeJoy is ultimately responsible
for these removals. On August 18, he announced he would pause the removals until after the
2020 election, but at the August 21 hearing he stated he would not replace the machines that
                                                            35



Despite multiple inquiries, the Postal
Service has not provided further answers
or documentation about the basis for
removing machines or whether they are
needed.36 However, the Postal Service
has cited multiple times in Committee
briefings that their planned 2020
machine removals were based on the
25% rate of mail volume reductions. 37
This number refers to reductions in total
delivered mail volume (excluding              Dismantled mail sorting machines in Grand Rapids, Michigan
packages) since the pandemic this
magnitude of mail loss has not been seen before the pandemic and recession. While volume loss
for mail products averaged 3-5% in the months before the pandemic, volume declined 24% the
week of March 29, 2020, and losses grew to between 32% and 27% until May 24, then improved



        34
                                                                           -sorting machines, Washington Post
(Aug. 20, 2020) (https://www.washingtonpost.com/business/2020/08/20/postal-service-mail-sorters-removals).
        35
           Senate Committee on Homeland Security and Governmental Affairs, Examining the Finances and
Operations of the United States Postal Service During COVID-19 and Upcoming Elections, 116th Cong. (Aug. 21,
2020).
        36
           Senate Committee on Homeland Security and Governmental Affairs, Examining the Finances and
Operations of the United States Postal Service During COVID-19 and Upcoming Elections, 116th Cong. (Aug. 21,
2020); Questions for the Record to Postmaster General Louis DeJoy, U.S. Postal Service; Letter from Ranking
Member Gary C. Peters et al. to Louis DeJoy, Postmaster General and Chief Executive Officer, U.S. Postal Service
(Aug. 17, 2020); Letter from Ranking Member Gary C. Peters et al. to Louis DeJoy, Postmaster General and Chief
Executive Officer, U.S. Postal Service (Aug. 5, 2020).
        37
           U.S. Postal Service, Briefing with Senate Committee on Homeland Security and Governmental Affairs
and House Committee on Oversight and Reform Staff (Aug. 4 and 31, 2020).


                                                       14
slightly to average 19% in the weeks since then.38 The Postal Service made the decision to
remove machines based on volatile, pandemic-related volume losses. In addition, postal workers
in some facilities state these machines are needed to handle peak volumes of mail. For example,
at one plant where Deliver Bar Code Sorter machines have been removed, workers reported they
had consistently used these machines at full capacity during holiday peak volume times. As one
postal worker reported:

       Since the new Postmaster General has taken over, 4 additional machines have been
      removed and pieces of those have been used to lengthen other machines. On paper, this
      reduces the number of employees it takes to run letter sorting machines. However, it increases
      the size of the runs and makes it more difficult to finish in the allotted time frame,
      resulting in mail being left behind on a daily basis. As of Monday, August 10, they were 3
      days behind. As of August 12, they are still 2 days behind. According to coworkers I know
      very well, mail is piling up in the East Paris carrier annex due to the carriers being required to
      end their day at a specific time . . .
                       -USPS Maintenance Worker in Grand Rapids, Michigan (August 10, 2020)

II.      CHANGES DIRECTED BY POSTMASTER GENERAL DEJOY SLOWED
         DOWN MAIL SERVICE ACROSS THE COUNTRY

            A. The Postal Service Refused to Acknowledge Severe and Widespread Delays
               Even After they were Apparent for Weeks

Postmaster General DeJoy has continued to
downplay the negative impacts of the
operational changes he ordered in July. For
weeks after reports of mail delays emerged, the
Postal Service refused to directly acknowledge
that delays had increased.

On August 6, 2020, the Postal Service wrote:
                                   temporary
service impacts can occur as we redouble our
efforts to conform to the current operating
plans, but any such impacts will be monitored
and temporary as the root causes of any issues
                              39
                                 This response
came over three weeks after the operational
changes were implemented by that time, on-
time delivery performance had already fallen
significantly. See Figure 4.

         38
            Volume declines are as compared to Same Period Last Year. U.S. Postal Service, Weekly volume and
revenue data provided to the Committee on Homeland Security and Governmental Affairs (copy on file with
Committee).
         39
            Letter from David E. Williams, Chief Operating Officer and Executive Vice President, U.S. Postal
Service, to Ranking Member Gary C. Peters et al. (Aug. 6, 2020).


                                                      15
On-time mail delivery fell by nearly 10 percentage points nationwide in the weeks following


During the week of August 8, 2020, on-time delivery of First-Class mail fell by 9.1 percentage
points
From July 4 -10, the Postal Service delivered 90.6% of First-Class mail within the one-to-five-
day timeframes specified in the USPS service standards. 40 Five weeks later, only 81.5% of First-
Class mail met the service standards for on-time delivery.

This 9.1 percentage point drop represents approximately 85 million more late deliveries during
the week of August 8 -14 alone. Put another way, if the nationwide on-time delivery rate stayed
where it was during the week prior to the changes, there would have been approximately 85
million fewer late deliveries during the week of August 8 -14.41




         40
             Service standards for First-Class mail specify a delivery timeframe of one to five days, depending on the
distance between the sender and the addressee. See also U.S. Postal Regulatory Commission, Analysis of the Postal
Serv                Annual Performance Report and FY 2020 Performance Plan (June 1, 2020)
(https://www.prc.gov/sites/default/files/reports/USPS%20Perf%20Rpt%20and%20Plan.pdf).
          41
             Estimate based on USPS First-Class mail volume data (4.15 billion pieces of First-Class mail in July
                                                                    and staff analysis of USPS Weekly Service
Performance data (copy on file with Committee).


                                                          16
Some parts of the country saw on-time delivery drop by 15-20 percentage points in the weeks


Eve                                 67 Districts across the country saw a marked decline in on-time
delivery of First-
directives. In five Districts Central Pennsylvania, Northern Ohio, Ohio Valley, Detroit, and
Honolulu on-time delivery of First-Class mail fell by 15-20 percentage points over the four-
week period starting on July 11, compared to the four-week period preceding Postmaster
                        . See Figures 5 and 6.




                                                17
             B. Nearly two months after Postmaster General DeJoy ordered changes, service
                has still not recovered

Nearly two months after the operational changes were implemented, service has still not
recovered to previous levels. On August 21, 2020, in testimony before the Senate Committee on
Homeland Security and Governmental Affairs, Postmaster General DeJoy admitted that under
his leadership the Postal Servic                   in the mail 42

After nearly two months, service nationwide still remains below the levels before Postmaster
                            43
                               As shown in Figure 7 below, during the eight weeks prior to the start
                   tenure as Postmaster General, First-Class mail saw an average rate of 90.7% on-
time delivery. While there has been improvement following the steep drop in July, recovery
appears to have slowed. From August 29, 2020 to September 4, 2020, 44 on-time delivery
nationwide was 88.0%           only a 0.2 percentage point improvement from the prior week, and still
2.7 percentage points
arrival. 45 In other words, there were still approximately 25 million more late deliveries during the




        42
           Senate Committee on Homeland Security and Governmental Affairs, Examining the Finances and
Operations of the United States Postal Service During COVID-19 and Upcoming Elections, 116th Cong. (Aug. 21,
2020).
        43
           Staff analysis of USPS Service Performance data through September 4, 2020.
        44
           This is the most recent week for which the USPS has provided Service Performance data.
        45
           Service performance data reflects on-time delivery rates during a given week. The rate used for

 the week of April 18 24, through the week of June 6 - 12.


                                                      18
week of August 29 -September 4 than there would have been if on-time delivery rates stayed
where they were during the weeks before Postmaster General DeJoy arrived. 46

                                       geographical areas has seen similar trends. While service
began to improve in mid-to-late August, service levels in each of the seven Areas remained
below where they were during the weeks prior to the July changes. 47

For example, as shown in Figure 8, on-time delivery in the Great Lakes Area averaged 89.0%
                                                     . During the week of August 8-14
performance fell by 9.8 percentage points to 79.3% on-time delivery. During the most recent
week for which data is available (August 29 September 4), on-time delivery was 87.4% still
below where it was in the weeks bef                                In addition, on August 18,

hearing for Mr. DeJoy to testify before Congress, Postmaster General DeJoy announced he
would pause certain actions. Even with this reversal, the Postmaster General declined to disclose
full information about each of his directives and what actions he would take to reverse their
impact on service, and stated that he would make this concession only through the election.48 To
date, USPS has failed to provide complete information on the universe of operational changes
made, halted, and still in progress.


        Figure 8




        46
             Estimate based on USPS First-Class mail volume data (4.15 billion pieces of First-Class mail in July
                                                                  and staff analysis of USPS Weekly Service
Performance data (copy on file with Committee).
          47
             See Appendix.
          48
             U.S. Postal Service: Postmaster General Louis DeJoy Statement (Aug. 18, 2020); See also Postmaster
General DeJoy says he will stop postal service changes until after November election, USA Today (Aug. 18, 2020)
(https://www.usatoday.com/story/news/politics/elections/2020/08/18/election-usps-postmaster-general-says-hes-
suspending-mail-changes/5602523002/).


                                                        19
            C. Delays are increasing again in many parts of the country

After improving somewhat during the second half of August, on-time delivery began declining
again in many parts of the country. As shown in Figure 9 below, three of the seven geographical
Areas saw an overall drop in on-time delivery during the week of August 29 - September 4
compared to the previous week.




Even in the Areas that did not see an overall drop, several individual Districts experienced a
recent increase in delays. During the week of August 29 - September 4, 30 of the 67 USPS
Districts saw a decline in on-time delivery from the previous week.49

            D. Delays following Postmaster General                  changes exceed those
               that occurred at the outset of the COVID-19 pandemic

On several occasions, when asked about the spike in delays following Postmaster General
                                                                            -19 pandemic. For
example, when Senator Peters questioned him about the delays at the August 21 hearing,
                                   ertainly there was a slow-down in the mail when our
production did not meet the schedule. But also, Senator, our employees are going are



         49
            On-time delivery rates for First-Class mail fell during the week of Aug. 29 - Sept. 4, compared to the
week of Aug. 22 Aug. 28 in the following USPS Districts: Baltimore, Capital, Greater South Carolina, Northern
Virginia, Richmond, Appalachian, Kentuckiana, Ohio Valley, Philadelphia Metro, Western Pennsylvania, Chicago,
Gateway, Greater Indiana, Albany, Triboro, Honolulu, Alabama, Arkansas, Dallas, Ft. Worth, Houston, Oklahoma,
South Florida, Arizona, Colorado/Wyoming, Dakotas, Hawkeye, Mid-America, Northland, and Portland.


                                                        20
experiencing the COVID pandemic also, and we have a significant issue in employee availability
                                                                                                 50



While the pandemic has affected USPS operations across the country and continues to pose a
challenge, the sharp drop in service performance following the July changes was clearly not
caused by the pandemic. As shown in Figure 10, on-time delivery nationwide fluctuated during
                                                  rrival, and dropped noticeably in April and
May, as the pandemic peaked across the country. However, the drop in on-time delivery that
coincides directly with Postmaste
service performance to the lowest levels since the beginning of the year.




The COVID-19 pandemic caused severe disruptions to on-time delivery in many parts of the
country. However, even in areas that were hardest-hit, the service declines following Postmaster
                         exceeded or matched those during the peak of the outbreak in those
states.

For example, COVID-19 cases in Michigan spiked in late March and early April, and there was a
notable drop in on-time delivery during those months, especially in the Detroit area. See Figure
11. Then, as daily reported infection totals decreased and stabilized in Michigan over May and
June, on-time delivery rates also returned to levels near what they were before the pandemic.
However, service performance dropped abruptly following
2020 directives. In August while Michigan was reporting average daily infection totals that
were approximately half of what they were at the peak of the pandemic on-time delivery across
Michigan fell to levels similar to those seen during the initial surge in cases. In the Detroit
        50
           Senate Committee on Homeland Security and Governmental Affairs, Examining the Finances and
Operations of the United States Postal Service During COVID-19 and Upcoming Elections, 116th Cong. (Aug. 21,
2020).


                                                     21
District, on-time delivery fell to 61.0% in August, nearly reaching the previous low in April
(58.8%). In the Greater Michigan District, on-time delivery dropped to 80.3% in August, falling
below the lowest levels during the spring (85.0%).

       Figure 11




III.      DELAYS CAUSED BY OPERATIONAL CHANGES HARMED AMERICANS
          ACROSS THE COUNTRY

               A. Impact of USPS Medication Delivery Delays

Millions of Americans Rely on Mail Order Pharmacies

Millions of Americans rely on the Postal Service for prescriptions and medical supplies.
Lifesaving drugs like insulin, chemotherapy agents, and heart medications are just some
examples of the critical medications Americans entrust to the Postal Service for timely and
regular deliveries. Mail delays and unpredictable deliveries of these medications and supplies
have the potential to pose serious health risks and have additional adverse effects.

The Postal Service delivers 1.2 billion prescription drug shipments each year amounting to four
million shipments every day, six days a week. 51 In addition to prescription drugs, the Postal
Service delivers other essential medical supplies like insulin needles, diabetic testing strips, and
contact lenses. Benefits to using mail-order pharmacies can include potential cost-savings, lower
error rates, increased medication adherence, and accessibility. 52




          51
            National Association of Letter Carriers: Statement by NALC President Fredric Rolando: The Postal
Service in vital in this crisis (Mar. 27, 2020).
         52
            Comments of the Pharmaceutical Care Management Association Before the Postal Regulatory
Commission, Docket No. N2010-1 (Sept. 30, 2010).


                                                       22
The Department of Veterans Affairs (VA) established the first mail order pharmacy in 1946.
Since then, the number of mail-order pharmacies has grown substantially. 53 The VA
Consolidated Mail Outpatient Pharmacy fills approximately 80 percent of its prescriptions for all
veterans via mail, processing 470,000 prescriptions daily. 54 The VA offers a refill and tracking
tool so that veterans can track the delivery of their prescriptions.

In 2018, approximately 17 percent of Medicare Part D enrollees and 13 percent of large
employer health plan enrollees used mail-order pharmacies for at least one prescription. Overall,
Medicare Part D and large employer health plan enrollees account for 173 million mail-order
prescriptions, or approximately 17 percent of prescriptions. 55

Some of the most commonly filled prescriptions for these plans include maintenance medications
for chronic conditions like high cholesterol, high blood pressure, and diabetes. 56 For example,
patients who rely on insulin, inhalers, or other critical medications are not able to wait weeks to
receive their pr

                        57



The COVID-19 Pandemic has led to Increases in Mail Order Pharmacy Use

                                                                                      both in
volume and importance during the COVID-19 pandemic. Reports estimate that in late March
2020, mail-order prescriptions increased 21 percent from the year prior.58 For many Americans
living through the pandemic, including seniors, individuals with disabilities, and individuals with
chronic conditions, mail medication deliveries serve as a lifeline. These individuals, who are
often most at risk for COVID-19, rely heavily on mail-order pharmacies since an in-person visit
to the pharmacy could place them at an increased risk of exposure to the virus. A recent Senate
report found that four major mail-order pharmacies experienced increased delivery times by
approximately 18-32 percent.59



         53
             What is the Role of the Mail-Order Pharmacy?, Pharmacy Times (Jan. 20, 2020)
(https://www.pharmacytimes.com/news/what-is-the-role-of-the-mail-order-pharmacy).
          54
             U.S. Department of Veterans Affairs, Pharmacy Benefits Management Services
(https://www.pbm.va.gov/PBM/CMOP/VA_Mail_Order_Pharmacy.asp) (accessed Aug. 23, 2020).
          55
             Mail Delays Could Affect Mail-Order Prescriptions for Millions of Medicare Part D and Large
Employer Plan Enrollees, Kaiser Family Foundation (Aug. 20, 2020) (https://www.kff.org/coronavirus-covid-
19/issue-brief/mail-delays-could-affect-mail-order-prescriptions-for-millions-of-medicare-part-d-and-large-
employer-plan-enrollees).
          56
             Mail Delays Could Affect Mail-Order Prescriptions for Millions of Medicare Part D and Large
Employer Plan Enrollees, Kaiser Family Foundation (Aug. 20, 2020) (https://www.kff.org/coronavirus-covid-
19/issue-brief/mail-delays-could-affect-mail-order-prescriptions-for-millions-of-medicare-part-d-and-large-
employer-plan-enrollees).
          57
             American College of Physicians: Internists Say Delivery of Mail-order Prescriptions is Critical (Aug. 17,
2020).
          58
             Mail-Order Drug Delivery Rises During Coronavirus Lockdowns, Wall Street Journal (May 12, 2020)
(https://www.wsj.com/articles/mail-order-drug-delivery-rises-during-coronavirus-lockdowns-11589281203).
          59
             Sens. Elizabeth Warren and Bob Casey, Rapidly Increasing Postal Service Delivery Delays for Mail-
Order Prescription Drugs Pose Health Risks for Millions of Americans (Sept. 2020).


                                                          23
Mail Delays                                                                    Have Harmed Many who
Rely on the USPS to deliver their Medicine

Mail delays, especially delays that result in packages sitting in excessive heat for long periods of
                                                                               60
                                                                                  Depending on the
type of drug, extreme temperatures can have a detrimental effect on medication quality.
Biologics, for example, often require cold storage. According to one pharmacist, patients that
suffer from chronic illnesses, like diabetes, could have life threatening consequences from taking
damaged insulin. Similarly, diagnostic testing strips commonly used to measure blood sugar
levels in diabetics are sensitive to humidity and if exposed to moisture, could yield a false
reading.61

Senator Peters received hundreds of messages from individuals throughout the country sharing
their personal experiences about the impact of USPS mail delays on the delivery of medications
and medical supplies. The stories below, provided with permission, demonstrate the widespread
                                                                    62



    Karen from Auburn, Michigan r
    at the end of June and received confirmation of shipment a couple days later. According to
    Karen, USPS tracking showed that the package went from Pontiac, to Detroit, to Saginaw, then
    back to Detroit, then back to Pontiac, with no further tracking information available. As a
    result, Karen requested an emergency refill of the medication. Though Karen finally received
    the initial shipment six weeks later, she reported that her pharmacist advised against using the
    medication because it had been exposed to significant heat, which likely compromised its
    effectiveness.

Missed Medication Doses and Resulting Side Effects

Widespread mail delays have forced a number of individuals to go without their medications or
ration doses. In some cases, individuals experienced side effects as a result of the missed doses.
For some, this is a minor inconvenience, but for others, it can result in increased health risks.

    Danielle from Brush Prairie, Washington is a former federal archaeologist, who is disabled
    and the mother of two autistic children. She said that she relies on medications to manage her
    symptoms and has regularly received mail-order prescriptions without issue. Insurance
    prohibits her from filling the controlled substance medication until she has a five-day supply

        60
             Claire Sykes, Time- and Temperature-Controlled Transport: Supply Chain Challenges and Solutions,
Pharmacy and Therapeutics (Mar. 2018); Extreme Temperatures May Pose Risks To Some Mail-Order Meds,
National Public Radio (Jan. 7, 2019) (https://www.npr.org/sections/health-shots/2019/01/07/673806506/extreme-
temperatures-may-pose-risks-to-some-mail-order-meds); Mistakes in Storage May Alter Medication, New York
Times (Aug. 15, 2011) (https://www.nytimes.com/2011/08/16/health/16consumer.html).
          61
             Mistakes in Storage May Alter Medication, New York Times (Aug. 15, 2011)
(https://www.nytimes.com/2011/08/16/health/16consumer.html).
          62
                                                                                                      Aug. 20,
2020), and follow-up interviews with Committee staff. See also, United States Senate Committee on Homeland
Security & Governmental Affairs, Ranking Member Peters Minority Report, Interim Report on the Threat of
                                                    (Aug. 21, 2020).


                                                      24
left. Danielle explained that she ordered this medication on July 22. USPS confirmed shipment
on July 23 and delivery on July 24; however, Danielle never received the medication. With
two pills left, she requested an emergency prescription from her insurance company, and it
took three days for her doctor to process the refill. Danielle described that, as a result she
suffered multiple stroke-like withdrawal symptoms including tachycardia, migraine syncope,
and neurological pain, while waiting for her refill. Once her prescription was filled, she had to
drive 25 minutes to a local pharmacy to pick it up. The prescription cost her $45 out of pocket,
in addition to the costs of gas, time, and a risk of exposure to COVID-19.

Sandy from Warren, Michigan noted that her 80-year-old mother received mail order
prescriptions for years without incident. In mid-July, the doctor ordered a bladder medication
for her mother. According to Sandy, the prescription sat in a USPS facility located just a few
                                   for five days and was not delivered until late July, nine days
after the initial order. As a result, Sandy said her mother went without this medication for five
days and though it was not life threatening, her mother was in a significant amount of
discomfort during that time period.

Joseph from Livonia, Michigan reported that his insurance company recently required that
he obtain his prescriptions through the mail. On July 27, Joseph received confirmation that his
prescriptions had been shipped and were scheduled to arrive on July 29. Joseph indicated that
he relies on this medication for his anxiety and ADHD and needs it to function. He did not
receive the medication until one week later. While Joseph awaited his medication, he resorted
to rationing his remaining pills and eventually had to miss doses altogether until his
prescription arrived on August 3.

Mark from Gladwin, Michigan relies on the mail for his blood pressure medication, which
he receives every three months. Usually, the prescription takes a few days to arrive. When he
ordered his prescription at the end of July, he did not receive it until August 11. Mark reported
that the USPS tracking information revealed that the package bounced between the Detroit and
Saginaw distribution centers after finally arriving in Detroit on August 8, when the medication
sat for a period of time. As a result of this nearly two-week delay, Mark went without his
medication for approximately 3-4 days. According to Mark, this is the longest he has ever had
to wait for his medication.

Mary from Redford, Michigan shared that her daughter has consistently received her
medication through the mail in 3-4 days. According to Mary, on July 20, 2020, she was notified
                                                                   days to be delivered. While
waiting for the medication, she spoke to a postal worker
medication who                                          that they
they would probably not be able to find it. When her daughter realized her
coming on time, she tried to stretch what she had by taking one instead of two pills, and because
of this had seizures and was transported to the hospital.




                                             25
Emergency Refills and Out of Pocket Expenses

These lengthy delays have forced individuals to make in-person visits to a pharmacy, request
emergency refills of their medication, and sometimes incur out-of-pocket costs.

   Sandra from Grosse Ile, Michigan is required to use a specific mail-order pharmacy for her
   medications. Sandra reported that she received a notification that her medication shipped on
   August 5 and arrived at the Detroit Distribution Center on August 7; however, since August
                                                                          had not yet received it.
   As a result, Sandra said that she went without her medication and eventually received an
   emergency prescription from her doctor, for which she paid $4.90 out-of-pocket.

   Judy from Shelby Township, Michigan shared that her husband is a diabetic and relies on
   the mail to receive testing strips to assess his blood sugar levels. She recounted that when the
   shipment from his insurance company did not arrive, he put in an additional order, which was
   also delayed. After learning that nearby local stores did not carry the testing strips, he ordered
   some on Amazon and paid $13 out of pocket. Judy said that her husband went two days without
   any testing strips and as a result, could not test his blood sugar levels during that time. Judy
   reported that the testing strips from the insurance company arrived one month later, in early
   August.

   William from Modesto, California is 81 years old and relies on the mail for his blood pressure
   medication, which he said usually arrives within 2-3 days. William noted that his most recent
   order, which was shipped on July 30, did not arrive until the week of August 17. Without any
   medication for four days, William contacted his doctor to obtain an emergency refill and
   incurred small co-pays.

Mail Delays Have Adversely Affected Veterans

   Richard from St. Charles, Michigan is a veteran who receives his prescriptions through the
   mail. In early August, Richard reported that he placed an order for his prescription, which was
   sent on August 2. As of September 2, the prescription has not yet arrived. In need of his
   medication, Richard said that he paid $35 for a 10-day emergency prescription. According to
   Richard, his insurance company also overnighted him a 90-day supply at no cost through DHL
   and USPS, which he received. In addition, his mail-order pharmacy sent another prescription
   on August 25 that finally arrived on September 8. Richard noted that recently he has gone 2-3
   days in a row without receiving any mail.

   Craig from Portage, Michigan is a disabled veteran who served in the Army. He explained
   that he has relied on mail-order medications for fourteen years without any serious problems.
   Craig reported that his prescriptions usually takes about a week to arrive, but at most up to two
   weeks. In early July, Craig ordered his blood pressure medication from the VA; however, he
   did not receive the medication until August 1. As a result, Craig went without his blood
   pressure medication for almost a week and had to drive an hour to pick up an emergency
   prescription order from the VA Clinic.




                                                26
             B. Impact on Small Businesses

American small businesses trust the Postal Service to carry and deliver their products across the
country. Small businesses comprise 99.7 percent of all firms in the United States with paid
employees.63 These businesses overwhelmingly rely on USPS for their shipping and delivery
needs a 2019 report found that 70% of small businesses with fewer than 10 employees use
USPS, and more than half of them do so more frequently than other carriers. 64 For many small
businesses, USPS is the only feasible option for their shipping needs, either due to costs or
                                                                                        65
shipping costs increase significantly, in some cases by more than d

Businesses have increased their reliance on carriers such as USPS during the COVID-19
pandemic. Many businesses nationwide have shifted to online operations as their standard brick-
and-mortar locations remain closed, leading to an increased dependence on shipping and delivery
to continue business activity. 66 In light of this shift, e-commerce sales grew by over 30 percent
between the first and second quarters of 2020, directly overlapping with the onset of the
pandemic in the U.S.67 When small businesses were unable to provide clients with goods and
services in-person, many turned to USPS to stay afloat in the face of adversity.

Small business owners across the country expressed a variety of concerns stemming from USPS
delays. Some noted the lost revenue and inventory resulting from negative reviews and
dissatisfied customers frustrated by delays, as well as lost time spent investigating those delays.
Some small businesses also raised concerns about their inability to track packages no longer
being scanned by USPS. Other businesses that were able to track packages noticed that their
packages were taking more erratic and lengthier routes before being delivered, often being held
in processing centers for days at a time without explanation.

    Shannon from Los Angeles, California owns a small business that makes and sells crafts
    online. She said that she started noticing some issues with USPS mail at the onset of the
    pandemic, but the problems got much worse in July and August, when the delays of incoming
    and outgoing packages became much more noticeable. For her business, she orders her supplies
    online, makes her products with those supplies, and then ships them to clients, so when
    packages are delayed she cannot create or send her products efficiently. Shannon explained

        63
             U.S. Small Business Administration Office of Advocacy, Frequently Asked Questions About Small
Businesses (Sept. 2019) (https://cdn.advocacy.sba.gov/wp-content/uploads/2019/09/24153946/Frequently-Asked-
Questions-Small-Business-2019-1.pdf).
          64
             U.S. Postal Service Office of Inspector General, From Home Office to Post Office: Improving
Microbusiness Engagement with the U.S. Postal Service (RISC-WP-19-008) (Sept. 4, 2019)
(https://www.uspsoig.gov/sites/default/files/document-library-files/2019/RISC-WP-19-008.pdf).
          65
                                                                                       , TechCrunch (Apr. 24, 2020)
(https://techcrunch.com/2020/04/24/if-we-let-the-us-postal-service-die-well-be-killing-small-businesses-with-it/).
          66
             Small businesses turned to technology to survive the pandemic. But it may not be enough., Washington
Post (June 22, 2020) (https://www.washingtonpost.com/technology/2020/06/22/small-business-tech-pandemic).
          67
             U.S. Department of Commerce, U.S. Census Bureau News, Quarterly Retail E-Commerce Sales 2nd
Quarter 2020 (Aug. 18, 2020) (https://www.census.gov/retail/mrts/www/data/pdf/ec_current.pdf); See also
Coronavirus pandemic turbocharges online sales, which were up more than 31% in just three months, CNBC (Aug.
18, 2020) (https://www.cnbc.com/2020/08/18/e-commerce-sales-grew-more-than-30percent-between-q1-and-
q2.html).


                                                        27
   that during the beginning of the pandemic, her outgoing packages would take 7 to 10 days to
   be delivered, but starting in late July every package has been delayed, taking 14 days on
   average where they should be taking 3 to 5 days with First Class shipping. Over the same
   period, she has also had packages disappear for up to six weeks and then spontaneously be
   delivered to clients. Finally, USPS also lost an incoming package she had ordered containing
   $60 worth of business supplies. Although her claim for the missing package was since
   approved, the reimbursement is still pending.
Delays with USPS orders have caused unprecedented issues for even the most experienced of
online sellers

   Rusty from Alpharetta, Georgia has been selling items online for over two decades.
   Although he has rarely had problems in the past, according to Rusty, his USPS service took a
   turn for the worse in the middle of July. He first noticed it when he received an unusual amount
   of emails from buyers asking about the status of their items. He said he looked into reports
   from his Internet postage vendor for the first time and saw that there were numerous items still
   outstanding after 2 or 3 weeks, whereas previously the delivery norm was approximately 4
   business days for most of the country. Rusty said he has been spending half of his time
   answering emails from buyers regarding complaints about delays he used to only receive
   buyer messages inquiring about a package once every few days, but now he gets 8 to 10 per
   day. According to Rusty, he has had to make business changes due to the delays such as
   dropping expedited service, taking down advertising, extending the handling time for
   packages, and slowing down sales to be able to keep up with troubleshooting the issues
   stemming from USPS delays.

   Donna from Tipton, Michigan has been a seller online for over 10 years and she ships
   hundreds of packages a year via USPS. She stated that she had not had any major issues with
   package delivery until this summer. For example, according to Donna, she sent a package via
   Priority Mail on June 24 from Tipton, Michigan to Wyandotte, Michigan (a distance of
   approximately 60 miles) that was not delivered until nearly a month later on July 21. This
   customer left a
   She said that more than a dozen packages have taken a week longer than normal to be delivered
   over this summer. Some shipments are taking 2 to 2½ weeks that should take 2 to 3 days. She
   said as a small business owner, being able to rely on USPS to deliver packages on a timely
   basis is crucial.
The delays in mail deliveries have made it difficult for some businesses to stay open and pay
employees amid the pandemic

   Terrance from Bay City, Michigan is the owner of a lawn maintenance business. He sends
   bills to his clients through the mail, but he said that the batch sent on August 1 was delayed
   by USPS, and on August 11 multiple customers called saying that they had still not received
   their bill. Due to delays in bills being delivered and delays in receiving payments once they
   have been mailed by customers, he described
   concerns about being able to pay his employees.

USPS delays affect both the professional and personal lives of small business owners



                                                28
   Laurie from Grand Rapids, Michigan owns an early childhood and preschool center.
   According to Laurie, she has noticed a significant slowdown in USPS mail since the beginning
   of August, especially compared to private carriers. Personally, she had a bill payment she
   mailed on August 1 that was due on August 8 not arrive until August 17, despite the fact that
   it had never been delayed before and she had never made a late payment. She is concerned
   about how such delays could affect her credit score and small business as well. On the business
   side, Laurie said that all of her incoming mail has been delayed, with packages that should take
   7 to 10 days taking 2 to 4 weeks to be delivered now, such as one package of curriculum-based
   materials for children that was ordered in the second week of August and had not yet arrived
   as of early September.

   Jennifer and her husband from Los Angeles, California are both small business owners.
   Jennifer sells approximately 4 to 5 packages per week online. According to Jennifer, in early
   July, she noticed that domestic and international packages she had mailed First Class were
   being held in USPS locations, some for up to 3 weeks. She recounted that her packages were
   taking an average of 4 to 5 weeks to reach their destination. Because she had issued
   replacements for customers during the delays, some of them ended up getting two packages,
   and she was not refunded any insurance money because the packages eventually arrived and
   the insurance claims were also delayed. She said she eventually closed down her shop for 3
   weeks to avoid ongoing issues due to USPS.


   so he moved his business online to stay open during the pandemic. According to Jennifer, when
   Los Angeles permitted some retail shops to open, her husband returned in-person for two long
   weekends, but after this he voluntarily closed the shop due to the health risk and relied further
   on the online component of the business. Since then, he has had 27 packages go missing
   through his online shop, and even now there are packages that have still not arrived. In response
   to the USPS issues, he closed the online shop and reopened the in-person store earlier than he
   would have wanted because he could not trust USPS. Jennifer estimated the economic impact
   of potential lost sa
   store.

Rural communities often rely exclusively on USPS for mail services, and small businesses in
these areas have struggled since the recent changes with the lack of reliable service combined
with the lack of a viable alternative for sending mail

   Nan from Point Arena, California owns a small alternative medicine practice and mailing
   homeopathic remedies to clients makes up a significant part of her business. Nan said she
   experienced a sudden slowing of mail transit times starting in early to mid-July, resulted in
   significant delays in packages reaching her clients. Her business relies on the mail because it
   is the only local option in the remote rural area where she lives. Nan said that since July, her
   packages have been delayed two to three times the normal delivery length, costing her over
   $650 between the delays and lost packages. Nan said she is dependent on USPS and her
   packages are time-sensitive. She does not believe her business will remain sustainable if the
   postal system's failure to deliver packages in a timely way continues.



                                                29
          C. Financial Impact on Households

Many individuals and families rely on the mail to manage financial matters like paying bills and
obtaining paychecks. Severe mail delays in July and August caused added financial strain to
households across the country, many of whom were already facing hardships due to the
pandemic.

Unexpected delays have led to late and overdraft fees

   Lisa from Los Angeles, California is the mother of two sons, and her husband passed away
   in July of this year. She explained that the boys receive Social Security assistance because their
   father passed and that this is their only income. She said these checks have been delayed,
   starting in the beginning of August, causing financial burdens and stress. Because the Postal
   Service is taking so long, with mail and bills coming 2-3 weeks late, she said she is also
   incurring late fees she has to pay. Lisa said that the fact that all of their mail is coming late


   Linda from Big Bay, Michigan is a retired teacher who stated that she never had problems
   with the Postal Service until July of this year. According to Linda, her husband mailed a credit
   card payment on July 21, and on August 13 it had not yet been received, so his card was
   declined and he had to pay a $35 late fee. Additionally, Linda reported that she filled out and
   mailed in her ballot for              August primary election as soon as she received it, but it
   was not received by the township until after the election, leading to it not being counted.

Some companies have refunded or waived fees caused by mail delays         but consumers still face
negative impacts

   Donald from Webster, New York is a retired postal worker who served for 36 years. He
   explained that over the course of his career and retirement, he has chosen to be loyal to the
   Postal Service and pay bills by mail to support First Class mail as opposed to using online
   options. Donald reported that, beginning in July, he had four credit card bills and his mortgage
   payment delivered late. Prior to this, he estimates he had one late payment in his life. He said
   that he was able to contact the credit card company and reverse the charges and interest, but is
   concerned that his credit rating dropped at least 100 points. He said this is especially damaging
   because he is retired and may need to borrow money in the future.

   Charles from Redford, Michigan reported that he stopped receiving mail around July 23, and
   did not get anything from USPS again until August 13. Since then, mail has come on some
   days and not come on others. He said he has experienced delays in the delivery of his bills,
   arriving after they are due, and has had to deal with the annoyance of calling the companies to
   get the late fees waived.




                                                30
Delays have led to financial strain

   Lynn from Detroit, Michigan is disabled and immunocompromised, so she has been isolating
   during the pandemic and relying more on the mail for her needs. According to Lynn, her
   packages started getting delayed in July and she had to submit complaints to track packages
   down. Lynn said that she pays her rent through the mail by having her bank mail a check to
   her landlord once her Supplemental Security Income direct deposit comes at the end of the
   month. She said her rent check always arrives by the due date of the 5th. For August rent,
   however, her check that was mailed on July 27 did not arrive until August 13. Lynn explained
   that because it had been so long, the bank considered it lost and she had to go out and get a
   physical money order, risking her health in the process.

   Amy from Hancock, Michigan lives in a rural area where she says mail generally takes 4-5
   days to arrive. However, she recently experienced an extreme delay with her credit card
   delivery. According to Amy, it was mailed on July 25, and when it had not arrived as of August
   12, the company cancelled it due to security concerns and shipped her a new one. In the
   meantime, she had no credit card to cover family expenses for approximately a week.

          D. Families have faced additional impacts due to unexpected mail delays

   Georgia from Lathrup Village, Michigan is a retired senior whose husband just passed away.
   She said she started to notice USPS mail delays in June and July, with some mail delayed and
   some not arriving at all. The delays with USPS have affected her paperwork correspondence
   with the Social Security Administration (SSA), the Department of Health and Human Services,
                                                                               have always had

   paperwor
   over two months ago that have not yet been received, including her original marriage license,
   which she would have liked back. She also reported a 6-day stretch in July where she got no
   mail at all, and then on the last night a large amount came at once. Georgia says she has luckily
   not experienced any financial impacts, but the delays have caused an added stress after her


   Sheila from Milan, Michigan said she                                                              -
   to-late July that was delayed by about a month in the mail. During the delay the college told
   her she could not register until they received the check, but luckily it arrived the day after. She
   also said she was waiting on a check mailed to her home address during that time that took
   approximately a month until it was delivered,

   David from Farmington, Michigan was managing the affairs of his brother after he passed
   away, and he needed mail from each of his siblings to continue the process. According to
   David, two siblings from Michigan sent paperwork that arrived in a few days, but one from
   Washington sent mail that took 16 days to arrive, with First-Class delivery. After that, David
   started using Priority Express mail to correspond with the probate court in Alaska. It cost $28
   in postage to mail the petition.




                                                 31
IV.
        LEADERSHIP AND APPROACH

            A. Postmaster General DeJoy failed to consider the likely service impacts of the
               transportation changes he ordered in July

Postmaster General DeJoy did not consider likely service impacts before making operational
changes, particularly in his decision to eliminate late and extra trips which resulted in severe
delays.

Postmaster General DeJoy failed to conduct
any meaningful analysis about how his
planned changes could affect customers.
Since July 17, 2020, Senator Peters
repeatedly requested any information and
documentation Mr. DeJoy used in making
his decisions, including any analysis of
potential impacts on service, or on-time
mail delivery. 68 During the August 21
hearing, Mr. DeJoy repeatedly denied
having any analysis behind his decisions or
their service impacts, other than a

                                  69
                                       These             Sign in Oregon
referred to one of                                          mean nearly empty trucks were dispatched for delivery,
                                                                      contributing to significant delays.
                                       When the
                                       70

Postal Service finally provided information about this initiative in a briefing to the Committee on
August 31, it included one slide outlining the reasoning behind the decision to cut late and extra
trips, but no further analysis. 71 At that briefing, the Postal Service (David Williams, Chief
Logistics and Processing Operations Officer) confirmed that there was no additional analysis on
                                                                                          -time
                                                                                         -time mail
delivery. The Postal Service confirmed at this briefing that this change specifically resulted in

          68
             Letter from Ranking Member Gary C. Peters, to Louis DeJoy, Postmaster General and Chief Executive
Officer, U.S. Postal Service (July 17, 2020); Letter from Ranking Member Gary C. Peters, to Louis DeJoy,
Postmaster General and Chief Executive Officer, U.S. Postal Service (July 30, 2020); Letter from Ranking Member
Gary C. Peters et al. to Louis DeJoy, Postmaster General and Chief Executive Officer, U.S. Postal Service (Aug. 17,
2020).
          69
             Senate Committee on Homeland Security and Governmental Affairs, Examining the Finances and
Operations of the United States Postal Service During COVID-19 and Upcoming Elections, 116th Cong. (Aug. 21,
2020); Responses to Questions for the Record, Postmaster General Louis DeJoy, U.S. Postal Service.
          70
             Letter from David E. Williams, Chief Operating Officer and Executive Vice President, U.S. Postal
Service, to Ranking Member Gary C. Peters et al. (Aug. 6, 2020).
          71
             U.S. Postal Service, Briefing with Senate Committee on Homeland Security and Governmental Affairs
and House Committee on Oversight and Reform Staff (Aug. 31, 2020). See also U.S. Postal Service, Congressional
Briefing: Transportation & Service Performance Updates (Aug. 31, 2020)
(https://about.usps.com/newsroom/global/pdf/0831-congressional-service-briefing.pdf).


                                                        32
significant service disruptions, which Mr. DeJoy had admitted but downplayed in his testimony
before Congress.

Postmaster General DeJoy made hasty and significant changes to the transportation network,
despite the fact the Postal Service could easily have foreseen negative impacts. Over the course
of two weeks, from July 5 to July 19, USPS reduced the number of weekly extra trips from
approximately 15,000 to under 5,000, and cut weekly late trips from over 30,000 to under
8,000.72 While Mr. DeJoy characterized this decision as simply an effort to run trucks on time,
abruptly eliminating these trips risked displacing the mail usually carried on them. The Postal
Service collects data on the amount of mail in each truck, so it would have been possible to
anticipate how much mail could be misplaced or delayed. At the briefing, Mr. Williams
confirmed that the Postal Service did know how much mail was on those trips, but did not use
this data to conduct additional forecasts.

Rather than taking action based on available information to address underlying causes of late and
extra trips, Postmaster General DeJoy moved ahead with wholesale transportation changes. He
cited a recent Postal Service Office of the Inspector General (OIG) report as his basis for
working to eliminate late and extra trips. 73 This report did not recommend abrupt, wholesale
stoppage of late and extra trips. Instead, the report emphasized that USPS uses such trips within

recommendations to evaluate the trips and address the underlying causes of the delays, such as
inconsistent management oversight, a truck driver shortage, and misallocation of mail on high-
cost air carriers. The OIG also found that 74% of late trips were due to contractor failure, delays
in sorting or building mail containers, and congestion in operations sometimes due to a lack of
available staff. Postal Service management agreed with the majority of these recommendations
and began to implement them in May 2020. 74

Mr.                stated reason for this change was to cut costs. At the August 21 hearing, he
stated,                                                           that spoke about the things that
you were talking about late deliveries, late dispatch, extra trips, and all the time and costs
associated around this that approximated $4 billion. We were facing I had $13 billion in cash
and $12.5 billion of payments to make in the next nine months, and no help in sight. So I needed
                                              75
                                                 However, although Mr. DeJoy cited $4 billion in
                                                                                               n



        72
            U.S. Postal Service, Briefing with Senate Committee on Homeland Security and Governmental Affairs
and House Committee on Oversight and Reform Staff (Aug. 31, 2020).
         73
            Senate Committee on Homeland Security and Governmental Affairs, Examining the Finances and
Operations of the United States Postal Service During COVID-19 and Upcoming Elections, 116th Cong. (Aug. 21,
2020); U.S. Postal Service, Briefing with Senate Committee on Homeland Security and Governmental Affairs and
House Committee on Oversight and Reform Staff (Aug. 31, 2020).
         74
            U.S. Postal Service Office of Inspector General, Transportation Network Optimization and Service
Performance (Report 20-144-R20) (June 5, 2020) (https://www.uspsoig.gov/sites/default/files/document-library-
files/2020/20-144-R20.pdf).
         75
            Senate Committee on Homeland Security and Governmental Affairs, Examining the Finances and
Operations of the United States Postal Service During COVID-19 and Upcoming Elections, 116th Cong. (Aug. 21,
2020).


                                                      33
trips, $14 million for late trips, $130 million in overtime, and $140 million in air freight
mitigation.76 Postmaster General                      appear to have been focused on cost-cutting
based on an inflated estimate, and at a high cost to the American people in terms of delays.

             B. DeJoy did not consult with key stakeholders before making significant
                changes possibly in violation of the law

The Postal Reorganization Act of 1970 (PRA) and the Postal Accountability and Enhancement
Act of 2006 (PAEA) require that any changes the Postal Service intends to make that would
affect nationwide service be submitted to the Postal Regulatory Commission for an advisory
opinion, which includes a public hearing process. The laws require that:

        [W]hen the Postal Service determines that there should be a change in the nature of postal
        services that will generally affect service on a nationwide or substantially nationwide
        basis, it shall submit a proposal, within a reasonable time prior to the effective date of
        such proposal, to the Postal Regulatory Commission requesting an advisory opinion on
                       77



In a July 22 letter to Senator Peters, USPS General Counsel, Thomas Marshall stated that USPS


                                                        § 3661(b). None of the operational efforts


Multiple lawsuits have been filed recently that allege
changes to mail service and delivery violate procedural obligations under federal law.78
Specifically, the                                                                      eliminating
extra mail transportation trips, imposing reductions in overtime, changing mail sorting and
delivery policies in certain post offices, and reducing equipment at mail processing plants,
clearly had a nationwide impact on mail service and therefore falls within the requirments under
the PRA and PAEA. The lawsuits also allege that Postmaster General DeJoy failed to follow the
required processes before instituting these changes, thereby violating federal law.

In addition, the Postmaster General failed to consult key Postal Service stakeholders, particularly
the business community, about his decisions prior to implementation. According to business
groups, customers, and contracting partners of the Postal Service, Postmaster General DeJoy did
not meet with them or consult them about the proposed changes. In the past, Postmasters General
have discussed such changes with these key stakehodlers prior to implementation to obtain
valuable feedback. 79 Consultation with these stakeholders, as well as with unions, Congress, and

        76
            U.S. Postal Service Office of Inspector General, Transportation Network Optimization and Service
Performance (Report 20-144-R20) (June 5, 2020) (https://www.uspsoig.gov/sites/default/files/document-library-
files/2020/20-144-R20.pdf).
         77
            39 U.S.C. § 3661.
         78
            NAACP v. USPS and Louis DeJoy is pending in the District Court for the District of Columbia. The
second lawsuit, State of Washington v. Trump, USPS, and DeJoy, is pending in the Eastern District of Washington
State.
         79
            HSGAC staff conversations with stakeholders.


                                                       34
the general public, can provide key insights and prevent mistakes. As a public entity, the Postal
Service has an obligation to provide such transparency

             C. More changes to come           little sign of increased transparency

Postmaster General DeJoy has admitted that he is considering future changes to the Postal
Service that could harm postal customers nationwide. Recent reports on internal Postal Service
discussions80 revealed that DeJoy has proposed changes including: changing service standards,
which would permanently create slower standards for mail; reducing nonprofit discounts;
increasing prices on competitive products including packages; leasing postal facility space for
commercial purposes; changing pricing for Alaska, Hawaii, and Puerto Rico; and eliminating
Alaska bypass mail. These changes would dramatically decrease service and increase costs for
people who rely on the mail, disproportionately affecting rural areas and particular locations.

When asked about these proposals at the Homeland Security and Governmental Affairs
Committee hearing on August 21, Postmaster General DeJoy admitted that he is
                         ostal Service, including these changes.

             D. Election Mail

Delays and mail backups have sparked fears that the Postal Service may not be able to handle
unprecedented high volumes of election mail in the 2020 general election. During the acute drop
in on-time delivery in July, some Americans reported delays in their election mail. For example,
as described above, one individual from Big Bay, Michigan, filled out and mailed in her ballot
for the August primary election as soon as she received it, but found out it was not received by
the township until after the election. In another instance, postal workers reported finding
absentee ballots that had been postmarked before a primary election, but were found after the
election in stacks of mail that had been delayed in a processing plant.81 Any continued delays

processing procedures.

The Postal Service has robust procedures in place to ensure election mail is delivered quickly. In
                                                                       82
                                                                          the Postal Service
provided documentation of these procedures, including employee instructions (service talks) and
operations manuals distributed in 2020. These include instructions for delivering ballots even if
the postage is unpaid or shortpaid, making sure all return ballots are postmarked by machine or




        80
            Postmaster general eyes aggressive changes at Postal Service after election, Washington Post (Aug. 20,
2020) (https://www.washingtonpost.com/business/2020/08/20/us-postal-service-louis-dejoy).
         81
            HSGAC staff conversations with postal workers.
         82
            Senate Committee on Homeland Security and Governmental Affairs, Examining the Finances and
Operations of the United States Postal Service During COVID-19 and Upcoming Elections, 116th Cong. (Aug. 21,
2020); Letter from Ranking Member Gary C. Peters et al. to Louis DeJoy, Postmaster General and Chief Executive
Officer, U.S. Postal Service (Aug. 5, 2020); Letter from Ranking Member Gary C. Peters et al. to Louis DeJoy,
Postmaster General and Chief Executive Officer, U.S. Postal Service (Aug. 12, 2020).


                                                        35
by hand, running daily all-clears to certify that all election mail is moved out each day, and
logging the movements of election mail. 83

In testimony before Congress, the Postmaster General committed to following existing election

all election mail under the fastest service standard, similar to First-Class mail. 84 At the August 21
Homeland Security and Governmental Affairs Committee hearing, Senator Peters asked Mr.

expeditiously as possible, and treated like First-
deploy the processes and procedures that advance any election mail, in some cases ahead of
First-                                                                          5 percent of

meeting the First-Class service standard.85


ability to enforce these procedures, particularly if there are mail delays or diminished capacity. 86

procedures were not fully carried out and enforced in all facilities during the May and June
primaries. The OIG recommended the Postal Service fully enforce these procedures and more
clearly designate who is responsible for enforcement.87 Delays or diminished processing capacity
could exacerbate these problems, although the Postal Service is generally capable of handling
high mail volumes.
Service processed approximately 2.5 billion pieces of First-Class and Marketing Mail per week,
the same types of mail used for election mailings. 88 In the 2020 general election, about 209
million voters are eligible to vote by mail, 89 which would generate 518 million mailings over a

         83
             U.S. Postal Service, Processing Operations Management Order: 2020 Political and Election Mail
Policies and Procedures (July 29, 2020); David E. Williams, Chief Operating Officer and Executive Vice President,
U.S. Postal Service, Postmarks on Ballots (July 2, 2020); U.S. Postal Service, Processing Operations Management
Order: 2020 Election Mail Service Talk (Feb. 2020)
          84
             Although some states use Nonprofit Marketing Mail to send outgoing mail to voters, which carries a
cheaper rate as well as a longer service standard of 3-10 days compared to 2-5 days for First-Class mail, the Postal
Service has historically processed all election mail according to a higher standard that meets or exceeds that of First-
Class mail. See U.S. Postal Service Office of Inspector General, Service Performance of Election and Political Mail
During the 2018 Midterm and Special Elections (19XG010NO000-R20) (Nov. 4, 2019)
(https://www.uspsoig.gov/sites/default/files/document-library-files/2019/19XG010NO000.pdf).
          85
             Senate Committee on Homeland Security and Governmental Affairs, Examining the Finances and
Operations of the United States Postal Service During COVID-19 and Upcoming Elections, 116th Cong. (Aug. 21,
2020).
          86
             Letter from Ranking Member Gary C. Peters et al. to Louis DeJoy, Postmaster General and Chief
Executive Officer, U.S. Postal Service (Aug. 5, 2020); Letter from Thomas J. Marshall, General Counsel and
Executive Vice President, U.S. Postal Service, to Ranking Member Gary C. Peters et al. (Aug. 14, 2020).
          87
             U.S. Postal Service Office of Inspector General, Processing Readiness of Election and Political Mail
During the 2020 General Elections (20-225-R2) (Aug. 31, 2020)
(https://www.uspsoig.gov/sites/default/files/document-library-files/2020/20-225-R20.pdf).
          88
             In Q1 2020 (Oct.-Dec. 31 2019), USPS processed 14.3 billion pieces of First-Class Mail, and 20.3 billion
pieces of Marketing Mail (34.6 billion pieces of mail over a 14-week period, or approx. 2.5 billion pieces per week
on average). See U.S. Postal Regulatory Commission, Quarter I, 2020 Report on Form 10-Q (Feb. 6, 2020)
(https://about.usps.com/what/financials/financial-conditions-results-reports/fy2020-q1.pdf).
          89
             Where Americans Can Vote by Mail in the 2020 Elections, New York Times (Aug. 14, 2020)
(https://www.nytimes.com/interactive/2020/08/11/us/politics/vote-by-mail-us-states.html).


                                                          36
two-month period if every eligible voter uses this option to receive and send back a ballot.
However, it is critical that the Postal Service fully utilize this capacity, ensure each location is
ready to handle the volume, and enforce procedures to quickly move election mail.

The Postal Service has also struggled to closely coordinate with state and local election officials.
While USPS employs 76 full-time Election Mail Coordinators who are tasked to assist local
officials, a July 2020 Inspector General report identified gaps in this coordination and made
recommendations to improve it.90 This problem emerged again recently when USPS began to
send a national mailing to all households with information about election mail. While the mailing
contained broad advice including
your election b                                      , it also contained directions that do not apply in
                      request your mail-               at least 15 days
inapplicable in states that mail all voters a ballot. The Postal Service reportedly did not consult
with state and local officials prior to finalizing this mailing. 91 USPS could easily have edited the
mailer to correct these misleading statements, while maintaining its plans for this informative
national mailing.

After facing pressure from Congress to ensure election mail performance and improve
coordination with states, the Postal Service Board of Governors created an Election Mail
                                                           operations and coordinating with
stakeholders     ensure that            part of this election process is implemented in the most
effective way possible. 92 USPS also established a new website for the public with information
about election mail: http://usps.com/votinginfo. While the Postal Service has made some
commitments and taken action in response to congressional concerns, this Committee will
continue to monitor whether USPS will eliminate delays, prepare each facility for election mail
volumes, and enforce procedures to quickly deliver election mail.




        90
             Letter from Thomas J. Marshall, General Counsel and Executive Vice President, U.S. Postal Service, to
Ranking Member Gary C. Peters et al. (Aug. 14, 2020); U.S. Postal Service Office of Inspector General,
Management Alert: Timeliness of Ballot Mail in the Milwaukee P&DC Service Area (20-235-R20) (July 7, 2020)
(https://www.uspsoig.gov/sites/default/files/document-library-files/2020/20-235-R20.pdf).
          91
             Federal judge blocks USPS from sending mailers containing incorrect voting information to Coloradans,
Denver Post (Sept. 12, 2020) (https://www.denverpost.com/2020/09/12/jena-griswold-usps-lawsuit-election-
misinformation).
          92
             U.S. Postal Service: USPS Board of Governors Announces Bipartisan Election Mail Committee (Aug.
21, 2020).


                                                       37
                                         CONCLUSION

Postmaster General DeJoy directed operational changes at the Postal Service that slowed mail
service across the country beginning in July 2020, delaying critical mail and causing real harm to
Americans. On-time delivery dropped precipitously in every region across the nation, with tens
of millions of pieces of mail delayed in a single week due to the
The delays have continued for months, and service performance has still not fully recovered.
Postmaster General DeJoy made these changes, including abruptly cutting extra and late trips,
without regard to their potential negative impact on postal customers, and despite available
evidence that the changes could cause delays. He was not transparent with the public, Congress,
or key stakeholders about his decisions and has continued to downplay their damaging effects.
Postmaster G                                                                        seniors,
veterans, small businesses, people living paycheck to paycheck, and many others across the
country.

The Postal Service must cease and reverse any actions that are causing mail delays. Congress
should continue to hold Postmaster General DeJoy accountable by passing the Delivering for
America Act, to prevent any further changes that could harm service during the COVID-19
pandemic. The Postmaster General must recognize the harm he has done and most importantly,
swiftly restore on-time delivery of medications, checks, bills, critical goods, and all mail. The
Postal Service also must follow each of its policies and practices for swiftly delivering election
mail, which requires eliminating delays and backups. Postmaster General DeJoy must be
transparent about all actions he is taking, and ensure that he is capable of maintaining a Postal
Service that serves the American people.




                                                 38
APPENDIX




  A-1
A-2
A-3
Exh. A-21
Exh. A-21
Title          Author. “Postal Crisis Ripples Across Nation as Election Looms.” Periodical,
               18 Aug. 2020.
URL            https://www.nytimes.com/2020/08/15/us/post-office-vote-by-
               mail.html?auth=login-email&login=email
“The USPS] has warned states that it may not be able to meet their deadlines for delivering
last-minute ballots. And this week, Mr. Trump said he opposed new postal funding because of
his opposition to mail-in voting, which he complains will benefit Democrats and claims —
without evidence — is riddled with fraud. At risk are not just the ballots — and medical
prescriptions and paychecks — of residents around the country, but also the reputation of the
Postal Service as the most popular and perhaps the least politicized part of the federal
government.”
Postal Crisis Ripples Across Nation as Election Looms - The New York...   https://www.nytimes.com/2020/08/15/us/post-office-vote-by-mail.html?a...




1 of 12                                                                                                                       9/20/2020, 9:36 PM
Postal Crisis Ripples Across Nation as Election Looms - The New York...   https://www.nytimes.com/2020/08/15/us/post-office-vote-by-mail.html?a...




2 of 12                                                                                                                       9/20/2020, 9:36 PM
Postal Crisis Ripples Across Nation as Election Looms - The New York...   https://www.nytimes.com/2020/08/15/us/post-office-vote-by-mail.html?a...




3 of 12                                                                                                                       9/20/2020, 9:36 PM
Postal Crisis Ripples Across Nation as Election Looms - The New York...   https://www.nytimes.com/2020/08/15/us/post-office-vote-by-mail.html?a...




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Postal Crisis Ripples Across Nation as Election Looms - The New York...   https://www.nytimes.com/2020/08/15/us/post-office-vote-by-mail.html?a...




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Postal Crisis Ripples Across Nation as Election Looms - The New York...   https://www.nytimes.com/2020/08/15/us/post-office-vote-by-mail.html?a...




6 of 12                                                                                                                       9/20/2020, 9:36 PM
Postal Crisis Ripples Across Nation as Election Looms - The New York...   https://www.nytimes.com/2020/08/15/us/post-office-vote-by-mail.html?a...




7 of 12                                                                                                                       9/20/2020, 9:36 PM
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8 of 12                                                                                                                       9/20/2020, 9:36 PM
Postal Crisis Ripples Across Nation as Election Looms - The New York...   https://www.nytimes.com/2020/08/15/us/post-office-vote-by-mail.html?a...




9 of 12                                                                                                                       9/20/2020, 9:36 PM
Postal Crisis Ripples Across Nation as Election Looms - The New York...   https://www.nytimes.com/2020/08/15/us/post-office-vote-by-mail.html?a...




10 of 12                                                                                                                      9/20/2020, 9:36 PM
Postal Crisis Ripples Across Nation as Election Looms - The New York...   https://www.nytimes.com/2020/08/15/us/post-office-vote-by-mail.html?a...




11 of 12                                                                                                                      9/20/2020, 9:36 PM
Exh. A-22
Exh. A-22
Title            Scheck, Tom; Hing, Geoff; and Hall Dee. “Postal delivery scores in five
                 battleground states are missing targets as mail voting increases.” APMReports,
                 12 Aug. 2020.
URL              https://www.apmreports.org/story/2020/08/12/postal-delivery-scores-
                 battleground-states-mail-voting
“Based on its own performance measures, the U.S. Postal Service has its work cut out for it
before Election Day. Among the 13 postal districts serving key presidential battleground
states, four failed to meet any on-time service goals handling first-class mail between April 1
and June 30, and six districts achieved only one.”
Postal delivery scores in five battleground states are missing targets as ma... https://www.apmreports.org/story/2020/08/12/postal-delivery-scores-batt...




          Large cities in key states — Philadelphia, Detroit, Milwaukee — have sub-par delivery records; a former
          deputy postmaster general estimates tens of thousands of mailed ballots will be at risk for late delivery.

          August 12, 2020 | by Tom Scheck, Geoff Hing, and Dee J. Hall




8 of 29                                                                                                                              9/20/2020, 9:45 PM
Postal delivery scores in five battleground states are missing targets as ma... https://www.apmreports.org/story/2020/08/12/postal-delivery-scores-batt...




                  Election official Jim Fortner places a crate of sorted absentee ballots with others from the same
                  ward at the Madison, Wisconsin, City-County Building on Aug. 5, 2020. Madison elections
                  workers alphabetized each returned absentee ballot by hand in preparation for Wisconsin’s
                  partisan primary on Tuesday. Delays and failure to deliver absentee ballots in Wisconsin and
                  other key swing states have sparked concerns about how well the November presidential election
                  will be managed during the pandemic. Will Cioci | Wisconsin Watch

          This story was co-published with Wisconsin Watch.


          Based on its own performance measures, the U.S. Postal Service has its work cut out for it before Election
          Day.

          Among the 13 postal districts serving key presidential battleground states, four failed to meet any on-time
          service goals handling first-class mail between April 1 and June 30, and six districts achieved only one.




          The laggards are in, or in parts of, five battleground states — Pennsylvania, Michigan, Florida, Wisconsin
          and North Carolina — politically competitive blends of urban and rural voters that will likely determine the
          presidential election. The postal service district serving Arizona, also expected to be a highly competitive



9 of 29                                                                                                                              9/20/2020, 9:45 PM
Postal delivery scores in five battleground states are missing targets as ma... https://www.apmreports.org/story/2020/08/12/postal-delivery-scores-batt...


           state but with voters who typically vote by mail, hit both delivery targets.

           Three of the postal districts that missed both targets represent the largest metropolitan areas in their
           respective states — Philadelphia, Detroit and Milwaukee, Democratic strongholds in states that propelled
           Donald Trump to victory in 2016.

           The 13 districts were not outliers compared to the rest of the country. More than half of the nation’s 67 postal
           districts failed to meet any first-class mail delivery goals and 23 only met one. And the below-par delivery
           performance in districts representing parts of Wisconsin, Michigan, and Florida — where the presidential
           campaigns are spending millions — continues a trend: They have missed targets more often than many other
           districts across the country since the end of 2016.




             NOTE: The postal service measures performance by comparing the measured time it takes to deliver a
             piece of mail with a service standard that's based on where a letter is mailed and its destination. These
             charts show on-time percentage scores for the overnight and two-day delivery standards of Presort First-
             Class Mail. The fiscal year 2020 service goals are 96.8% for mail assigned an overnight delivery
             standard and 96.5% for mail assigned a two-day standard. The postal service changed its data collection
             practices in fiscal year 2019. As a result, care should be taken when comparing quarterly scores from


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             fiscal year 2019 onward with previous quarters. SOURCE: Quarterly Service Performance Reports, U.S.
             Postal Regulatory Commission

           Any other year, perhaps any other election year, a steady underperformance of mail delivery in swing states
           would go unnoticed. This year, though, the arcane, unremarkable metrics — Service Performance
           Management Data — have taken on outsized importance: They may foreshadow the hot spots of a ballot
           counting controversy on Election Day and the days that follow.

           “I believe it is highly likely that in the November General Election, the absentee ballots of at least tens of
           thousands of voters will arrive at election offices after Election Day and will not be counted unless the Ballot
           Receipt Deadline is extended,” wrote Ronald Stroman, the Deputy Postmaster General of the United States
           Postal Service from 2011 until June 1, in a recent court filing challenging the Wisconsin deadline for ballot
           submission.

           Democrats, in particular, are worried about on-time mail arrival deadlines in other states, as well. While some
           allow for mailed ballots to be accepted if postmarked on Election Day, other battleground states —
           Pennsylvania, Michigan and Florida — require ballots to be in the hands of elections officers on Election
           Day. Lawyers representing voting rights and civil rights groups are suing to allow ballots to count even if the
           ballot envelopes are postmarked on Election Day.

           APM Reports analyzed performance data made public Monday night by the U.S. Postal Service.

           Compared to the same period one year ago and to the first three months of 2020, on-time mail delivery
           nationally is suffering as a result of the coronavirus pandemic, presenting a worrisome picture of how mail
           service could be hindered as a rapidly rising number of people choose to steer clear of COVID-19 and vote-
           by-mail in November.

           “When I have people telling me that they're going days without getting mail, that makes me nervous,” said
           Tina Barton, city clerk for Rochester Hills, Michigan. Her anecdotal evidence is confirmed by the data from
           Detroit’s postal district in the last quarter, which reported the second worst on-time scores in the nation. The
           on-time delivery of Michigan’s other postal district, which represents the western and northern parts of the
           state, was also near the bottom in the last quarter.




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             NOTE: The postal service measures performance by comparing the measured time it takes to deliver a
             piece of mail with a service standard that's based on where a letter is mailed and its destination. These
             charts show on-time percentage scores for the overnight and two-day delivery standards of Presort First-
             Class Mail. The fiscal year 2020 service goals are 96.8% for mail assigned an overnight delivery
             standard and 96.5% for mail assigned a two-day standard. The postal service changed its data collection
             practices in fiscal year 2019. As a result, care should be taken when comparing quarterly scores from
             fiscal year 2019 onward with previous quarters. SOURCE: Quarterly Service Performance Reports, U.S.
             Postal Regulatory Commission

           There’s also worry — mostly among Democrats — that on-time delivery could become even worse if U.S.
           Postmaster General Louis DeJoy’s recent management changes continue. After only three months on the job,
           he has ended overtime and insisted that trucks leave on time even if mail isn’t fully loaded. The concern is
           shared by people who study the post office, the head of a union representing 200,000 current and retired
           postal workers, and voting experts.

           “There’s always been a sense that the postal system will be there in a nonpartisan way to deliver the mail,”
           said Edward B. Foley, election law director at the Moritz College of Law at The Ohio State University. “This
           is the first time in my experience of studying elections that there’s a genuine fear that the postal system will
           be manipulated in a subversive way.”

           A spokeswoman for the United States Postal Service declined an interview request but issued a statement
           saying, “The United States Postal Service is committed to fulfilling our role in the electoral process when
           public policy makers choose to utilize us as a part of their election system.” She also pointed APM Reports to
           recent remarks by DeJoy where he said delivery standards that have been in place for many years have not
           changed.

           The APM Reports analysis also reinforces anecdotal claims that mail delivery has slowed in some cities.
           Over the past decade, the consolidation of postal service processing centers now means mail can sometimes
           travel hours for processing and sorting even if the destination is blocks away from where it was mailed.


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           Concerns over mail delivery are coming alarmingly true in Wisconsin, where election officials continue to
           have problems with ballots not being delivered to voters. Nearly 700 voters in the cities of Milwaukee and
           Wauwatosa did not receive ballots they requested in late June for Tuesday’s primary.

           The previously unreported missing deliveries follow April’s breakdown when thousands of ballots weren’t
           delivered during the state’s primary.

           Wisconsin voters, like those in much of the country, continue to request absentee ballots in record numbers
           through the mail or in person: 894,786 absentee ballots were issued for the August primary — a nearly 800
           percent increase over the number of ballots issued in 2016.

           The U.S. Postal Service says voters should mail their ballots at least a week before Election Day to ensure
           on-time delivery, and to request their ballots at least a week before that.

           But that advice is meaningless if voters can still request mail-in ballots — also known as absentee ballots —
           within a week of Election Day. Twenty-four states have laws that allow voters to request an absentee ballot
           during that time, a potential problem for voters who may think they have time to get the ballot in the mail and
           send it back.




                  A United States Postal Service carrier in Philadelphia makes a delivery with gloves and a mask.
                  Matt Rourke | AP

           Another batch of missing ballots in Wisconsin

           Every three months, the U.S. Postal Service releases data that shows on-time delivery for different classes of
           mail.

           Nationally, the volume of first-class mail delivery has declined by more than 1.6 billion pieces from the
           previous quarter because of the pandemic, postal officials say. Still, more than 8.3 billion pieces of first-class
           mail were processed between April 1 and June 30. Of those letters — 7.5 billion — met service performance
           standards, meaning 800 million were late.




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           Because the postal service does not publish performance data for election mail, APM Reports analyzed the
           on-time percentage scores for first-class mail, the type of mail recommended by the postal service for mailed
           ballots. Reporters then compared the scores with the postal service’s targets, which are based on the source
           and destination of mail. APM Reports focused on the overnight and two-day delivery standards, which are
           likely to be applied to mail sent and received locally.

           On-time mail delivery mattered during Wisconsin’s April primary. In addition to the failed delivery of
           thousands of ballots to voters, 81,000 ballots were delivered after the primary, according to the Wisconsin
           Election Commission. Of those, 79,054 ballots were only accepted because of a court ruling.

           And while the pandemic may have recently slowed mail delivery across the country, the postal district
           representing eastern and southern Wisconsin has rarely met targets for on-time mail delivery and has often
           had scores below the national level since late 2016.

           The recent quarterly performance data, captured during the height of Gov. Tony Evers shutdown order,
           confirms what thousands of Wisconsin voters learned since the April primary: The postal service does not
           always meet its own benchmarks. Despite pledges to fix the problems that occurred in April, some ballots are
           still not being delivered.




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                  Wauwatosa, Wisconsin, resident Aliza Werner was among more than 400 voters in that
                  Milwaukee suburb who did not receive requested absentee ballots for Tuesday’s statewide
                  partisan primary. Wauwatosa officials sent the ballots again after being alerted to the problem.
                  Werner says she dropped her ballot off at Wauwatosa City Hall to make sure it was received. She
                  worries postal mix-ups could jeopardize the results of the November election. Submitted photo

           Aliza Werner and her husband, Nick, are regular voters but very cautious about going out in public during the
           pandemic. The couple from Wauwatosa, Wisconsin requested absentee ballots June 25 — six weeks before
           the election — for Tuesday’s partisan primary.

           Werner says she kept checking the website operated by the Wisconsin Elections Commission for the status of
           their ballots. In June, clerks were able to print barcodes on outgoing ballot mailings that would allow the
           ballot to be tracked as it traveled through the mail.

           “At one point where it said it was in process or was submitted, it was approved, they were preparing it — and


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           it never went beyond that,” Werner recalled.

           When ballots didn’t arrive after a month, Werner called the Wauwatosa City Clerk’s Office and was told their
           ballots had been in a batch that never made it to voters’ homes.

            “(The clerk) said that our ballots have been sent out so on their end, they had fulfilled the request,” Werner
           said. “The only thing that they could think of was that something happened within the postal service, that
           they were not mailed to us.”

           The couple ordered new ballots, which arrived after a few days. Werner says she dropped them off at
           Wauwatosa City Hall to make sure they arrived.

           Werner has been voting absentee on and off for years. But she’s now worried about how well Wisconsin will
           manage the November election. “I know that there are going to be a whole lot more people that are going to
           be requesting absentee ballots for the elections in November,” she said.

           In Wauwatosa, less than 10 miles west of downtown Milwaukee, a spokeswoman confirmed that 421 ballots
           mailed in late June to residents there were never delivered. Elections officials aren’t sure if the postal service
           or the city’s mail vendor is at fault. A mail vendor places postage and tracking information on the envelopes
           for the city. The city clerk canceled the initial ballots and mailed another batch of ballots to the affected
           voters.

           Approximately 270 ballots mailed by the city of Milwaukee on June 29 also went missing. They were
           accounted for when they were handed over to the vendor, said Claire Woodall-Vogg, director of the
           Milwaukee Election Commission. She said they investigated but couldn’t determine the breakdown.

           Woodall-Vogg says the affected ballots were canceled and new ballots were sent to voters. In November, the
           city will hand deliver the ballots to the postal service to ensure there are no problems with a third-party
           vendor, she said.




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                       Scott Botcher
                       @sbotcher

             Another day. Another box returned.
             @USPS




             Fox Point, Wisconsin, Village Manager Scott Botcher sent out this tweet on Election Day, April 7, 2020,
             after he went to the local post office repeatedly to mail absentee ballots that were returned to the village.
             The U.S. Postal Service’s Inspector General found multiple human and technological factors caused
             delay and misdelivery of about 160 absentee ballots from the village.

           The missing ballots in Wauwatosa and Milwaukee come just months after the postal service was criticized for
           how it handled mail-in ballots during the April primary.

           On the day of the primary after the polls closed, the postal service discovered three tubs of ballots at the city’s
           processing center that were mailed to voters roughly 100 miles outside Milwaukee. Postal service employees
           also failed to deliver ballots to voters in another Milwaukee suburb and repeatedly returned the mailings
           without explanation.

           The postal service says it is meeting regularly with elections officials to discuss election mail and ballot
           design and will take steps to ensure better monitoring of election mail. In addition to the barcodes now added
           to many outgoing Wisconsin ballots, the state also plans to issue absentee ballot applications to every
           registered voter to help take the workload off local elections officials and encourage voters to request a ballot
           sooner.

           Wisconsin’s elections are managed by 1,850 municipal election officials and 72 county election officials. It’s
           considered the most decentralized state for election administration.

           Some of those election managers are worried that the problems with mail delivery in the primaries will
           continue in November. “I’ve been assured by our district manager that they will be doing everything they can
           to make sure all the mail gets delivered timely,” said Barb Goeckner, an official with the village of
           Cambridge.


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           But Goeckner, who chairs a U.S. Elections Assistance Commission subcommittee that discusses election-
           related postal service issues, said she’s also wary of the recent operational changes enacted by DeJoy that
           could lead to slower mail delivery.

           “Eventually, there’s going to be hiccups along the way. And I have to say that that is a very big concern
           across the nation for postal mail, and election mail,” she said.

           Stroman, in his court filing, warned that Wisconsin’s problems with mailed ballots will continue unless the
           ballot deadline is changed. “My experience with voting by mail and my extensive work with elections
           officials leads me to conclude that Wisconsin’s Spring Election is a predictor of what may occur in
           Wisconsin’s November General Election, absent necessary changes,” he wrote.




                  An excerpt from the declaration of Ronald Stroman. Full document

           Postal service changes could result in mail slowdown

           Earlier this month, more than 1.6 million Michigan voters set an Election Day record in the state by returning
           absentee ballots through the mail, an election drop box or at a clerk’s office for the August 4 primary.

           Elections officials predict the record to be broken again in November if worries over the spread of the
           coronavirus don’t subside. And the avalanche of votes not cast in person has some election officials worrying
           about delivery problems.

           In Lansing, Michigan, mail is processed 65 miles away in Grand Rapids, said Chris Swope, the city clerk.
           While the consolidation saves money, it can be a problem for voters who wait until the last minute to put their
           ballot in the mail. “It used to be in Lansing, if you mailed it today, the person in Lansing would get it
           tomorrow and that’s generally not true anymore,” Swope said.

           DeJoy, who was appointed by the USPS Board of Governors in May, says that the post office should not be
           blamed if state laws allow voters to request and return an absentee ballot that falls outside of the postal
           service’s guidelines. He also pledged that the postal service could meet the expected demand.

           “Although there will likely be an unprecedented increase in election mail volume due to the pandemic, the
           postal service has ample capacity to deliver all election mail securely and on time in accordance with our
           delivery standards, and we will do so,” he said.

           But his push to overhaul the postal service is what troubles Democrats and voting rights groups. Before he


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           was appointed, DeJoy was a major donor to President Trump and the Republican National Committee. The
           president has repeatedly criticized the postal service and has pushed for higher package fees for Amazon and
           other shippers. He also repeatedly criticizes by-mail voting.

           Critics worry that DeJoy’s attempts to curtail postal service spending is an underhanded attempt to slow
           down mail delivery during the presidential election. They say it could affect last-minute voters who decide to
           request an absentee ballot.

           “It’s more likely now that we will be impacted by these delays under this new directive than in the past when
           we were already concerned with delivery standards,” said Tammy Patrick, an elections mail expert and senior
           adviser to the Democracy Fund.

           Patrick says she’s encouraging election managers to set up drop boxes to ensure voters have other options.
           But they may not be everywhere. For example, President Trump’s campaign is suing to prevent the use of
           drop boxes in Pennsylvania.

           Officials with the unions representing postal service employees say DeJoy’s efforts to curtail overtime will
           slow down the delivery of by-mail ballots. “It's not going to undermine the integrity of the ballot, the safety
           of the ballot or the privacy of the ballot,” said Mark Dimonstein, president of the American Postal Workers
           Union. “But it's certainly going to make it more challenging for the states who run elections.”

           Some voting rights groups aren’t taking any chances. A voting rights advocate in North Carolina says she’s
           worried about her state’s lack of experience with by-mail voting along with worries over delays in mail
           delivery. She’s telling voters to avoid by-mail voting and is pushing early voting at non-peak times to ensure
           social distancing.

           “Things get lost in the mail,” said Allison Riggs, interim executive director and chief counsel of voting rights
           at the North Carolina-based Southern Coalition for Social Justice. “And we're suddenly talking about
           potentially hundreds of thousands of new things to be in the mail.”

           Tom Scheck




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Exh. A-23
Exh. A-23
Title           Frankel, Todd. “Postal problems could continue despite suspension of policies
                blamed for mail delays.” Washington Post, 18 Aug. 2020.
URL             https://www.washingtonpost.com/business/2020/08/19/postal-problems-could-
                continue-despite-suspension-policies-blamed-mail-delays/
“The political heat of the summer of 2020 — filled with worries about mail-in voting — has
thrown the Postal Service into crisis. The agency’s reputation, the best of any federal agency,
is now at stake as Americans more loudly voice their frustration about delayed prescriptions,
late bills and undelivered packages, along with fears of alleged political interference by a new
Republican postmaster general and President Trump, compromising not just everyday mail but
also mail-in ballots this fall.”
Postal problems could continue despite suspension of
policies blamed for mail delays
Slow mail and political warfare — and the pandemic — have thrown the agency into crisis.

Todd C. Frankel
August 19, 2020 at 7:12 p.m. EDT
Add to list

Dennis Beach began noticing the delays in July. That’s when the mail-order prescriptions needed
to treat his high blood pressure and help him sleep at night started arriving late from a
Department of Veterans Affairs pharmacy. A five-day delay. Even two weeks, he says. It has
been nerve-racking at times waiting for the mail carrier to arrive.

“Usually I order it online, and I don’t have any trouble,” said Beach, a Navy veteran who lives in
Gaylord, Mich. “But the way the mail is these days, you don’t know when you’re going to get
your stuff.”

The political heat of the summer of 2020 — filled with worries about mail-in voting — has
thrown the Postal Service into crisis. The agency’s reputation, the best of any federal agency, is
now at stake as Americans more loudly voice their frustration about delayed prescriptions, late
bills and undelivered packages, along with fears of alleged political interference by a new
Republican postmaster general and President Trump, compromising not just everyday mail but
also mail-in ballots this fall.

Reports of postal problems surged in recent weeks and appeared to run from rural routes in the
nation’s heartland to cities up and down both coasts. Antidepressants suddenly held up in the
mail for nine days on Long Island. A roof warranty claim in California that did not reach its
destination in time. Complaints have poured in to politicians. The office of Sen. Robert P. Casey
Jr. (D-Pa.) office said this week that it has received more than 15,000 letters about mail delivery
concerns.

“We’re getting horrible reports out there,” said Mark Dimondstein, president of the American
Postal Workers Union. “It’s very discouraging.”

The question now is whether the problems will abate after Louis DeJoy, the new postmaster
general, suspended on Tuesday actions the Postal Service was undertaking, including removing
mail sorting machines and limiting overtime, that had been blamed for exacerbating delays.


https://www.washingtonpost.com/business/2020/08/19/postal-problems-could-continue-despite-
suspension-policies-blamed-mail-delays/
But it’s not clear how much of a difference the moves will make.
According to private data, this summer’s mail woes appear to be only slightly worse than they
were last year — and the delivery may be more related to the coronavirus pandemic. From July 1
through Aug. 15 — the period when DeJoy’s new policies were going into effect — 31 percent
of mail was late, compared with the 26.5 percent from January to June, according to GrayHair
Software, a leading provider of mail tracking data.
And this year, 27 percent of tracked mail was considered late, compared with 23 percent over the
same period in 2019. But delivery woes were worse in the first part of 2020 — just as the
pandemic hit — than during the summer, when compared with the same periods last year.
GrayHair Software is one of the companies that tracks the speed of U.S. mail using “intelligent
mail” bar codes on many letters and packages, providing detailed data on the movement from
drop-off to delivery for the majority of mail traffic, including bank statements, nonprofit
solicitations and retail catalogues.
The average delay for late mail is one to two days, the company said.
Bar code tracking is considered by many mail-dependent businesses to be more sensitive and up
to date than the Postal Service’s own on-time performance data, which in its most recent release
showed a long-running decline in on-time mail through June 30.
“There doesn’t appear to be a systemic problem,” said Angelo Anagnostopoulos, vice president
of postal affairs for GrayHair Software.
The problem may appear to be significantly worsening because people are suddenly paying close
attention to it, he said.
“We can say with surety we have not seen a systemic degradation in service,” added an official
with another mail tracking firm, Intelisent, who spoke on the condition of anonymity to discuss
internal data.
Other key trade groups, prescription delivery companies and organizations that depend on timely
delivery of the mail also say that they have not noticed a major deterioration in mail service.
The mail-tracking data underscores the fragility of the nation’s trust in the Postal Service, and
how even scattered reports of postal problems can shape public perceptions. Even if most mail-in
ballots this fall are delivered without a hitch, the slightest problem, in a swing state, could throw
the nation into a crisis.
Such concerns intensified after DeJoy, a top Trump ally, became postmaster general earlier this
year. DeJoy this summer took actions described as getting the agency on firmer financial footing,
including limiting overtime, post office hours, extra delivery trips and other steps the service had
traditionally taken to ensure timely delivery.
Trump has acknowledged that he is seeking to limit the Postal Service’s ability to deliver ballots
this fall.


https://www.washingtonpost.com/business/2020/08/19/postal-problems-could-continue-despite-
suspension-policies-blamed-mail-delays/
Facing public outcry, congressional scrutiny and lawsuits by states, the Postal Service announced
Tuesday that it is suspending cost-cutting moves until at least after the November election.
Anagnostopoulos said it appearsDeJoy’s new policies have contributed to some new delays, but
most of the problem appeared to be driven by “edge cases” — places hit hard by the coronavirus,
such as a mail-processing site in Louisiana that at one point earlier this year lost most of its
workforce for a brief period.
The Postal Service faced other pandemic-related problems. The agency warned in April that
covid-19 would cause priority mail’s two- to three-day service commitment to be extended to up
to four days. In May, an outbreak temporarily closed a mail facility in Denver that services
Colorado and Wyoming. More than 25,000 postal workers had been quarantined by early June,
according to the National Association of Letter Carriers.
Anagnostopoulos said he understood the attention on the problem. A late prescription or missing
letter can have big consequences.
“But when you look at it aggregate,” he said, “it’s not that bad.”
Still, reports from ordinary Americans and postal worker representatives — flooding social
media and appearing on front pages of newspapers nationwide — have stoked concern.
Ken Carroll, who lives outside Boston, said mail-order prescriptions that once arrived in two
days suddenly took 10.
The Costco pharmacy prescription that normally took two or three days via the Postal Service to
reach Max White, who lives near Frederick, Md., recently required eight.
“It’s not Christmas. So I don’t know what’s going on,” White said. “But it undermines
confidence in the mail.”
Costco declined to comment.
In Albuquerque, Laura Wofford said she is still waiting for packages that should have arrived
several days ago.
In Norman, Okla., accountant Stephanie Smart said her usually reliable mail service took a
sudden turn for the worse in July. Paperwork from tax clients mailed to her never showed up,
forcing her to file for extensions. She never received four bank statements and one monthly bill.
And her mailbox has been empty on at least three days — something that seemed unusual
considering the flood of mail she usually receives.
“Everything was working great until July,” Smart said.
Postal workers, too, have noticed new problems.
Lori Cash, who works at a post office outside Buffalo, said mail has been piling up, causing
delays for rural communities.
“We’re seeing some Zip codes that haven’t received mail in a couple days,” she said.

https://www.washingtonpost.com/business/2020/08/19/postal-problems-could-continue-despite-
suspension-policies-blamed-mail-delays/
In Tampa, postal clerk Annette Castro said mail is not being delivered as quickly as it used to be.
She attributed the problems to DeJoy’s order that mail delivery trucks depart on time rather than
waiting for all of that day’s mail to be loaded.
“Mail is being left on the dock,” Castro said. “We are short people, because they’re not hiring. I
do see mail starting to get backed up.”
Supporters of DeJoy’s changes said the new rules are necessary for an agency that has been
under financial pressure from declining volume and rising competition. U.S. mail volume peaked
in 2006 at more than 200 billion pieces. It is now down to fewer than 150 billion pieces a year.
At the same time, the Postal Service delivers to more addresses than ever.
But the extent of the current delivery problems — where blames lies — is difficult to ascertain.
Some mail-order prescription companies said their operations have not been severely affected.
CVS Pharmacy said in a statement that it “has not been affected by service delays” for its local
mail-order prescription deliveries. Express Scripts, the nation’s largest mail-order pharmacy, also
is “not currently experiencing any unusual delays in deliveries,” according to a company
statement.
But many heavy users of the Postal Service said they have not experienced problems.

“We’re not seeing anything out of the ordinary at this point,” said Steve Kearney, president of
the Alliance for Nonprofit Mailers, whose group represents clients such as the American Lung
Association and the Southern Poverty Law Center.

Timely delivery of their fundraising requests and updates is critical. Kearney keeps close tabs on
the post office’s performance and the actions of the postmaster general.

“If there was something political or nefarious, we’d be upset about it,” Kearney said.

The Postal Service’s performance is important to groups such as Our Sunday Visitor, a Catholic
publishing company in Huntington, Ind. The company mails 2 million to 3 million sets of church
offering envelopes each month to addresses nationwide, among other products.

Its most recent shipping cycle ran from late July through early August, said Trista Niswander,
the publisher’s postal manager. Ninety-four percent of its shipments of offering envelopes were
delivered within seven days, she said, “which is right on target, exactly what we would expect.”

“I have seen absolutely nothing out of the ordinary,” Niswander added.

Some financial companies have noted letters now take an extra day or two to reach customer’s
homes, said Michael Plunkett, president of the Association for Postal Commerce, which
represents companies and groups that account for the majority of commercial mail.

He attributed the delays to DeJoy’s new rules and pandemic-related problems.


https://www.washingtonpost.com/business/2020/08/19/postal-problems-could-continue-despite-
suspension-policies-blamed-mail-delays/
It’s clear that some delivery delays are occurring, said Hamilton Davison, president of the
American Catalog Mailers Association. And those problems have taken on an ominous tone
“given all the media reports [about slow mail] and the craziness from the White House about
deliberately delaying funding.”

But he attributes the problems to coronavirus hot spots and struggles to adjust to the new Postal
Service mandates.

“It’s really hard to draw a bead on what’s happening,” Davison said, “but there’s no widespread
failure.”

Hannah Denham contributed to this report.




https://www.washingtonpost.com/business/2020/08/19/postal-problems-could-continue-despite-
suspension-policies-blamed-mail-delays/
Exh. A-24
Exh. A-24
Title           Kaufman, Ellie. “Postal service warns nearly every state it may not be able to
                deliver ballots in time based on current election rules.” CNN, 15 Aug. 2020.
URL             https://www.cnn.com/2020/08/14/politics/usps-warn-states-mail-in-ballot-
                delivery/index.html
“The US Postal Service warned almost all of the 50 states and Washington, DC, that voters
could be at risk of not getting their ballots back to election offices in time to be counted
because election rules are not compatible with the time needed for delivery and return of
absentee ballots through the mail, according to letters released on Friday night.
The letters provide a stark reminder that the expansion of mail-in voting due to the pandemic
is colliding with a slowdown in postal delivery because of controversial changes made by the
new postmaster general.”
Postal service warning states it may not be able to deliver ballots in time ...   https://www.cnn.com/2020/08/14/politics/usps-warn-states-mail-in-ballo...




1 of 5                                                                                                                                9/20/2020, 10:10 PM
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3 of 5                                                                                                                                9/20/2020, 10:10 PM
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Exh. A-25
Title           U.S. Senate Democrats. “Reports Of Americans Facing Unacceptable Mail
                Delays Continue To Pile Up Amid President Trump And Postmaster General
                DeJoy’s Efforts To Undermine The Post Office.” democrats.senate.gov, 20
                Aug. 2020.
URL             https://www.democrats.senate.gov/newsroom/press-releases/reports-of-
                americans-facing-unacceptable-mail-delays-continue-to-pile-up-amid-
                president-trump-and-postmaster-general-dejoys-efforts-to-undermine-the-post-
                office
“Since launching my investigation, I’ve heard from over 7,500 people across the country about
how postal delays are harming them,” said U.S. Senator Gary Peters. “There are too many
questions that remain unanswered, including whether Postmaster General DeJoy and the Postal
Service will be returning sorting machines he already removed from facilities across the
country, the details of any changes he is leaving in place and any future changes he plans to
enact that could continue to harm millions of Americans. Postmaster General DeJoy has
repeatedly refused to clearly answer key questions and I’m going to be pressing for answers.”
9/20/2020        Reports Of Americans Facing Unacceptable Mail Delays Continue To Pile Up Amid President Trump And Postmaster General DeJoy’s Ef…



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   CLICK HERE TO LEARN MORE FROM THE CDC ABOUT THE CORONAVIRUS DISEASE 2019 (COVID-19)
   AND BEST PRACTICES TO KEEP YOU AND YOUR FAMILY SAFE. PLEASE REACH OUT TO YOUR HEALTH
   CARE PROVIDER WITH SPECIFIC CONCERNS AND/OR 911 IN THE CASE OF AN EMERGENCY.


        Reports Of Americans Facing Unacceptable Mail
        Delays Continue To Pile Up Amid President Trump
        And Postmaster General DeJoy’s E orts To
        Undermine The Post O ce
        August 20, 2020

         Houston Chronicle (TX): From Businesses To Brides, Mail Delays Already Impacting
                                                                Houston


            San Francisco Chronicle (CA): Late Pension Checks And Delayed Medications: Bay
                                    Area Residents Decry Postal Service Problems


                     WAOW (WI): Slow Service At USPS Could Impact Local Businesses


         CBS 4 Denver (CO): Coloradans Who Depend On Mail For Medication Concerned
                                                       Over Postal Changes


            Atlanta Journal-Constitution (GA): Mail Delays Threaten Georgia Absentee Ballots
                                                         Delivered Too Late


        Washington, D.C. – Following reports the U.S. Postal Service operational changes
        are leading to delays in mail delivery, Senate Democratic Leader Chuck Schumer
        (D-NY) and Ranking Member of the Senate Homeland Security and Governmental
        Affairs Committee Gary Peters (D-MI) are asking for individuals, small businesses
        and organizations who are directly affected by Postal Service delays or operational
        changes to share their stories. Members of the public can report problems by
        visiting www.peters.senate.gov/postal.


https://www.democrats.senate.gov/newsroom/press-releases/reports-of-americans-facing-unacceptable-mail-delays-continue-to-pile-up-amid-preside…   1/18
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        “Postmaster General DeJoy’s reckless policy changes have decimated public trust
        and contributed to inexcusable delays in mail delivery, putting every American at
        risk,” said Leader Schumer. “I’ve heard disturbing reports of long waits for the
        delivery of life-saving medicines, critical supplies, and paychecks, and recently, the
        president made plain his desire to interfere with vote-by-mail. I’m calling on
        Postmaster General DeJoy to clarify exactly what the USPS’ pause in operational
        changes will mean for the American people. My colleagues and I remain
        committed to oversight of the Postal Service and to ensuring that Americans
        regain the timely, dependable service they rely on.”


        “Since launching my investigation, I’ve heard from over 7,500 people across the
        country about how postal delays are harming them,” said Senator Peters. “There
        are too many questions that remain unanswered, including whether Postmaster
        General DeJoy and the Postal Service will be returning sorting machines he already
        removed from facilities across the country, the details of any changes he is leaving
        in place and any future changes he plans to enact that could continue to harm
        millions of Americans. Postmaster General DeJoy has repeatedly refused to clearly
        answer key questions and I’m going to be pressing for answers.”


        Across the country, Americans are already facing serious delays.

        ALABAMA

        WTVY: What’s behind the mail delays? “Over the last month, Birmingham
        postal workers have had a hard time keeping up with demand. ‘We had like 4
        or 5 machines taken out,’ said Samuel… He said he was told the sorting
        machine was taken away because mail volume is low due to the pandemic,
        but he said that's not the case.” [WTVY, 8/19/20]

        CALIFORNIA

        Los Angeles Times: ‘Like Armageddon’: Rotting food, dead animals and chaos
        at postal facilities amid cutbacks. “And inside a massive mail-sorting facility in
        South Los Angeles, workers fell so far behind processing packages that by
        early August, gnats and rodents were swarming around containers of rotted
        fruit and meat, and baby chicks were dead inside their boxes.” [Los Angeles
        Times, 8/20/20]
https://www.democrats.senate.gov/newsroom/press-releases/reports-of-americans-facing-unacceptable-mail-delays-continue-to-pile-up-amid-preside…   2/18
9/20/2020        Reports Of Americans Facing Unacceptable Mail Delays Continue To Pile Up Amid President Trump And Postmaster General DeJoy’s Ef…



        San Francisco Chronicle: Late pension checks and delayed medications: Bay
        Area residents decry postal service problems. “‘I have definitely seen a
        slowdown,’ said Leo McArdle, a Burlingame resident who was a U.S. Army
        sergeant from 1962 to 1970. He depends on the mail for key documents and
        medications from the Department of Veterans Affairs.” [San Francisco
        Chronicle, 8/18/20]

        ABC10: Sacramentans worried about mail-in voting as USPS slows
        nationwide. “Karryl Keithly told ABC10 she plans to mail in her ballot for the
        presidential election. But she said she has been getting her mail later than
        usual, which has her worried about the cutbacks happening with the US Postal
        Service.” [ABC10, 8/18/20]

        NBC KCRA 3: People wait weeks, months for packages to be
        delivered. “‘Being in a rural area like Jackson we don't have a lot of
        shopping,’ Welch said. ‘So, I depend on my online orders.’ Marcotte said her
        first box only showed up after she told USPS she had called KCRA 3. She had
        a second box of hand sanitizer and it was delayed, too. She ordered it on July
        20, and it showed up Aug. 8 via U.S. Mail.” [NBC KCRA 3, 8/16/20]

        VIDEO: ABC10:                    Citrus        Heights         residents          experiencing             slow        mail.
        [ABC10, 8/13/20]

        NBC Palm Springs: USPS shipping delays impact local small businesses.
        “‘Things are not right from a shipping perspective, and it’s really, really critical
        to our business while we can’t have as many clients in the store to be able to
        ship on time,’ said Laurie Molton, founder of House of Lolo, located on El
        Paseo.” [NBC Palm Springs, 8/11/20]

        KRON: Mail delay blamed for uptick in turkey chick deaths. “Bay Area farmers
        say the slowdown is costing them their livestock as well. The US Postal Service
        is the only real option when it comes to transporting livestock and the owner
        of a small Sonoma County farm, says the slowdown of shipments is quite
        literally killing her turkey business. ‘It took the turkey chicks so long to get
        here, they were half dead when I got them out of the box,’ Anna Erickson,
        owner of Hands Full Farm in Valley Ford, said.” [KRON, 8/9/20]



https://www.democrats.senate.gov/newsroom/press-releases/reports-of-americans-facing-unacceptable-mail-delays-continue-to-pile-up-amid-preside…   3/18
9/20/2020        Reports Of Americans Facing Unacceptable Mail Delays Continue To Pile Up Amid President Trump And Postmaster General DeJoy’s Ef…

        Salinas Californian: Late deliveries, missing mail: Hundreds of Salinas residents
        want answers from USPS. “Commenters reported missing or late mail, seeing
        their mail carrier delivering mail as late as 10:30 p.m. and receiving digital
        delivery notifications up to a day before their packages actually arrived at their
        homes or businesses.” [Salinas Californian, 7/22/20]

        COLORADO

        CBS 4 Denver: Coloradans Who Depend On Mail For Medication Concerned
        Over Postal Changes. “Changes at the post office have many Coloradans who
        depend on the mail for their medication worried. ‘My insurance makes me get
        medication by mail,' Jackie Anderson said… ‘I am concerned because I can’t
        go that many days without my medication,’ she shared.” [CBS 4
        Denver, 8/19/20]

        DISTRICT OF COLUMBIA

        FOX 5 DC: Mail delays aren’t political, but personal for DC residents left
        waiting. “‘A lot of people get their medicine, depending on it to be mailed,’
        said Bernadine Thomas. ‘Can you imagine if you’re waiting for something for
        your diabetes and it’s not showing up?’ The women said mail was delivered at
        10:30 p.m. Thursday then nothing until Monday afternoon. Others in Ward 8
        have waited up to two weeks between mail deliveries.” [FOX 5 DC, 8/17/20]

        Washington Post: Amid national Postal Service crisis, D.C. area residents
        struggle without consistent mail. “For John Wunder in Southeast D.C., the
        problem looks like 70 pounds of dog food. Wunder ordered 30 pounds of
        food for his beagle-boxer rescue Gus online, then waited for days. He
        checked the Postal Service’s tracking website, which told him his package had
        already been delivered, although it hadn’t. The old bag ran out. Gus needed
        lunch.” [Washington Post, 8/15/20]

        WUSA: Southeast DC residents go weeks without mail being delivered. “An
        older gentleman said he also hadn’t received his mail in two weeks and
        needed his medication that was supposed to be delivered by USPS. He said
        no one inside the post office could find it and they told him to check his
        mailbox once again.” [WUSA, 8/13/20]

        FLORIDA
https://www.democrats.senate.gov/newsroom/press-releases/reports-of-americans-facing-unacceptable-mail-delays-continue-to-pile-up-amid-preside…   4/18
9/20/2020        Reports Of Americans Facing Unacceptable Mail Delays Continue To Pile Up Amid President Trump And Postmaster General DeJoy’s Ef…



        Bay News 9: Disabled Vet says Mail Delays are Messing with his
        Prescriptions. “Ted Beaumier is one of them. He’s a disabled veteran – and a
        former USPS maintenance manager – living in the Tampa Bay area. Beaumier
        tells Spectrum News a prescription delivery that was scheduled to arrive on a
        certain day didn’t arrive until five days later – after he ran out.” [Bay News
        9, 8/19/20]

        GEORGIA

        Atlanta Journal-Constitution: Mail delays threaten Georgia absentee ballots
        delivered too late. “Some absentee ballots sent in Paulding County last
        month didn’t arrive in voters’ mailboxes for 28 days, said Deidre Holden, the
        county’s elections supervisor… So far, Georgia election officials have rejected
        1,575 absentee ballots because they were received after this week’s election
        day.” [Atlanta Journal-Constitution, 8/14/20]

        ILLINOIS

        VIDEO: NBC Chicago: Chicago-Area Residents Call Recent Mail Delays
        Alarming. [NBC Chicago, 8/18/20]

        CBS 2 Chicago: Postal Problems Mean No Checks, No Medications For
        Weeks. “With a pandemic, elections, pharmaceuticals, and stimulus checks,
        the mail has never been more vital and is life or death for some. ‘It took us
        three weeks to get our medication through the mail service,’ said Chicago
        resident Barbara Jackson. Snail mail may be too kind.” [CBS 2, 8/7/20]

        NBC News 13: Postal services are falling behind due to COVID-19, Postal
        Shoppe says to expect delays. “‘We were seeing slowdowns in our priority
        mail and some of our packages weren't tracking. We have been trying to tell
        people that priority mail is not three to five days, it can be averaging a week
        to two,’ said [Postal Shoppe owner] Hinkle.” [NBC News 13, 7/31/20]

        IOWA

        Des Moines Register: Des Moines postal union chief says new postmaster's
        rules slowing mail delivery. “Des Moines Local 44 American Postal Workers
        Union President Mike Bates said that since Postmaster General Louis DeJoy
https://www.democrats.senate.gov/newsroom/press-releases/reports-of-americans-facing-unacceptable-mail-delays-continue-to-pile-up-amid-preside…   5/18
9/20/2020        Reports Of Americans Facing Unacceptable Mail Delays Continue To Pile Up Amid President Trump And Postmaster General DeJoy’s Ef…

        banned overtime last month, supervisors have ordered trucks to leave the
        distribution station at exactly the prescribed time, even if workers have not yet
        loaded them with all of the day's mail.” [Des Moines Register, 8/17/20]

        KENTUCKY

        Louisville Courier-Journal: Postal Service's cost cutting is frustrating
        Kentuckians — and raising election concerns. “Again this week, Jenkins had
        not received mail for two days. And with his wife having surgery in the middle
        of July, he has wanted to receive billing information in a timely manner. ‘With
        medical bills and all those type of things coming in the mail, it's been really
        frustrating,’ Jenkins said.” [Louisville Courier-Journal, 8/7/20]

        LOUISIANA

        NOLA.com: Mail delays, frustrations grow in Louisiana as Trump opposes
        extra funding for Post Office. “Some had packages to send, others were
        waiting to collect several days’ worth of mail, and still others left as soon as
        they saw the line. Jasmine Williams said her grandmother, who lives nearby,
        doesn’t even check her mail anymore, knowing she’ll need to physically go to
        the post office to collect it all anyway.” [NOLA.com, 8/14/20]

        ABC KTBS 3: Postal customers frustrated by delayed shipments due to
        coronavirus. “‘And it's just frustrating when we're paying for 2 days and then 2
        weeks it's still not there,’ she added. Lavender drove to the Shreveport facility
        to resend boxes of packages that she says her business sent out more than a
        week ago, but were returned to her.” [ABC KTBS 3, 8/5/20]

        MAINE

        Portland Press Herald: Mail-order chicks are arriving dead, costing Maine
        farmers thousands of dollars. “‘We’ve never had a problem like this before,’
        said Henderson, who has been running her farm for five years and regularly
        receives shipments of live birds. ‘Usually they arrive every three weeks like
        clockwork,’ she said Wednesday.” [Portland Press Herald, 8/19/20]

        FOX Bangor: New US Postal Service restrictions causing delays. “‘There is one
        office. They have delayed mail to go out and another office that told a carrier
        to come back regardless if he had his whole route delivered,’ said Elrich. ‘So
https://www.democrats.senate.gov/newsroom/press-releases/reports-of-americans-facing-unacceptable-mail-delays-continue-to-pile-up-amid-preside…   6/18
9/20/2020        Reports Of Americans Facing Unacceptable Mail Delays Continue To Pile Up Amid President Trump And Postmaster General DeJoy’s Ef…

        he missed 30 minutes of his route a couple of days, that included some
        prescription medication.’” [FOX Bangor, 8/12/20]

        Bangor Daily News: Delivery of nearly 80,000 letters delayed in southern
        Maine amid policy change. “The Portland Press Herald reports that as much
        as 80,400 letters and other pieces of mail were left behind at the Postal
        Service’s Scarborough distribution center on Monday because a new policy
        prohibits any late trips.” [Bangor Daily News, 8/11/20]

        NBC News 13: Maine postal workers outraged by new policies, delivery
        delays. “A new policy from the postmaster general calls for no extra trips and
        no overtime. The union says that led to trucks leaving about 65,000 pieces of
        mail behind Monday, rather than wait an extra 10 minutes for the mail to be
        ready.” [NBC News 13, 8/11/20]

        MARYLAND

        Baltimore Sun: Postal Service reviewing staffing following complaints of mail
        delays in Baltimore area. “Metzgar said about a dozen customers were lined
        up inside both the Dundalk and Essex post offices when he and
        Ruppersberger visited Monday. ‘A lot of the seniors had ordered prescriptions
        in the mail. One guy was waiting for 2 1/2 weeks for annuity checks,’ Metzgar
        said.” [Baltimore Sun, 8/10/20]

        Baltimore Sun: Where’s my mail? As Baltimore-area customers complain of
        USPS delays, officials wrangle over election ballot deadlines. “In a scene
        replayed across the country, Czempinski joined a line that stretched out from
        the Dundalk post office throughout the morning Friday as frustrated residents
        tried to track down missing mail. She hadn’t received a single piece of mail
        since sometime last month, even as she sees postal trucks driving by without
        stopping.” [Baltimore Sun, 8/8/20]

        CBS Baltimore: ‘It’s Been A Week Or More’; Baltimore County Residents
        Frustrated By Recent USPS Mail Delays. “For weeks, many Marylanders have
        been frustrated by mail delays, and some haven’t been getting their mail at
        all. ‘Me and my wife have been sitting here waiting for mail for the last five
        days,’ said Dundalk resident William Ellison.” [CBS Baltimore, 8/7/20]



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        ABC News 9: Baltimore-area plagued by slow, missing mail. “The line
        stretches outside and down the sidewalk at the post office in Dundalk… Some
        say they haven’t gotten any in two weeks. ‘I’m waiting on unemployment, a
        card and it’s just not showing up. So it should be here today, but it should’ve
        been here a week ago too, so I don’t really know,’ Kasandra Peros said. She
        said she needs the money to pay bills like her car insurance, and she’s not
        alone.” [ABC News 9, 8/7/20]

        MASSACHUSETTS

        Wicked Local: Amid postal delays, Brookline official cautions against waiting
        to request a mail-in ballot. “Don’t wait to get your ballot request in, says Jeff
        Nutting, a consultant in the Brookline town clerk’s office… Nutting said the
        Aug. 26 deadline ‘is not a practical date.’ The U.S. Postal Service is
        experiencing backlogs of mail throughout the country… Some of those mail
        concerns are starting to trickle down to the local level. ‘We have received
        some mail in ballot applications that were postmarked 5 days earlier than
        when we received them,’ Nutting said.” [Wicked Local, 8/4/20]

        Martha’s Vineyard Times: Packages and frustration pile up. “The Post Office
        employee informed Seidman that the Post Office was currently scanning in
        packages delivered July 11 — a five-day backup. Seidman’s package was
        delivered to his door at 6:44 pm on July 25, 12 days after it arrived at the Post
        Office.” [Martha’s Vineyard Times, 8/3/20]

        MICHIGAN

        FOX 47 News: Postal service delays affecting Lansing veteran’s
        medication. “‘It's taking too long to get that vital medication to get here,’ said
        Carl Tielking. Tielking relies on getting his medication from the VA in the mail
        on time every month. ‘Cramps happen throughout the night. I can’t sleep
        because I have to take that medication to prevent that,’ he said.” [FOX 47
        News, 8/20/20]

        ABC 7 Detroit: 'We need to take the politics out of it.' Local man concerned
        over mail delays. “For this retiree from Rochester Hills, postal delays have real
        financial consequences. ‘It is very important to me. It’s just not something that
        I’m taking for granted. I watch it and I monitor it very, very closely,’ said
        Gaul. Gaul’s wife needs a medication that costs thousands of dollars. Each
https://www.democrats.senate.gov/newsroom/press-releases/reports-of-americans-facing-unacceptable-mail-delays-continue-to-pile-up-amid-preside…   8/18
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        month, Gaul must mail claim forms to get reimbursements.” [ABC 7
        Detroit, 8/13/20]

        ABC News 13: Sen. Peters says 'hundreds' of Michiganders experience mail
        delays, calls for answers. “Senator Gary Peters, (D-Mich.), said in a media
        update Monday he has heard from "hundreds" of people experiencing a
        delay in their mail. Last week, Peters announced he opened an investigation
        into the United States Postal Service (USPS), in light of changes from a newly
        appointed Postmaster General, Louis DeJoy.” [ABC News 13, 8/10/20]

        Lansing State Journal: Michigan absentee voting smashed records. Now
        officials are worried about mail delays. “Absentee voting smashed records in
        Michigan this week, although officials warn thousands of ballots across the
        state may not have been counted because they arrived too late by mail. Those
        trends are likely to continue on an even larger scale in November as people
        vote absentee to avoid COVID-19 exposure.” [Lansing State Journal, 8/6/20]

        Bridge Michigan: Postal delays could cause trouble for Michigan’s primary
        election. “Michigan clerks are already reporting mail delays and worry they
        may impact not only the primary but the Nov. 3 general election as well… The
        stakes are high: In Michigan, it doesn’t matter when you send your ballot, only
        when it’s received. Ballots that reach local clerks after Election Day don’t
        count, even if they’re postmarked before it.” [Bridge Michigan, 7/29/20]

        MINNESOTA

        Star Tribune: In battle over mail-in voting, the mail in Minnesota is running
        late. “Jim Miller’s mail-order medicine typically takes five days to arrive at his
        home in north Minneapolis. This month, it took two weeks. Miller, a Vietnam
        veteran who worked 35 years for the U.S. Postal Service, asked why. The
        postal workers he spoke to said they had been told to curtail delivery of first-
        class mail.” [Star Tribune, 8/16/20]

        Washington Post: Their mail was not delivered for days. Now these
        Minneapolis residents are worried about their votes counting. “‘I’m pissed off.
        We’re not getting mail for some reason,’ said Wilford, who now plans to go to
        the polls in person Tuesday. ‘I’ve had one heart attack already and I’m not
        trying to have another.’” [Washington Post, 8/8/20]

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        MISSISSIPPI

        WJTV: Jackson USPS customers react to backup in deliveries. “Some people
        like Curtis Drake have said it might take double the amount of time it usually
        takes to arrive, and sometimes their mailboxes are empty. ‘Usually it takes
        about a week but lately it’s been taking two or three weeks more,’ Drake
        said.” [WJTV, 8/13/20]

        MISSOURI

        KSDK News 5: Delays at the post office could force Missouri absentee voters
        to the polls. “Ronald Brown of St. Louis County said that he and his wife
        delivered their ballots to a post office in person more than a week ago. For
        nine days, the online ballot tracking system said his ballot was still waiting to
        be processed by the United States Postal Service.” [KSDK News 5, 8/3/20]

        MONTANA

        Billings Post-Gazette: Postal delays spark concerns about service, mail ballot
        elections. “For letter carrier Julie Quilliam, the new rules contradict everything
        she’s ever known about the Postal Service’s priorities. ‘They don’t want to use
        the manpower. We have it. That’s what we’ve always done, ‘every piece every
        day’ was the motto,’ Quilliam said.” [Billings Post-Gazette, 8/9/20]

        NEW HAMPSHIRE

        Concord Monitor: Notice your mail’s been slower? You’re not alone. “At a
        sorting center in Manchester recently, the digitally sorted mail was scheduled
        to finish ten minutes after the hard dispatch time of 7 p.m. ‘Too bad, out the
        door, that mail stays ’til tomorrow,’ Kelble said, noting that she’d also heard
        local carriers are being discouraged from helping to sort small amounts of
        almost-ready mail before starting their route.” [Concord Monitor, 8/13/20]

        NEW JERSEY

        NJ.com: Your mail is being delayed, unions say. Here’s what’s happening
        inside U.S. post offices in N.J. “[R]eductions in overtime, short-staffing at post
        offices and changes to past practice for how mail is distributed are

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        contributing to widespread issues, Bollinger said. ‘Mail is being delayed
        everywhere in South Jersey,’ he said.” [NJ.com, 8/17/20]

        Union News Daily: Residents grow increasingly frustrated with spotty USPS. “A
        woman from Union Township described her experience, saying, ‘Monday
        there’s no mail, Tuesday there’s no mail, Wednesday there’s no mail, Thursday
        there’s no mail, then, finally, Friday, I get all the mail I was supposed to be
        getting during the week.’” [Union News Daily, 8/3/20]

        NEW YORK

        Spectrum News: Some Mail Is Delayed Five to Six Days in NYC, Postal
        Workers’ Union Says. “Like most businesses, the Astoria Bookshop closed its
        doors to customers when the pandemic erupted. That's when the Postal
        Service became a lifeline, allowing owner Lexi Beach to sell books online. But
        she's noticed problems recently: deliveries to her store with postmarks that
        are two weeks old, and books mailed to customers in Queens ending up in
        other states before being delivered back in New York.” [Spectrum
        News, 8/13/20]

        Buffalo News: Mail delays, days with no delivery prompt rising concern in
        WNY. “Such moves result in mail delays, especially in rural areas such as parts
        of Cattaraugus County, said Lori Cash, president of American Postal Workers
        Local 183. ‘I have some zip codes that there's days they get no mail,’ Cash
        said. ‘I have one zip code in particular that sent me a message yesterday that
        they didn't get any letter mail three days in a row.’" [Buffalo News, 8/13/20]

        Rochester First: Brighton residents go days without snail mail. “Brighton
        resident Judy Schwartz is concerned. ‘We didn’t get our mail in two days in a
        particular week and then we had the same experience the next week and I
        thought it was strange,’ said Schwartz.” [Rochester First, 8/13/20]

        ABC 13 Rochester: Neighbors worry recent mail delays will affect absentee
        ballot voting. “With recent mail delays, some voters who are planning vote by
        absentee ballot are concerned their ballots won't arrive in time. Sheryl
        Westerman has applied for and mailed in her ballot for the past 11 years.
        Over the last month, she noticed her mail comes once or twice a week instead
        of every day.” [ABC 13 Rochester, 8/11/20]

https://www.democrats.senate.gov/newsroom/press-releases/reports-of-americans-facing-unacceptable-mail-delays-continue-to-pile-up-amid-presid…   11/18
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        Rochester Democrat and Chronicle: 'Where's my mail?'; Mail delivery slowed;
        workers blame policies. “Rochester-area postal customers have begun to
        mutter on social media and across the back yard fence that U.S. mail delivery
        has suddenly taken a turn for the worse. First-class mail is showing up later
        than expected - sometimes many days later.” [The Democrat and
        Chronicle, 7/22/20]

        NORTH CAROLINA

        Spectrum Local News: Slow-Moving Mail Impacting Veteran's Health. “Bill
        Rowan says for the past 10 years he has ordered his diabetes medicine
        through Veterans Affairs online. It typically takes a week to come in, but his
        last order did not show up on time... He says his blood sugar crawled higher
        each day, eventually getting to catastrophic levels.” [Spectrum Local
        News, 8/19/20]

        Fox News 8: Mail delays hurting local small business owners. “‘Every
        commercial business that’s not like a restaurant on this street uses the postal
        service to mail out product. Every single one,’ Mitchell said of Elm Street. He’s
        worried if these delays stick around, small business owners could be losing
        even more sales during the pandemic.” [Fox News 8, 8/9/20]

        OHIO

        Cincinnati Public Radio: Ohio’s Postal Service Problems Cause Dangerous
        Delays In Medication Delivery. “On August 3, Zach Matheny’s blood thinning
        medication was filled at his pharmacy, and sent out for delivery via the U.S.
        Postal Service. It never arrived.” [Cincinnati Public Radio, 8/20/20]

        Cleveland 19: Lakewood mail delays to blame for receiving school forms past
        due dates, parents say. “Parents are receiving mail so behind schedule that
        important documents needed for the upcoming school year are arriving past
        their due dates, Lakewood residents said.” [Cleveland 19, 8/18/20]

        Cleveland.com: Dismantled equipment behind Cleveland Post Office raises
        delivery questions. “But during periods of high volume – such as the
        Christmas season, or ahead of an election – the missing machines will lead to
        service delays, he said. Freeman said at this point, the machines are no longer

https://www.democrats.senate.gov/newsroom/press-releases/reports-of-americans-facing-unacceptable-mail-delays-continue-to-pile-up-amid-presid…   12/18
9/20/2020        Reports Of Americans Facing Unacceptable Mail Delays Continue To Pile Up Amid President Trump And Postmaster General DeJoy’s Ef…

        usable. ‘They’re sitting out in the parking lot and getting rained on,’ he said.”
        [Cleveland.com, 8/17/20]

        WCPO ABC 9: Where's my mail? Complaints soar about postal delays. “‘It's
        been a spiral effect of missing packages and medication,’ he said. ‘I don't
        know what to do.’ Favors depends on the mailman to deliver his prescriptions
        from the VA, but his medicine is now often late.” [WCPO ABC 9, 8/11/20]

        ABC News 13: Northwest Ohio letter carriers ponder the mystery of mail
        delays. “‘The idea behind it is if it doesn’t go out on Monday, it should go out
        on Tuesday but we are seeing and hearing route has been sitting for multiple
        days without being sorted or delivered,’ said Hayden.” [ABC News
        13, 7/27/20]

        ProPublica: The Postal Service Is Steadily Getting Worse — Can It Handle a
        National Mail-In Election? “Two weeks after the polls closed in this year’s Ohio
        primary, two U.S. Postal Service employees showed up in the office of Diane
        Noonan, the director of elections in Butler County. The workers carried a tray
        of 317 unopened ballots that had been sitting in a Postal Service warehouse
        since the day before the election. The ballots would have counted if they had
        been delivered on time. Now, there was no way to legally count them.”
        [ProPublica, 7/15/20]

        OKLAHOMA

        102.3 KRMG: Mail delays reported in Tulsa area. “‘I’ve heard from other
        people that are veterans, friends of mine, who get their medicines, and they’re
        also being delayed,’ Bradley said. He says the main problems are new rules
        that limit overtime and the removal of 5 to 10 postal sorting machines.” [102.3
        KRMG, 8/17/20]

        Public Radio Tulsa: 'A Major Problem': Tulsa Postal Union Boss Says Mail Being
        Intentionally Delayed. “Bradley said that some of the parcels being delayed
        are extremely crucial for people to receive in a timely matter. ‘For example: I
        get my medication; it comes out of Muskogee and it takes one day to get it. It
        now takes three days,’ Bradley said. ‘That is a major problem. We do a lot of
        delivery of mail-in prescriptions for people. They rely on their prescriptions.’”
        [Public Radio Tulsa, 8/14/20]

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        OREGON

        Willamette Week: U.S. Postal Service Confirms It Has Removed Mailboxes in
        Portland and Eugene. “A spokesman for the United States Postal Service
        confirmed that the agency has removed four blue boxes from Portland, and
        27 from Eugene this week. The USPS plans to remove a few more boxes from
        Portland next week… Portland postal workers warned earlier this month that
        voters should be wary of using the mail to deliver their ballots in the final week
        of the August special election.” [Willamette Week, 8/13/20]

        PENNSYLVANIA

        Philadelphia Inquirer: USPS says Pennsylvania mail ballots may not be
        delivered on time, and state warns of ‘overwhelming’ risk to voters. “The
        United States Postal Service warned Pennsylvania that mail ballots may not be
        delivered on time to be counted because the state’s deadlines are too tight
        for its ‘delivery standards,’ casting fresh doubt on Pennsylvania’s ability to
        conduct much of the 2020 election by mail.” [Philadelphia Inquirer, 8/13/20]

        WHYY: Philadelphia’s big mail problem. “Some Philly neighborhoods haven’t
        gotten mail delivered in three weeks, leaving some residents scrambling for
        their medications and paychecks. Democratic lawmakers are now raising the
        alarm. One big concern? That the U.S. Postal Service won’t be able to handle
        a surge of mail-in ballots for November’s presidential election.”
        [WHYY, 8/6/20]

        Philadelphia Inquirer: Mail delays are frustrating Philly residents, and a short-
        staffed Postal Service is struggling to keep up. “Neighborhoods across the
        Philadelphia region are experiencing significant delays in receiving their mail,
        with some residents going upwards of three weeks without packages and
        letters, leaving them without medication, paychecks, and bills.” [Philadelphia
        Inquirer, 8/2/20]

        SOUTH CAROLINA

        WSPA News 7: Dysfunction at USPS causing mail delays locally, union leader
        says. “The president of the Greenville chapter of the American Postal Workers
        Union, Adrienne Griffin, is warning of dysfunction in the United States Postal

https://www.democrats.senate.gov/newsroom/press-releases/reports-of-americans-facing-unacceptable-mail-delays-continue-to-pile-up-amid-presid…   14/18
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        Service in Greenville. She said it’s slowing down mail delivery by days, and
        she’s worried about mail-in ballots.” [WSPA News 7, 8/17/20]

        CBS News 19: Midlands residents seeing postal delivery delays. “Marsha
        Kent, a resident of Chapin, says she was missing a package from the post
        office for two weeks. ‘Informed delivery just kept saying, "pending
        processing," or something of that sort, in Columbia. And it pended for about
        two weeks.’” [CBS News 19, 8/14/20]

        CBS News 19: Local business notices delays with postal service. “Mullender
        said her customers depend on receiving their mail or having their items
        delivered in a timely manner. She said it's been an issue for a while now. But
        even as an authorized shipper, she's still at the mercy of the USPS, leaving her
        customers upset at times.” [CBS News 19, 8/14/20]

        TENNESSEE

        WREG 3: Memphians say they’ve gone days without mail delivery. “Some
        Memphians say they’ve gone as long as nine days without mail delivery as the
        U.S. Postal Service points to the ongoing coronavirus pandemic.” [WREG
        3, 8/13/20]

        Tennessean: Post office delays create uncertainty; Concerns arise for
        businesses, upcoming election. “Elena said she finds herself devoting more
        and more time and resources to corresponding with customers who have not
        received their orders. It has cost her business a ‘significant chunk’ of money.”
        [Tennessean, 8/6/20]

        ABC News 9: Local postal workers say your mail could be
        delayed. “NewsChannel9 reached out to the local postal union, Chattanooga
        American Postal Workers Union. Their president Judy Stocker says people will
        see mail delays if they haven’t already.” [ABC News 9, 7/30/20]

        TEXAS

        The Hill: 82-year-old Texas man says USPS delays have left him without daily
        heart medicine for a week. “An elderly Texas man says his heart medication
        has remained at a Postal Service processing facility for more than a week due

https://www.democrats.senate.gov/newsroom/press-releases/reports-of-americans-facing-unacceptable-mail-delays-continue-to-pile-up-amid-presid…   15/18
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        to delays in mail delivery affecting residents of many U.S. states.” [The
        Hill, 8/17/20]

        Houston Chronicle: From businesses to brides, mail delays already impacting
        Houston. “Melissa Palacios Gonzalez, a U.S. Navy veteran, runs an accessories
        and clothing shop out of her home in Spring… A USPS Priority Mail order of
        flip flops, which was supposed to be delivered in one or two days, took a
        week to reach its destination, Palacios Gonzalez said.” [Houston
        Chronicle, 8/17/20]

        San Antonio Express News: San Antonio Postal Service sorting machines
        ‘thrown in the trash.’ “More than two weeks ago, Silva mailed his gas payment
        to a utility in Floresville and his water payment to another company in La
        Vernia. On Monday, neither had made it to its destination, he said. Now, the
        utility in La Vernia is threatening to shut off his water, he said.” [San Antonio
        Express News, 8/17/20]

        KWTX 10: Local mail delivery could be delayed as postal service focuses on
        cutting costs. “Workers are directed to leave on time, even if mail has not
        been delivered. ‘The emphasis is no longer on timely dispatching, getting the
        mail out and that's troubling to a lot of postal employees,’ said Charles
        Tillman, a representative of the Texas Postal Workers Union.” [KWTX
        10, 8/12/20]

        UTAH

        KSLTV: Ogden Veteran Says Mail Delays Causing Prescriptions To Arrive
        Late. “‘My husband is a disabled vet. He gets his care through the Salt Lake
        City VA and it comes through the U.S. Postal Service,’ said Matheson, who
        spoke on behalf of her husband… However, they were both concerned when
        the shipment that normally takes two days to get to their Ogden home still
        wasn’t there on day nine.” [KSLTV, 8/14/20]

        Moab Sun News: Rural Utahns worry about post offices. “‘We've got people
        who receive Social Security checks, pension checks and medication through
        the mail,’ said Van Wetter. ‘If we lost our post office, that would mean that our
        aging population has to travel 40 miles over two-lane highways to get those
        same things.’” [Moab Sun News, 8/13/20]

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        VIRGINIA

        Roanoke Times: CASEY: Mail delivery slowdown leaves Roanoke County
        residents wondering. “She fears the slowdown she and Marty experienced last
        week is merely a glimpse of worse to come before Nov. 3. ‘I’m 75,’ Jami said.
        ‘I don’t want to get the COVID. Are they going to take my voice [vote] out of
        350 million people?’” [Roanoke Times, 8/15/20]

        Free Lance-Star: Stafford residents fed up with poor mail delivery. “After five
        days of waiting, Brenda Murray finally got mail delivered to her home last
        Friday. ‘It was not as much as I expected,’ Murray said.” [Free Lance-
        Star, 8/11/20]

        ABC 13 News Now: People in Hampton Roads feeling impact of US Postal
        Service delivery delays. “Suffolk homeowner Wulf Berg served 21 years in the
        United States Air Force. Berg is retired and was waiting more days than usual
        for his mail to arrive. ‘I did not receive any mail on Tuesday or Wednesday,’
        said Berg… ‘I have ordered medication about a week ago and I don’t know
        where the medication is,’ he said.” [ABC 13 News Now, 7/16/20]

        WASHINGTON

        WAOW: Post office backlogs impact hundreds of locals. “Some families say
        letters and packages that once only took days now takes weeks, even months
        to arrive. One family said they are waiting for a check that is supposed to help
        pay for a young man’s college tuition, but the money is weeks delayed and
        the bill is due soon.” [WAOW, 8/18/20]

        WISCONSIN

        ABC News 9: Slow service at USPS could impact local businesses. “Mishkar
        says she and other Etsy sellers have been experiencing difficulties with
        customers not getting their orders on time. Even though it's mostly out of her
        control, she said it can still have a negative impact on her store. ‘Buyers are
        getting angry and demanding refunds...’” [ABC News 9, 8/17/20]

        NPR Milwaukee: Postal Delays, Errors In Wisconsin And Other Swing States
        Loom Over Election. “Concerns over mail delivery are coming alarmingly true
        in Wisconsin, where election officials continue to have problems with ballots
https://www.democrats.senate.gov/newsroom/press-releases/reports-of-americans-facing-unacceptable-mail-delays-continue-to-pile-up-amid-presid…   17/18
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        not being delivered to voters. Nearly 700 voters in the cities of Milwaukee and
        Wauwatosa did not receive ballots they requested in late June for Tuesday’s
        primary.” [NPR Milwaukee, 8/13/20]

        CBS 58: Voters, businesses concerned over delayed United States Postal
        Service mail times. “Whitefish Bay voter Wes Manko dropped off his absentee
        ballot to USPS on Saturday, Aug. 1, and as of Monday night, the clerk’s office
        has not received his ballot… ‘Any senior citizen is affected by this, any
        hardworking American that thinks their vote counts is affected by this, anyone
        with pre-existing conditions is affected by this,’ said Manko.” [CBS
        58, 8/10/20]

        Milwaukee Journal Sentinel: Service changes could slow state's mail delivery;
        USPS is vital lifeline in pandemic, election. “Sippel, like many Americans,
        didn't know the post office is facing financial difficulties. What Sippel does
        know, she said, is how important it is to get packages delivered to her home,
        where sometimes the letter carrier brings them to the door because he knows
        she has small children.” [Milwaukee Journal Sentinel, 7/17/20]

        ProPublica: The Postal Service Is Steadily Getting Worse — Can It Handle a
        National Mail-In Election? “On April 8, one day after Wisconsin’s primary, a
        Postal Service official found 1,600 ballots headed for Appleton and Oshkosh
        in an area plant, according to a May report by the Wisconsin Election
        Commission. Those ballots never reached voters.” [ProPublica, 7/15/20]
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Exh. A-26
Title          Gardner, Amy; and Kim, Seung. “State officials rush to shore up confidence in
               Nov. 3 election as voters express new fears about mail voting.” Washington
               Post, 16 Aug. 2020.
URL            https://www.washingtonpost.com/politics/state-officials-rush-to-shore-up-
               confidence-in-nov-3-election-as-voters-express-new-fears-about-mail-
               voting/2020/08/16/3d511144-df23-11ea-b205-ff838e15a9a6_story.html
“President Trump’s unprecedented attacks on the U.S. Postal Service amid widespread mail
delays across the country are shaking voters’ faith that their ballots will be counted, prompting
a rush among federal, state and local officials to protect the integrity of the Nov. 3 election.”
   Democracy Dies in Darkness



State officials rush to shore up confidence in Nov. 3
election as voters express new fears about mail voting
By Amy Gardner and Seung Min Kim

August 16, 2020 at 7:21 p.m. EDT


President Trump’s unprecedented attacks on the U.S. Postal Service amid widespread mail delays across the country
are shaking voters’ faith that their ballots will be counted, prompting a rush among federal, state and local officials to
protect the integrity of the Nov. 3 election.

Thousands of voters have called government offices in recent days to ask whether it is still safe to mail their ballots,
according to officials across the country. Attorneys general from at least six states are huddling to discuss possible
lawsuits against the administration to block it from reducing mail service between now and the election, several told
The Washington Post. State leaders are scrambling to see whether they can change rules to give voters more options,
and Democrats are planning a massive public education campaign to shore up trust in the vote and the Postal Service.

House Speaker Nancy Pelosi (D-Calif.) on Sunday announced that she was calling the House back early from its
summer recess to vote on legislation later this week that would block changes to Postal Service operations. House
Democrats on Sunday also announced plans for an emergency hearing on mail delays later this month.

“He is undermining the safest voting method during a pandemic and forcing people to cast a ballot in person,”
Colorado Secretary of State Jena Griswold (D) said of Trump . “It is reprehensible.”

The race to action comes amid escalating worries that even if the president does not succeed in blocking mail voting, he
has created a dangerous crisis of confidence that could jeopardize whether Americans view the eventual outcome as
legitimate.

“He has succeeded enough that everybody is working overtime to clean up the mess,” said Kristen Clarke, president of
the Lawyers’ Committee for Civil Rights Under Law, a nonpartisan voting rights group.

For months, elections officials in both major political parties have been encouraging voters to cast their ballots by mail
to avoid coronavirus infection. The effort has worked, with record numbers voting by mail in a slew of primaries this
spring and summer — and planning to do so again in November, according to numerous public polls. More than 180
million Americans are now eligible to vote by mail in the fall after many states relaxed their rules.

But the president, lagging in the polls behind presumed Democratic nominee Joe Biden, has been lobbing nonstop
attacks on voting by mail, making unfounded claims that it opens the door to rampant fraud. In fact, states that have
embraced universal mail voting have documented tiny rates of ballot fraud, data shows.

Last week, Trump went further, saying he opposes billions of dollars in urgently needed election funding for the states
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and the Postal Service because he doesn’t want states to make it easier for Americans to vote by mail.

Voting advocates and Democrats accused the president of intentionally sowing chaos and confusion just as election
offices are starting to accept requests for mail ballots — a blatant attempt at voter suppression, they said.




“I am alarmed. I am disheartened,” said Sen. Amy Klobuchar (D-Minn.), who is pushing for a $3.6 billion cash infusion
to help states prepare for the fall elections in the latest coronavirus relief package. “But no one in America has given
up, because people are on to him. They know what he’s doing. Americans, as you can see from their votes in their
primaries, would rather put ballots in the mailbox than their families in the hospital.”

Trump campaign spokesman Tim Murtaugh said Sunday that the president is open to more post office funding if
Democrats support more help for “normal Americans,” such as the stimulus checks and small-business relief that
Trump has demanded.

But, Murtaugh added, “Democrats know that changing voting rules this close to an election will cause chaos, and now
they’re looking for someone else to blame.”

In an appearance Sunday on CNN’s “State of the Union,” White House Chief of Staff Mark Meadows appeared to back
off Trump’s earlier comments, saying the president is open to legislation that would ensure adequate postal funding to
manage the surge of mail ballots this fall. Meadows also said no postal sorting machines will be taken off line between
now and Nov. 3, insisting that previous removals were part of a plan that predated the Trump administration.

“The president of the United States is not going to interfere with anybody casting their vote in a legitimate way,
whether it’s the post office or anything else,” Meadows said.

But in the same interview, Meadows emphasized the president’s concern about ballot fraud, even though he was
unable to point to evidence of widespread fraud. “There’s no evidence that there’s not,” he said.

Postal workers have expressed alarm in recent weeks about widespread mail delays across the country, the result of
operational changes put in place at the Postal Service by Louis DeJoy, the postmaster general and a top GOP donor,
saying the backlogs could hamper ballot delivery.

The revelation Friday that the Postal Service has warned 46 states that it cannot guarantee the delivery of all ballots in
time to be counted under their current deadlines set off a cascade of panic in the public. Social media lit up with frantic
questions from people about how to cast ballots safely. On Twitter, #USPSProtests was a top trending hashtag
throughout the weekend.

Many voters said they were so alarmed that they are reconsidering their plans to cast mail ballots and plan to risk
going to the polls in person amid the pandemic to make sure they are counted.

“I was planning on doing it though the post office,” said Kamilla Gilfedder, 36, a voter in Lexington, Ky., who plans to
vote for Biden. “It was primarily just to avoid covid. I’ve got a toddler, and my family is high-risk. But when I think
about it, I just want to make sure that my vote is registered. So I think I’m going to go in.”

Kathy Blair, 73, a retiree who lives in St. Paul, Minn., said she is still waiting for her granddaughter in California to
receive a birthday present she mailed July 14 using priority service. Blair said she plans to vote early in person this fall
                                                                                                                               /
and has persuaded several of her friends who had planned to vote by mail to do the same Otherwise she said “five
and has persuaded several of her friends who had planned to vote by mail to do the same. Otherwise, she said, five
weeks, six weeks later the ballots may never show up,” calling the postal delays “a travesty.”

In Virginia, hundreds of voters called the state elections office Friday trying to cancel their mail-ballot requests,
according to Chris Piper, the top elections official in the state. Piper said there is no formal way to do so, but voters
who want to vote in person should bring their mail ballot with them to the polls, allowing officials to void it.




Attorneys general from Virginia, Pennsylvania, Minnesota, Massachusetts, Washington and North Carolina, among
others, have begun discussions on how to sue the administration to prevent operational changes or funding lapses that
could affect the election. They expect to announce legal action early this week, according to several involved in the
talks.

“This is not just terrible policy, but it may be illegal under federal law and other state laws as well,” said Virginia
Attorney General Mark R. Herring (D). “A lot of work is being done literally as we speak over the weekend and at
nights to try to figure out what Trump and DeJoy are doing, whether they have already violated or are likely to violate
any laws and how we can take swift action to try to stop this assault on our democracy.”

Eric Holder, who served as U.S. attorney general under President Barack Obama and now leads the anti-
gerrymandering group National Democratic Redistricting Committee, is also considering legal action, a spokesman
said.

Democrats, who have seized on the mail delays as a potent campaign issue, moved rapidly to keep the pressure on the
administration and GOP lawmakers.

House and Senate Democrats said they are launching investigations into service changes at the Postal Service. And the
House Oversight Committee on Sunday scheduled an emergency hearing on mail delays and concerns about potential
White House interference in the Postal Service, inviting DeJoy and Postal Service Board of Governors Chairman
Robert M. Duncan to testify Aug. 24.

The Postal Service did not immediately respond to a request for comment.

Biden’s campaign, meanwhile, plans to devote a “substantial” portion of $280 million in reserved ad time this fall to
education messages designed to walk voters through their options on how to vote safely and securely, spokesman TJ
Ducklo said.

Democrats and voting advocates appeared united that the most urgent task is to reassure voters that casting their
ballots by mail is safe and secure, especially if they give them plenty of time to arrive.

“Donald Trump is scared,” said Lauren Groh-Wargo of Fair Fight Action, the voting rights organization founded by
Democrat Stacey Abrams, who ran for governor in Georgia in 2018. “He’s a coward. He doesn’t think he can win an
election when everybody is allowed to vote. Our vote is our power.”

State elections officials also noted that they have been talking to local postal managers for weeks and said they have
been told ballots will be given priority treatment.

“We are exploring all available options, but we also want to make clear that people should continue to make use of mail
options and not be deterred by the president’s effort to undermine the election,” said Massachusetts Attorney General
Maura Healey (D).
                                                                                                                            /
Officials plan to drive home the need for voters to cast their ballots early, both through the mail and at early-voting
sites. In most states, absentee ballots will start arriving toward the end of September. That raises the prospect that
millions of Americans will rush to cast their votes weeks before the Nov. 3 election.

In the states, elections officials are also consumed with the question of whether they have time to make fresh changes
to election policies to give voters more options — and more time — to return their ballots.



In Colorado, which offers universal mail voting, Griswold is urging local elections administrators to apply for
additional drop boxes to place across their counties. Griswold’s office is paying for 100 such boxes, which cost between
$4,000 and $10,000. Griswold said she is also considering whether to send ballots out to voters earlier than scheduled
to give voters even more time to return them.

While many states are accelerating their use of drop boxes as an alternative to mailing ballots, Republicans have raised
questions about their security, even suing to block them in Pennsylvania. Democrats have pointed to that opposition as
evidence that Republicans are more interested in hindering voting than helping run an unprecedented election during
a pandemic.

“The majority of Coloradans already use drop boxes,” said Griswold, noting that the boxes are bolted to the ground,
lighted at night and under 24-hour surveillance. They are also emptied by a team that must include one Republican
and one Democratic election judge, she said.

Scott McDonell, the clerk of Dane County, Wis., which includes Madison, said one local elections official in the county
briefly considered using library book drops for ballots before realizing they are not secure enough.

“You need something that can’t be broken into,” McDonell said.

Meanwhile, officials are making plans for additional voter education campaigns to remind the public that early in-
person voting is also a safe option for those seeking to avoid the likely denser crowds of Election Day. Officials also
plan to instruct voters not to use the mail to return their ballot too close to the election — but said they haven’t figured
out when that cutoff should be.

“At some point we’re going to message voters, ‘If you haven’t sent your absentee ballot back, then you need to go ahead
and take it in,” said Piper, the Virginia elections official. Piper said the state legislature is also expected to consider
more funding for drop boxes this week, when a special session convenes.

The mail backlogs prompted a massive outcry from postal customers who rely on the mail for the delivery of
medicines, unemployment checks and Social Security payments. Sen. Robert P. Casey Jr. (D-Pa.) received more than
5,000 letters on the subject in the past week, according to his office. Sen. Gary Peters (D-Mich.) has received nearly
7,000. Sen. Jon Tester (D-Mont.) reported 3,000 such complaints.

Peters’s office said that more than 750 of the messages to his office related to election issues, including complaints of
never receiving mail ballots in the Michigan primary two weeks ago and testimonials of dropping off ballots rather
than risking a mail delay.

The public outcry has led even Republican lawmakers to press the Postal Service to alter its approach.

Rep. John Katko (R-N.Y.) announced Friday that he supports a reversal of DeJoy’s policy changes. Sen. Steve Daines
(R-Mont.) wrote a letter to DeJoy urging the same, citing the heavy reliance of small businesses, veterans and seniors
                                                                                                                               /
on the mail in his rural state
on the mail in his rural state.

“The reason the president doesn’t want people to vote by mail is that polls show that people who want to vote by mail
tend to vote for Vice President Biden,” Sen. Mitt Romney (R-Utah), a regular critic of Trump, said in a video interview
with the conservative Sutherland Institute. “People who tend to want to vote in-person tend to want to vote for
President Trump. So this is a political calculation.”




Trump’s threats to oppose Postal Service funding came the same week that he and first lady Melania Trump put in
their own requests for absentee ballots in Florida.

Recent polls have produced varying estimates for the share of Americans who expect to vote by mail. A new Pew
Research Center poll released last week found that 39 percent of all registered voters prefer to vote by mail in
November; while a separate Monmouth University poll found 49 percent saying they are at least somewhat likely to
vote by mail.

In 2016, by comparison, about 24 percent of voters cast absentee ballots, according to the U.S. Election Assistance
Commission.

Pew’s survey also found that nearly half of registered voters said they expect voting in November to be difficult — more
than triple the share who said this ahead of the 2018 midterm elections. Democrats, younger voters and Black voters
were much less likely than others to expect voting will be easy.

Democrats, meanwhile, said that bipartisan support for the mail gives them leverage to approve a $25 billion bailout
for the Postal Service. They also say the issue has given them a potent political weapon in House and Senate
battlegrounds, with numerous Democratic candidates already on the air with ads criticizing their opponents for failing
to shore up mail service.

“No matter what [Trump] does, Americans are going to find a way to vote,” Klobuchar said. “But we have to do
everything we can to make it safe.”


Jacob Bogage, Scott Clement and Joseph Marks contributed to this report.




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Exh. A-27
Exh. A-27
Title            McCarthy, Ryan; and Jameel, Maryam. “The Postal Service Is Steadily Getting
                 Worse - Can It Handle a National Mail-In Election?” ProPublica, 15 Jun. 2020.
URL              https://www.propublica.org/article/the-postal-service-is-steadily-getting-worse-
                 can-it-handle-a-national-mail-in-election
“During Ohio’s April 28 primary, mail delivery had been so slow that the secretary of state
publicly warned voters and called for the Postal Service to add staff. As they counted votes,
Noonan and her team checked in with the service every day until the deadline. ‘We said,
Listen this is the last day, she recalled. If we get ballots after this, they’re not going to be
counted.”
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                                   NATIONAL

                              The Postal Service Is Steadily Getting Worse
                              — Can It Handle a National Mail-In
                              Election?
                              Postal delays and mistakes have marred primary voting, and after years
                              of budget cuts and plant closures, mail delivery has slowed so much that
                              ballot deadlines in many states are no longer realistic.

                              by Ryan McCarthy and Maryam Jameel, June 15, 5 a.m. EDT




                              Mail boxes taped up near a post o ice during the coronavirus outbreak in Virginia on April
                              12. (Mark Peterson/Redux)



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                              Two weeks after the polls closed in this year’s Ohio primary, two U.S.
                              Postal Service employees showed up in the oﬃce of Diane Noonan, the
                              director of elections in Butler County. The workers carried a tray of 317
                              unopened ballots that had been sitting in a Postal Service warehouse since
                              the day before the election.

                              The ballots would have counted if they had been delivered on time. Now,
                              there was no way to legally count them. The next day, another ballot that
                              had been postmarked in time to be counted arrived with no explanation.

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                              In Geauga County, oﬃcials found 26 such ballots; Lucas County saw 13.
                              Many election administrators in Ohio had already lost patience with the
                              Postal Service. During Ohio’s April 28 primary, mail delivery had been so
                              slow that the secretary of state publicly warned voters and called for the
                              Postal Service to add staﬀ. As they counted votes, Noonan and her team
                              checked in with the service every day until the deadline. “We said, ‘Listen
                              this is the last day,’” she recalled. “‘If we get ballots after this, they’re not
                              going to be counted.’ They assured us.”


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                                 attention immediately. The CDC has more information on what to do if you are sick.




                              The Postal Service’s oﬃcial excuse for misplacing the Butler County ballots
                              was an “unintentional missort.” That response satisﬁed neither Ohio’s
                              secretary of state nor Noonan. “We got an explanation that really wasn’t an
                              explanation,” Noonan said. “It’s all in their hands. That’s what’s scary.” The
                              missing ballots in Ohio were just one sign of a larger problem. Frequently
                              attacked by President Donald Trump and his supporters, the beleaguered
                              Postal Service is under tremendous pressure to ensure that an
                              unprecedented number of Americans can vote by mail in November,
                              avoiding the potential health risk of in-person polling places during the
                              coronavirus outbreak. The disarray Tuesday in the Georgia primary, in
                              which voting machines malfunctioned and people waited in line for hours
                              to cast their ballots, underscores the potential value of voting by mail.

                              With online retailers like Amazon cutting into its packaging revenue, the
                              Postal Service has been losing both money and its former centrality in
                              American culture. By running a national election smoothly, it could rebuﬀ
                              its critics and regain some of its prominence. But in the primaries, voters
                              and election oﬃcials have been confronting the new reality of the Postal
                              Service: delivery times slowed by years of budget cuts and plant closures.
                              There have already been signiﬁcant delays and mistakes in delivering
                              ballots in Indiana, New Jersey, Maryland, Ohio, Wisconsin, Pennsylvania
                              and Washington, D.C. The Postal Service has not hit its own goals for on-
                              time delivery of any type of ﬁrst-class mail in ﬁve years. Last year, the
                              agency delivered only 80.88% of its three- to ﬁve-day single-piece ﬁrst-
                              class mailings on time, missing its goal by 14.37 percentage points.
                              Performance on that type of ﬁrst-class mail — which is how some absentee
                              ballots are sent — has been declining for the better part of a decade.

                              “In the last ﬁve years it’s gotten really bad,” said a former Postal Service
                              executive, who requested anonymity because he still works in the mailing

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                              industry. He added that election oﬃcials still may not know enough about
                              how the agency operates. “There’s a huge gap in understanding of how
                              mail is sorted and how that could aﬀect vote by mail ballots.”

                              Complicating the Postal Service’s task is that many states are building
                              large vote by mail systems on the ﬂy. In 2018, 26 states and Washington,
                              D.C. had vote by mail rates under 10%, according to the Brennan Center for
                              Justice. States that don’t regularly send ballots to voters may keep
                              inaccurate voter address lists, leaving overburdened postal workers to
                              deliver ballots to the wrong places.

                              Many states have failed to adjust their ballot deadlines to accommodate
                              slower delivery. More than half of states allow voters to request an
                              absentee ballot seven or fewer days before an election. Though some
                              jurisdictions let voters submit ballots in designated drop-oﬀ boxes, those
                              who wait too long to request or mail back their ballots could see their votes
                              arrive too late to count.

                              There are other deadlines that can be aﬀected by mail delivery problems.
                              Many states use “received by” deadlines tied to when local election oﬃces
                              receive a ballot. This year, as mail delays have mounted, some states have
                              had to extend these deadlines. Other states stipulate a date by which a mail
                              ballot must be postmarked. Controversies over missing or illegible
                              postmarks marred Wisconsin’s primary this year, and House Democrats
                              tried to include national standards on ballot postmarking in one of the
                              stimulus packages.

                              In the general election, even mail delays in line with the Postal Service’s
                              historical performance could aﬀect hundreds of thousands or perhaps
                              millions of votes. According to a report from the Postal Service’s Oﬃce of
                              Inspector General, 95.6% of election mail nationally was delivered on time
                              during the 2018 election, just below the agency’s target of 96%. But the
                              seven lowest-performing mail processing centers that the report
                              examined, including facilities in swing states Florida, Ohio and Wisconsin,
                              delivered an average of 84.2% of election mail on time. Six of those seven
                              low-performing facilities failed to reassign staﬀ to handle increased
                              election mail volume.

                              To be sure, the Postal Service’s operations are still massive: Last year, the
                              agency delivered a total of 143 billion pieces of mail. Election experts
                              believe that the Postal Service has the capacity to handle a national
                              election conducted primarily through the mail — but only if it coordinates
                              closely with state election oﬃcials and if voters cooperate by sending their
                              ballots early. A Postal Service spokeswoman said in a statement that it
                              employs “a robust and proven process to ensure proper handling of all
                              Election Mail, including ballots. This includes close coordination and
                              partnerships with election oﬃcials at the local, county, and state levels. As
                              we anticipate that many voters may choose to use the mail to participate in

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                              the upcoming elections due to the impacts of the COVID-19 pandemic, we
                              are conducting and will continue to proactively conduct outreach with
                              state and local election oﬃcials and Secretaries of State so that they can
                              make informed decisions and educate the public about what they can
                              expect when using the mail to vote.” She emphasized that most ﬁrst-class
                              mail “is delivered within 2-5 days, consistent with our delivery standards.”
                              Still, the USPS acknowledges that it needs more time to deliver ballots than
                              is contemplated in election rules. “To account for delivery standards and
                              to allow for contingencies (e.g., weather issues or unforeseen events),
                              voters should mail their return ballots at least 1 week prior to the due date
                              established by state law,” the USPS warned on May 29. “If a state law
                              requires completed ballots to be received by election oﬃcials by a speciﬁed
                              date (such as Election Day) in order to be counted, voters should be aware
                              of the possibility that completed ballots mailed less than a week before
                              that date may not, in fact, arrive by the state’s deadline.”

                              It’s unclear how many voters follow this advice or even know about it. “Any
                              voter who thinks that they’re going to want to vote by mail should really be
                              putting in their application as soon as possible and not leaving it up to
                              chance,” said Tammy Patrick, a senior adviser to the Democracy Fund and
                              a former Arizona election oﬃcial.

                              For years, Patrick and other experts have warned election oﬃcials about
                              the need to adjust operations and deadlines to account for a slower, more
                              cash-strapped Postal Service. But these changes have been spotty, and
                              some states and counties are simply not prepared.

                              Patrick has called for states to modernize vote by mail systems and
                              implement best practices like intelligent bar codes on the outside of ballot
                              envelopes for tracking them, which the Postal Service also recommends.
                              “I’ve been saying that same thing for ﬁve years,” she said. Eight days before
                              Ohio’s primary, Sarita Montgomery, the Postal Service’s head of election
                              mail for northern Ohio, sent election oﬃcials a frank warning about the
                              state’s ballot deadlines, according to an email obtained by ProPublica.
                              Ohio gave voters until noon on Saturday, April 25, three days before the
                              election, to request an absentee ballot. Ballots had to be postmarked by
                              April 27. Those rules, Montgomery suggested, meant that some voters
                              could be disenfranchised. “There is a strong likelihood that the timing for
                              mailing out ballots may not allow adequate time for voters to receive the
                              ballot and return it by mail in time to meet the state’s postmark deadline,”
                              she wrote.

                              The warning came as no surprise to Aaron Ockerman, executive director of
                              the Ohio Association of Election Oﬃcials. Ockerman said his members
                              reported “outrageous” mail delays during the primary, and his
                              organization has been urging state oﬃcials for years to change ballot
                              deadlines to allow for longer mail times.


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                              “I have paraded this in front of just about anybody in the world who will
                              listen, and said, ‘We have got to ﬁx this,’” Ockerman said. “It’s just not fair
                              to a voter to set this false expectation that if you wait until the last minute
                              and request a ballot that you’re actually going to get it and legally be able
                              to cast it under Ohio law.”




                              When the iconoclastic Cosmo Kramer tried to cancel his mail in a 1997
                              “Seinfeld” episode, his friend Newman, a postal worker, was scandalized
                              but confessed: “All right, it’s true. Of course nobody needs mail.” The joke
                              rings hollow now as the Postal Service may be needed to deliver tens of
                              millions of mail-in ballots despite being in turmoil on two fronts: politics
                              and the pandemic. The Postal Service is a favorite target of Trump, who in
                              April called the agency a “joke,” though he later tweeted that he would
                              never let the Postal Service fail. By statute, the Postal Service is supposed
                              to be an independent agency, with spending and operations overseen by
                              its board of governors. With scant evidence, Trump has attacked vote by
                              mail as “corrupt” and “fraudulent,” even as he and at least one member of
                              his staﬀ have voted by mail.

                              In April, the Postal Service alerted members of Congress that it could run
                              out of money by September, requested a $75 billion bailout and projected a
                              30% decline in revenue because of the coronavirus outbreak. Trump has
                              said that he won’t agree to a Postal Service bailout unless the agency raises
                              prices for packages. The Postal Service has begun discussing a $10 billion
                              loan from the Department of Treasury, the terms of which, The
                              Washington Post reported, could give Treasury Secretary Steven Mnuchin
                              unprecedented say over postal operations. It’s unclear if the Postal Service
                              will still need the loan, because online shopping has picked up, although
                              other revenue categories are down.

                              Last month, Louis DeJoy, a North Carolina businessman and longtime
                              Republican donor who has given more than $1 million to Trump’s
                              campaigns, was named postmaster general, stoking concerns that the
                              agency was being politicized. DeJoy, who said upon his appointment that
                              he looked forward to “working with the supporters of the Postal Service in
                              Congress and the administration” to ensure that it remains “an integral
                              part” of the federal government, did not respond to emailed questions.

                              Robert M. Duncan, chair of the board of governors and former chair of the
                              Republican National Committee, said in a May 6 statement that the board
                              “appreciated Louis’ depth of knowledge on the important issues facing the
                              Postal Service and his desire to work with all of our stakeholders on
                              preserving and protecting this essential institution.”

                              DeJoy’s appointment has coincided with departures of key administrators.
                              Ronald Stroman, the deputy postmaster, and the lead coordinator on

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                              election mail, announced that he was resigning as of June 1. And David
                              Williams, a Trump-appointed Democrat on the Postal Service’s board of
                              governors, stepped down, reportedly angry with the Treasury Department
                              for intervening in Postal Service aﬀairs. Williams and Stroman did not
                              respond to requests for comment.

                              Postal worker unions, for their part, say they’re sure that they can handle
                              this year’s election mail, provided there’s proper planning and they are
                              given enough staﬃng. Still, the pandemic has put a strain on many postal
                              workers’ lives and on mail operations. More than 3,000 of the nation’s
                              600,000 postal workers have tested positive for COVID-19, 67 have died of
                              the virus and 5,800 workers are under quarantine, according to the
                              American Postal Workers Union. Even before the pandemic, the Postal
                              Service relied on many postal workers regularly working overtime to get
                              mail delivered.

                              Four workers in the union’s Detroit chapter have died of COVID-19. As mail
                              volume has increased during the pandemic, local President Keith Combs
                              said, his chapter has seen workers fall sick or miss work to care for loved
                              ones. “The union oﬃce that I represent sits right in the middle of the worst
                              ZIP code here in Detroit for the coronavirus. It has caused a big issue with
                              the mail ﬂow,” Combs said.

                              Detroit’s problems aﬀected Ohio’s election mail delivery. Because of the
                              wave of plant consolidation, mail for some northwestern Ohio
                              municipalities, like Toledo, is sorted in Detroit. As Ohio’s mail delays
                              mounted in the week before the primary, the secretary of state, Frank
                              LaRose, a Republican, successfully lobbied to get mail sorted in-state.

                              John Dyce, president of the Ohio Association of Letter Carriers, worries
                              that his organization’s reputation will be hurt by factors outside members’
                              control, such as election laws that don’t allow enough time for delivery.
                              “We take great pride in what we do. We do feel we get unfairly blamed for
                              it,” Dyce said. Years of cutbacks and a 2006 law requiring the Postal Service
                              to prefund its retirement beneﬁts, Dyce said, have put the agency in an
                              untenable ﬁnancial position: “Whenever you’re doing things like that,
                              there’s the possibility for delays,” he said.




                              On April 8, one day after Wisconsin’s primary, a Postal Service oﬃcial
                              found 1,600 ballots headed for Appleton and Oshkosh in an area plant,
                              according to a May report by the Wisconsin Election Commission. Those
                              ballots never reached voters.

                              The report was critical of the Postal Service’s response: “Written inquiries
                              to the USPS did not produce any speciﬁc information about these ballots,”
                              the commission said. It said that its staﬀ had been unable to learn any

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                              more, and that Wisconsin’s two U.S. senators have asked the Postal
                              Service’s inspector general to investigate.

                              In Fox Point, Wisconsin, outside Milwaukee, election oﬃcials were baﬄed
                              that ballots were mailed to voters only to be returned to the village by the
                              Postal Service without an explanation. “People would ask us, ‘Where’s my
                              ballot?’” said Scott Botcher, the village’s manager. “And I’d say, ‘Well, we
                              mailed it.’”

                              Botcher’s oﬃce delivered the ballots by hand to the local post oﬃce each
                              day. Still, 100 to 150 ballots per day were sent back to his oﬃces in the week
                              before the election. On Election Day, Fox Point village oﬃces received a
                              tray with 175 such ballots. It’s unclear how many Fox Point voters were
                              disenfranchised, Botcher said, as residents who did not receive their
                              ballots could still have voted in person. He remains perplexed. “We still
                              don’t know why it happened,” he said. “I just want to know so it doesn’t
                              happen again and I can get my taxpayers their ballots.”

                              New Jersey held municipal elections on May 12 entirely by mail. There
                              were reports of mail delays and problems in several cities including
                              Paterson, where a City Council race was decided by just one vote. At least
                              300 ballots for the Paterson race, left in a mailbox in a nearby town, had to
                              be discarded because of suspicions that they had been illegally bundled
                              together. Mayor Andre Sayegh said that authorities are investigating
                              possible ballot harvesting, which occurs when a political operative collects
                              and submits large numbers of absentee ballots. New Jersey prohibits
                              bundling by individuals of more than three ballots. “Something nefarious
                              has happened because I don’t know how anyone can explain 300 ballots
                              appearing in a neighboring town,” Sayegh said.

                              Belleville, New Jersey, Mayor Michael Melham, a proponent of voting by
                              mail, implored state oﬃcials to oﬀer in-person voting options, to no avail.
                              Belleville routinely sees problems with mail delivery, Melham said. “I’m a
                              mayor,” he said. “Last November, I attempted to vote by mail and I never
                              got my ballot.”

                              This year, Melham said, about a third of Belleville’s ballots came in after
                              Election Night, but in time to count. Melham took to Twitter to point out a
                              tub of ballots that the Postal Service had apparently left in the lobby of an
                              apartment building. “The problems in the post oﬃce have been systemic
                              for years,” Melham said. “I do think that they’re overwhelmed. I don’t
                              think they’re capable any more of simply delivering mail. I just don’t think
                              that they can do it.”

                              Ahead of Pennsylvania’s June 2 primary, Montgomery County election
                              oﬃcials warned voters that “mail delivery times are slower than normal”
                              and ﬁled an emergency petition in a state court to extend the absentee
                              ballot deadlines by one week. A judge denied the petition, but after Black

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                              Lives Matter protests gained steam across the country, and other counties
                              asked for more time to process ballots, Pennsylvania’s Democratic
                              governor, Tom Wolf, extended the deadline for receipt of ballots in
                              Montgomery and ﬁve other counties.

                              In Maryland, state oﬃcials blamed a mailing vendor for ballot delivery
                              problems and the vendor blamed the state. In Washington, D.C., election
                              oﬃcials received so many complaints of missing ballots that oﬃcials
                              allowed voters to send in ballots via email.

                              In Indiana’s Marion County, home to Indianapolis, it took two weeks for
                              many voters to get their ballots in the mail ahead of the June 2 primary,
                              according to the county clerk’s oﬃce. In a May 28 letter to Indiana’s
                              secretary of state, Marion County Clerk Myla Eldridge warned that a ﬂood
                              of absentee ballots and mail delays could mean mass disenfranchisement:
                              “In short, this could mean that thousands of ballots will remain uncounted
                              despite the best eﬀorts of both the Marion County Election Board and the
                              voters themselves — even while state and county oﬃcials have strongly
                              encouraged voters to vote by mail,” she wrote.

                              Russell Hollis, the oﬃce’s deputy director, said, “We are worried that if a
                              voter puts a ballot in the mail, we won’t see it by Election Day.” Eldridge, a
                              Democrat, asked the state’s Republican secretary of state to extend the
                              deadline to receive ballots, but he was denied.

                              During the week of the election, the Marion County staﬀ were still hearing
                              from voters that they hadn’t received ballots. It took the oﬃce six days to
                              count all of the absentee ballots, and the oﬃce is still certifying the results.




                              Election experts say that successful vote by mail systems depend on
                              building good working relationships with the Postal Service. These
                              relationships are reﬂected in a complicated system of logistics,
                              communication and safeguards that can take years to set up. In states with
                              large vote by mail operations — Colorado, Hawaii, Oregon, Utah and
                              Washington run all-mail elections — the protections include last-minute
                              election-night sweeps of Postal Service facilities to search for ballots.
                              Colorado election oﬃcials, working with a group of local and national
                              mailing vendors, closely track ballot delivery times and take steps to move
                              some mail faster. When deadlines get closer, vendors who help with ballot
                              logistics will ask the Postal Service for clearance to send ballots using
                              faster and more expensive classes of mail. “The whole system has to work
                              together to increase the speed of the ballot,” said Judd Choate, Colorado’s
                              director of elections.

                              On every election night since 2013, a lawyer and a staﬀer from Colorado’s
                              election oﬃces, along with a local Postal Service manager, have scoured

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                              the Denver General Mail Facility, which sorts 10 million pieces of mail per
                              day. They arrive at 6 p.m., one hour before the state’s voting deadline. The
                              team checks in with Postal Service managers who oversee various
                              distribution points throughout the state to ensure all ballots are located.
                              Any ballots that are found are hand-stamped, time-coded and then sent
                              back to county election oﬃces to be counted. Similar sweeps are carried
                              out at other postal facilities across the state. Colorado oﬃcials say the extra
                              scrutiny works: In Colorado’s presidential primary this year, the Denver
                              sweep found over 1,000 ballots that may not otherwise have been counted.

                              But many states and counties that don’t have large vote by mail systems
                              have yet to implement these mail facility sweeps.

                              Choate said he’s not worried about the Postal Service’s ability to handle
                              mail-in ballots this year. “We’ve had a number of conversations nationally,
                              and we’ve also held meetings locally,” he said in late May. “I’ve been on the
                              phone as recently as last week talking to local USPS oﬃcials, and I’ve asked
                              the question straight out: Are you delayed in any way? They say that
                              they’re not, and they have statistics to show it. That’s not a current worry
                              that we have.”


                              Filed under: Politics



                              Ryan McCarthy
                              Ryan McCarthy edits stories for ProPublica’s Electionland, focusing on voting rights,
                              election security and misinformation.

                                 ryan.mccarthy@propublica.org              @mccarthyryanj




                                                      Maryam Jameel
                                                      Maryam Jameel is an engagement reporter working on community-
                                                      sourced investigations out of ProPublica’s Washington, D.C.
                                                      newsroom.

                                                         Maryam.Jameel@propublica.org               @mrym_jml
                                                         202-886-9555          Signal: 202-681-0779




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                  USPS crisis: Why mail is
                  delayed, what that means for
                  the election and what's being
                  done about it
                  The United States Postal Service is at the center of a
                  debate that involves the US presidential election this
                  fall. Here's everything you need to know about voting
                  by mail in the general election.


                           Clifford Colby Sept. 5, 2020 5:43 a.m. PT                                LISTEN - 05:03




                  How will the post oﬃce handle mail-in ballots this fall?
                  Jason Redmond/Getty Images




                        This story is part of Elections 2020, CNET's coverage of the run-
                        up to voting in November.




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                Over the next two months, with more than 80 million voters expected to
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                recent internal audit by the US Postal Service found that 1 million mail-in
                ballots were sent late to voters during the 2020 primary elections.

                Adding to the concern, the US Postal Service has taken a series of steps
                this summer that could dramatically cut back its ability to handle the
                unprecedented number of ballots it will receive, which could be double
                the number compared with the last presidential election. And while
                Postmaster General Louis DeJoy told Congress he intends to pause
                planned changes to the service, which include closures of mail
                processing machines, until after the Nov. 3 election, some cities report
                the USPS continues to cut back on services.

                Here's what we know about mail-in and absentee voting and how you
                can make sure your vote counts this fall.


                                                Watch this: Blackhat 2020: Tech community must
                                                help secure elections                            5:06




                Why are the USPS actions such a big deal?
                The reductions initially planned by DeJoy, who was appointed in June,
                includes taking oﬄine 671 of its high-capacity letter sorting machines,
                removing collection boxes in Western states, limiting overtime and
                cutting back post oﬃce hours.

                The Postal Service has advised states it can't guarantee ballots will
                reach voters before the election. In letters sent to 46 states and the
                District of Columbia, the Postal Service warned "there is a signiﬁcant risk
                that the voter will not have suﬃcient time to complete and mail the
                completed ballot ... in time for it to arrive by the state's return deadline."

                These moves, which the post oﬃce had said it was taking to "run more
                eﬃciently," come as Trump makes contradictory and often false remarks
                about the post oﬃce. He has threatened to cut off funding for the
                service and followed shortly after by tweeting that he wants to "SAVE
                THE POST OFFICE!"
                                                                                                                #SCCA launched its Arbitrator Selection &
                The result of all the planned changes ahead of the election, according to                       Appointment Services to address…

                election lawyer Marc Elias, is that the Postal Service wouldn't be                                Saudi Center for Commercial…   Learn more

                prepared to handle the surge of mail-in ballots in November. "The Trump
                administration has turned to weakening the United States Postal Service
                in a cynical effort to keep people from voting," Elias wrote.



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https://www.cnet.com/how-to/usps-crisis-why-mail-is-delayed-what-that-means-for-the-election-and-whats-being-done-about-it/                                   2/5
9/20/2020                         USPS crisis: Why mail is delayed, what that means for the election and what's being done about it - CNET



                Why is the postal service at the center of the
                debate?
                The US Postal Service, which was established under the US Constitution,
                has been in dire ﬁnancial straits for years. It lost $69 billion from 2007 to
                2018. The coronavirus pandemic has put additional strain on the service,
                curbing the volume of big money-makers -- ﬁrst-class and marketing mail
                -- because people are at home. The pandemic also turned funding for
                the service into a bargaining chip, with the White House and Congress
                wrestling with how -- and at sometimes if -- they should fund the service.

                In addition to operational changes, DeJoy has recast management of the
                USPS by removing or reassigning more than two dozen top postal
                oﬃcials. Critics called the move the "Friday night massacre."


                                                            Tech News Now
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                                                            ballots by mail this fall, here's where things stan…

                                                                                                       00:00:00




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                The changes are causing signiﬁcant mail delays, postal workers say. But
                what caught the attention of Democratic lawmakers was the warning by
                the postal service that it couldn't guarantee it could handle the ﬂood of
                absentee ballots in the November election.

                House Speaker Nancy Pelosi and fellow House Democrats said the
                changes constitute "a grave threat to the integrity of the election and to
                our very democracy."

                Pelosi called House members back from recess to pass a USPS rescue
                bill and to conduct a hearing with DeJoy about his actions. Following the
                hearings, a House panel intends to subpoena the USPS for documents
                pertaining to the slowdown.

                A record number of voters may cast their ballots by main this fall.
                Sarah Tew/CNET



                What would the USPS have to do with mail-in ballot
                fraud?
                Trump has falsely claimed for weeks that universal mail-in voting will
                lead to widespread voting fraud.

                Every state lets voters cast a ballot by mail, ranging from absentee                               COVID-19 calls for an agile IT infrastructure
                voting, which allows voters to request ballots by mail because they will
                be unable to vote in person, to what Trump calls "universal mail-in                                   Red Hat                      Learn more
                voting," election oﬃcials automatically sending vote-by-mail ballots to
                each person on the registration rolls.




https://www.cnet.com/how-to/usps-crisis-why-mail-is-delayed-what-that-means-for-the-election-and-whats-being-done-about-it/                                        3/5
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                                                                  Tech News Now
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                                                                  Congress is returning from its August recess early
                                                                  to vote on the bill, which addresses changes to t…

                                                                                                           00:00:00




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                There is no evidence, however, to support the president's claims. "Mail
                ballot fraud is incredibly rare," reported the Brennan Center, a
                nonpartisan policy institute. "None of the ﬁve states that hold their
                elections primarily by mail has had any voter fraud scandals since
                making that change," the center reported.

                Members of Trump's own party also disagree with the president's
                assertions. "I don't know of any evidence that voting by mail would
                increase voter fraud," Sen. Mitt Romney said during an interview this
                month with the Sutherland Institute.

                Congress will hold a hearing on how the Postal Service will handle ballots this
                election.
                Caroline Brehman/Getty Images



                How can you make sure your vote counts?
                If you're concerned that your mail-in vote may not count this fall but want
                to avoid election-day crowds, elections attorney Elias recommends three
                ways besides mailing in your ballot to ensure your vote is counted.

                Vote early in person: Forty-one states allow voters to cast their ballots
                up to 45 days before election day, letting them avoid crowds.

                Use a ballot drop box: Many states and counties provide ballot drop
                boxes for voters to return their mail-in ballot without having to mail it.

                Drop off your ballot at an election oﬃce or polling location: Almost all
                states permit voters to return a delivered ballot in person at their local
                election oﬃce on or before election day, Elias said, and many states
                allow voters to drop off their signed and sealed ballots at any in-person
                voting location.

                For more, here's the difference between absentee and mail-in
                voting, how we'll vote this fall and how Facebook is helping you ﬁnd
                election information.

                First published on Aug. 19, 2020 at 4:15 a.m. PT.



                Elections 2020 | Politics | Donald Trump




https://www.cnet.com/how-to/usps-crisis-why-mail-is-delayed-what-that-means-for-the-election-and-whats-being-done-about-it/                     4/5
Exh. A-29
Exh. A-29
Title          Katz, Eric. “USPS Is Fighting to Block the Release of Data on Mail Delays.”
               Government Executive, 21 Aug. 2020.
URL            https://www.govexec.com/management/2020/08/usps-fighting-block-release-
               data-mail-delays/168121/
“Facing mounting legal challenges against reforms undertaken by its new leader, the U.S.
Postal Service is seeking to prevent weekly public disclosure of mail delay data.”
9/20/2020                                                               USPS Is Fighting to Block the Release of Data on Mail Delays - Government Executive




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       Stay Home Another 6 Months                        Changes To Postal Service                        Contributing Enough To The                          Mind
       Or More                                           Nationwide                                       TSP




                                     Postal delays are causing widespread concern as the election approaches, sparking worry that mail-in ballots won't be counted.
                                                                                             JOHN MINCHILLO/AP


                                                  Management                                                                          Sponsor Message


              USPS Is Fighting to Block the
              Release of Data on Mail Delays
            The Postal Service is fending o pressures before its regulator
              and federal courts, but it's already su ered one setback.
                                       ERIC KATZ | AUGUST 31, 2020


                                              POSTAL SERVICE                                                              THE WORKPLACE
                                                                                                                          HAS BEEN
                                                                                                                          REDEFINED.


       F
                    acing mounting legal challenges against reforms undertaken by                                        LEARN HOW TO
                    its new leader, the U.S. Postal Service is seeking to prevent                                        REBUILD A SAFE AND
                    weekly public disclosure of mail delay data.                                                         COMPLIANT
                                                                                                                         WORKSPACE TODAY.
       USPS is facing an effort to force it to make public its performance data,
       with the aim of demonstrating the depths of the current mail delays that
       Postmaster General Louis DeJoy has admitted have accelerated in recent
       weeks. Postal management has pushed back, filing an objection to its                                                   GET A 5-STEP GUIDE NOW

       regulator saying such disclosures are unnecessary and would buck the
       standard timing for their release. The effort to obtain data comes as the
       Postal Service is fending off at least a dozen lawsuits around the country
       looking to block changes DeJoy has put into place, including one states-
       led effort that has been fast tracked in federal court.
https://www.govexec.com/management/2020/08/usps-fighting-block-release-data-mail-delays/168121/                                                                                                  1/7
9/20/2020                                                               USPS Is Fighting to Block the Release of Data on Mail Delays - Government Executive

       Steve Hutkins, a long-time gadfly for postal management, filed his                                            Get the latest on
       request for weekly reports on USPS on-time performance to the Postal                                          need-to-know topics for
       Regulatory Commission earlier this month. Hutkins noted that DeJoy’s                                          federal employees delivered
       emphasis on operating each step of postal delivery on a set schedule—                                         to your inbox.
       even if that leads to mail getting left behind—has caused delays, which
       the postmaster general repeatedly acknowledged in recent congressional                                                 Enter your email                
       hearings. He also suggested in his filing that DeJoy’s reforms and the                                        View Privacy Policy 
       subsequent mail delays could amount to a de facto change in service
       standards, which would normally require an advisory opinion from PRC,
                                                                                                                                      Sponsor Message
       heightening the need for disclosures. Additionally, he said, the upcoming
       election puts delivery data in the public interest.

       Typically, the Postal Service reports its performance data to the PRC
       quarterly and the regulator conducts a review of it on an annual basis.
       The next quarterly report will not be made public until November,
       however, and PRC’s review would likely come out in December.

       “Under normal circumstances, quarterly reports and the annual review
       are sufficient to satisfy the relevant statutes,” Hutkins said. “And under
       normal circumstances, the extent to which performance is meeting
       targets and standards does not change dramatically on a week-to-week
       basis. The current moment is different, however.”                                                                            FEATURED EBOOKS


       Presentations to the Postal Service’s largest customers and internal
       reports made public by House Democrats show dramatic upticks in
       delayed mail, supporting anecdotal reports by large-scale mailers and
       USPS employees. Slides prepared for DeJoy on Aug. 12 show on-time
       delivery declining by between 8% and 10% across the Postal Service’s
       mail offerings. On Monday, the Postal Service proactively released data
       that showed on-time performance starting to rebound in mid-August.

       “This recovery took place while still adhering to our existing
       transportation schedules," DeJoy said Monday. "In other words, we are
       improving service performance while more consistently running our
       trucks on time.”

       Despite releasing the new data, USPS submitted a rebuttal to the PRC
       Friday, saying Hutkins erred in seeking to attach his request to a 2019
       compliance report. It also said PRC reviews are conducted on a pre-set
       schedule and there are no regulations that require more frequent
       reporting. While USPS released data nearly in real time Monday, it said
       the current quarterly timetable is necessary to allow the agency to ensure
       the accuracy of its information.

       PRC has not yet ruled on the matter. It can effectively block Hutkins’
       efforts by remaining silent.

       USPS is facing multiple additional efforts to make more of its data
       public. The House Oversight and Reform Committee, led by
       Chairwoman Carolyn Maloney, D-N.Y., said on Monday it will
       subpoena documents from DeJoy related to mail delays, the
       decommissioning of mail sorting machines and overtime use. Democrats
       on the committee said DeJoy has ignored requests to produce such information and
       Maloney reminded the postmaster general the subpoena “makes clear as a legal matter the
       production of these documents is mandatory.” Maloney also issued a document request to
       Robert Duncan, who chairs the USPS board of governors.


https://www.govexec.com/management/2020/08/usps-fighting-block-release-data-mail-delays/168121/                                                                   2/7
9/20/2020                                                               USPS Is Fighting to Block the Release of Data on Mail Delays - Government Executive

       Rep. James Comer, R-Ky., the top Republican on the oversight committee, said
       Democrats were forcing USPS to spend “hundreds of hours” producing documents as part
       of an effort “to promote a baseless conspiracy theory about the Postal Service.”




       USPS said it is working with the committee to provide it the information it is seeking, in
       addition to providing a briefing Monday on the most recent service statistics.

       "Given the straightforward and cooperative nature of these communications with the
       Committee staff, we were frankly surprised and confused by Chairwoman Maloney’s
       statement today about her intent to issue a subpoena to the Postal Service," the agency
       said in a statement. "We will continue to cooperate with the oversight committees in both
       the House and Senate, and we fully intend to comply with our obligations under the law."

       Last week, the U.S. District Court for the Eastern District of Washington granted a request
       for expedited discovery in a case in which Washington and 13 other states sued USPS
       seeking to block DeJoy’s changes and other cost-saving efforts previously underway at
       the agency. The lawsuit alleged that USPS has taken actions that would slow the delivery
       of election mail, creating an urgency for document production. The court ruled the states’
       request was “not unduly burdensome” and was necessary due to their plan to file for a
       preliminary injunction.

       In their lawsuit, like those filed by dozens of other states and outside groups, the attorneys
       general quoted President Trump disparaging the Postal Service and mail-in voting. They
       alleged DeJoy’s changes were “procedurally and substantively unlawful,” as USPS failed
       to go through the PRC and could be disenfranchising voters. DeJoy has already pushed
       back on some of the allegations in the lawsuit, pausing the decommissioning of sorting
       machines and removal of blue collection boxes. He has also maintained that he never
       issued an edict to cut overtime, though many local supervisors around the country have
       implemented reductions.

       The Justice Department, arguing in support of the Postal Service and against expedited
       discovery, had said much of the information would be coming out “imminently” anyway
       and the plaintiffs’ request was overly broad. The court rejected those arguments and gave
       USPS 10 days to produce its data.


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       Are Causing People to Lose Trust in a Great Institution




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9/20/2020                                                               USPS Is Fighting to Block the Release of Data on Mail Delays - Government Executive

       Identifying those who may have been exposed to the virus is the whole rationale for
       contact tracing – find cases, identify contacts who may have been infected, ask them to
       self-quarantine, and test them for the virus. Testing is at the core of controlling infectious
       disease spread.

       The thinking seems to be that if you don’t test, the number of cases will go down.

       Clearly, this is true only in the political sense. Yes, the number of reported cases will
       decrease, but the number of infected persons will not. By not identifying those who are
       infected but don’t have symptoms, spread of the virus will increase as those who don’t
       know they are infected, infect others.

       Trump has said that he “likes the numbers where they are” and said at a campaign rally in
       Tulsa that he would tell his people to “slow the testing down.”

       [Deep knowledge, daily. Sign up for The Conversation’s newsletter.]

       A series of tussles




       The CDC has been in the midst of a political struggle many times during this pandemic.

       In May, it was revealed that CDC had been adding antibody tests, a marker of previous
       infection, to the number of PCR tests, a marker of current infection, performed. This made
       it appear that more tests to detect current infection had been performed than actually had.

       In July, hospitalization data, historically reported to CDC and used by health departments
       and researchers throughout the country to understand the pandemic, disappeared from the
       CDC website as reporting switched to a private contractor. It reappeared a few days later,
       but this raised concerns this would hurt the ability of CDC to gather and analyze these
       data.


                     Donald J. Trump
                     @realDonaldTrump

            I disagree with @CDCgov on their very tough & expensive
            guidelines for opening schools. While they want them open,
            they are asking schools to do very impractical things. I will be
            meeting with them!!!
            9:33 AM · Jul 8, 2020

                 175K             95.5K people are Tweeting about this

       In another instance, the administration pressured CDC to rewrite its guidelines for safely
       reopening schools. It did this, even though once again, the guidelines did not reflect
       current scientific knowledge.

       The world is now in the midst of the worst pandemic in over a century. The United States
       has 4.4% of the world’s population but 24% of COVID-19 cases. Plainly, we are not
       doing well, and lack of trust in CDC’s guidance as well as contantly changing messaging
       is hampering our efforts to control the virus. No wonder the public is confused about what
       they should be doing.

       It does not bode well if we Americans can no longer trust the advice and guidelines
       emanating from our national public health entity, not just for control efforts in this
       pandemic but for future health concerns as well.




https://www.govexec.com/management/2020/08/usps-fighting-block-release-data-mail-delays/168121/                                                               6/7
Exh. A-30
Exh. A-30
Title        Solender, Andrew. “Reports Of Dismantled USPS Sorting Machines Continue
             Despite DeJoy Announcing Halt.” Forbes, 19 Aug. 2020.
URL          https://www.forbes.com/sites/andrewsolender/2020/08/19/reports-of-
             dismantled-usps-sorting-machines-continue-despite-dejoy-announcing-
             halt/#ff39e6f26b98
Subject      “A day after Postmaster General Louis DeJoy announced the temporary
Matter(s):   suspension of sharply criticized service changes amid widespread delays and
             mail-in ballot fears, reports continue to surface about mail sorting machines
             being dismantled and removed.”
      Reports Of Dismantled USPS Sorting Machines
        Continue Despite DeJoy Announcing Halt



Andrew Solender Forbes Staff

A day after Postmaster General Louis DeJoy announced the temporary suspension of sharply
criticized service changes amid widespread delays and mail-in ballot fears, reports continue to
surface about mail sorting machines being dismantled and removed.

KEY FACTS

DeJoy, a logistics executive and GOP mega-donor, released a statement Tuesday defending his
changes – including the removal of mail sorting equipment and collection boxes – as an attempt
to “secure the success of this organization and its long-term sustainability.”

But he also announced the suspension of those changes to “avoid even the appearance of any
impact on election mail” amid fierce backlash from Democrats in Congress and the general
public over concerns about widespread delays leading to difficulty in counting mail-in ballots.

But new reporting on Wednesday suggests that much of the damage has already been done and
that some of DeJoy’s changes weren’t immediately halted after he released the statement.

Photos of a postal facility in Portland, Ore., first reported by ABC News, appear to show
dismantled mail sorting machines sitting in parts and wrapped in “caution” tape, with postal
union leaders saying it’s “highly unlikely” the decommissioned machines will return to use at all,
let alone before the election, CNN reported.

Parts of mail sorting machines were also found in a parking lot in Grand Rapids, Mich. by
WOOD-TV reporter Heather Walker, who also reported that sorting machines are still being
dismantled as of Wednesday, and that the “order came from Postmaster General DeJoy.”
